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                     14
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                          Case 2:25-cv-00895    Document 1     Filed 02/02/25    Page 2 of 139 Page ID #:2



                      1    *Pro Hac Vice Applications forthcoming.
                      2
                           Attorneys for Plaintiffs
                      3
                           InterDigital, Inc., InterDigital VC Holdings, Inc.,
                      4
                           InterDigital Madison Patent Holdings, SAS, and
                      5    InterDigital CE Patent Holdings, SAS
                      6
                      7
                      8                      IN THE UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                      9
                                               WESTERN DIVISION AT LOS ANGELES
                     10
                           INTERDIGITAL, INC., INTERDIGITAL  )                   Case No. 2:25-cv-895
                     11    VC HOLDINGS, INC., INTERDIGITAL   )
                     12    MADISON PATENT HOLDINGS, SAS,     )                   COMPLAINT FOR PATENT
                           AND INTERDIGITAL CE PATENT        )                   INFRINGEMENT
                     13    HOLDINGS, SAS,                    )
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                     14                                                          JURY TRIAL DEMANDED
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                                                             )
                                                Plaintiffs,
                     15                                      )
                                     v.                      )
                     16                                      )
                     17    THE WALT DISNEY COMPANY, DISNEY)
                           MEDIA AND ENTERTAINMENT           )
                     18    DISTRIBUTION LLC, DISNEY DTC LLC,
                                                             )
                     19    DISNEY STREAMING SERVICES LLC,
                                                             )
                           DISNEY ENTERTAINMENT & SPORTS
                     20    LLC, DISNEY PLATFORM              )

                     21    DISTRIBUTION, INC., BAMTECH, LLC, )
                           HULU, LLC, AND ESPN, INC.,        )
                     22                                      )
                                                Defendants.  )
                     23
                     24
                     25
                     26
                     27
                     28
                          Case 2:25-cv-00895    Document 1     Filed 02/02/25   Page 3 of 139 Page ID #:3



                      1          InterDigital, Inc., InterDigital VC Holdings, Inc., InterDigital Madison Patent
                      2
                           Holdings, SAS, and InterDigital CE Patent Holdings, SAS (collectively, “Plaintiffs”
                      3
                           or “InterDigital”) bring this action for patent infringement against The Walt Disney
                      4
                      5    Company; Disney Media and Entertainment Distribution LLC; Disney DTC LLC;
                      6
                           Disney Streaming Services LLC; Disney Entertainment & Sports LLC; Disney
                      7
                      8    Platform Distribution, Inc.; BAMTech, LLC; Hulu, LLC; and ESPN, Inc.

                      9    (collectively, “Defendants” or “Disney”). Plaintiffs, on personal knowledge as to their
                     10
                           own acts, and upon information and belief as to all others based on diligent
                     11
                     12    investigation, allege as follows:

                     13                                NATURE OF THE ACTION
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                                 1.     For years, Defendants have directly infringed and continue to infringe the
                     15
                     16    following issued United States Patents: U.S. Patent No. 8,406,301 (“the ’301 Patent”);

                     17    U.S. Patent No. 10,805,610 (“the ’610 Patent”); U.S. Patent No. 11,381,818 (“the
                     18
                           ’818 Patent”); U.S. Patent No. 9,185,268 (“the ’268 Patent”); and U.S. Patent No.
                     19
                     20    8,085,297 (“the ’297 Patent”) (collectively, the “Asserted Patents”) (attached hereto as

                     21    Exhibits A.1-E.1). Plaintiffs accordingly file this Complaint seeking a judgment of
                     22
                           and relief for Defendants’ persistent and pervasive infringement of the Asserted
                     23
                     24    Patents.

                     25          2.     When companies use InterDigital’s patented technologies without
                     26
                           permission, InterDigital’s approach is to engage such companies in good faith with the
                     27
                     28    goal of carefully finding a mutually beneficial solution with them. This solution

                                                                     1
                          Case 2:25-cv-00895    Document 1    Filed 02/02/25   Page 4 of 139 Page ID #:4



                      1    usually takes the form of a globally negotiated patent license achieved through a
                      2
                           mutual and trusting exchange of technical information and license offers, under the
                      3
                           protection of confidentiality in order to resolve the unauthorized patent use by mutual
                      4
                      5    agreement—and without resort to litigation.
                      6
                                  3.   Keeping with this approach, in July 2022 InterDigital reached out to
                      7
                      8    Disney to request that the parties discuss the licensing of InterDigital’s patented

                      9    technologies used by Disney.
                     10
                                  4.   Disney is still not authorized to use InterDigital’s patents. This
                     11
                     12    Complaint is therefore necessary to put an end to Disney’s infringing conduct. Today,

                     13    Defendants continue their widespread infringement of the Asserted Patents by
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                     14
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                           utilizing the claimed technology that enables the efficiency and efficacy of
                     15
                     16    Defendants’ video streaming business.

                     17                                       THE PARTIES
                     18
                                  5.   Plaintiff InterDigital, Inc. is a Pennsylvania corporation with its principal
                     19
                     20    place of business at 200 Bellevue Parkway, Suite 300, Wilmington, DE 19809.

                     21           6.   Plaintiff InterDigital VC Holdings, Inc. is a Delaware corporation with its
                     22
                           principal place of business at 200 Bellevue Parkway, Suite 300, Wilmington, DE
                     23
                     24    19809. InterDigital VC Holdings, Inc. is a wholly owned subsidiary of InterDigital,

                     25    Inc.
                     26
                                  7.   Plaintiff InterDigital Madison Patent Holdings, SAS is a French société
                     27
                     28    par actions simplifiée (simplified joint stock company) with its principal place of

                                                                    2
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                      1    business at 3 Rue du Colonel Moll, Paris, France 75017. InterDigital Madison Patent
                      2
                           Holdings, SAS is a wholly owned subsidiary of InterDigital, Inc.
                      3
                                    8.     Plaintiff InterDigital CE Patent Holdings, SAS is a French société par
                      4
                      5    actions simplifiée (simplified joint stock company) with its principal place of business
                      6
                           at 3 Rue du Colonel Moll, Paris, France 75017. InterDigital CE Patent Holdings, SAS
                      7
                      8    is a wholly owned subsidiary of InterDigital, Inc.

                      9             9.     Defendant The Walt Disney Company is a Delaware corporation with a
                     10
                           principal place of business at 500 South Buena Vista Street, Burbank, California,
                     11
                     12    91521. The Walt Disney Company has designated CSC–Lawyers Incorporating

                     13    Service, 2710 Gateway Oaks Drive, Sacramento, California 95833 as its agent for
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                           service of process. On information and belief, The Walt Disney Company is the parent
                     15
                     16    company that manages and directs operations, together with its subsidiaries, for all

                     17    Disney video streaming entities.1
                     18
                                    10.    Defendant Disney Media and Entertainment Distribution LLC is a
                     19
                     20    Delaware limited liability company with a principal place of business at 500 South

                     21    Buena Vista Street, Burbank, California 91521. Disney Media and Entertainment
                     22
                           Distribution LLC has designated CSC–Lawyers Incorporating Service, 2710 Gateway
                     23
                     24    Oaks Drive, Sacramento, California 95833 as its agent for service of process. On

                     25    information and belief, Disney Media and Entertainment Distribution LLC is an
                     26
                           indirectly wholly owned subsidiary of the Walt Disney Company that handles profit
                     27
                           1
                     28        The Walt Disney Co., Annual Report (Form 10-K), at 2 (Nov. 14, 2024).

                                                                           3
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                      1    and loss management, distribution, operations, sales, advertising, data, and technology
                      2
                           function for the Disney+, Hulu, Hulu Live, and ESPN+ video streaming services.2
                      3
                                  11.    Defendant Disney DTC LLC is a Delaware limited liability company
                      4
                      5    with a principal place of business at 500 South Buena Vista Street, Burbank,
                      6
                           California 91521. Disney DTC LLC has designated CSC–Lawyers Incorporating
                      7
                      8    Service, 2710 Gateway Oaks Drive, Sacramento, California 95833 as its agent for

                      9    service of process.3 On information and belief, Disney DTC LLC is an indirectly
                     10
                           wholly owned subsidiary of The Walt Disney Company that is responsible for content
                     11
                     12    planning and management, third party media sales efforts, affiliate marketing, affiliate

                     13    related business operations, contract negotiation for distribution deals, and procuring
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                           content delivery network and cloud computing for the Disney+, Hulu, Hulu Live, and
                     15
                     16    ESPN+ video streaming services.4

                     17
                     18
                           2
                             The Walt Disney Company Announces Strategic Reorganization Of Its Media and Entertainment
                     19    Businesses, THE WALT DISNEY COMPANY (Oct. 12, 2020), https://thewaltdisneycompany.com/the-
                     20    walt-disney-company-announces-strategic-reorganization-of-its-media-and-entertainment-
                           businesses/; Adeia Techs. Inc. et al. v. The Walt Disney Company et al., No. 1:24-cv-01231 (D. Del.
                     21    2024), Dkt. 18 at 1.
                           3
                             Public filings indicate that Disney DTC LLC may now be known as Disney Platform Distribution,
                     22    Inc. See e.g., In re Disney DTC, LLC, No. 05-23-00485-CV, 2024 WL 358117 (Tex. App. Jan. 31,
                           2024). On this basis, all allegations relating to Disney DTC LLC shall also apply to Disney Platform
                     23    Distribution, Inc.
                           4
                     24      The “Terms of Use” page on the ESPN website links to a Disney webpage that states, “Disney
                           DTC LLC and/or its affiliates and subsidiaries (collectively, ‘Disney’ ‘we’ or ‘us’) are pleased to
                     25    provide to you certain websites, software, applications, content, products, and services in any media
                           format or channel, now known or hereafter devised (‘Disney Products’ and ‘Products’), which may
                     26    be branded Disney, ABC, ESPN, Marvel, Pixar, Lucasfilm, FX, Searchlight Pictures, 20th Century
                           Studios, National Geographic, or another brand owned or licensed by Disney.” Terms of Use, THE
                     27    WALT DISNEY COMPANY (May 24, 2024), https://disneytermsofuse.com/english/. See also Adeia
                     28    Techs. Inc. et al. v. The Walt Disney Company et al., No. 1:24-cv-01231 (D. Del. 2024), Dkt. 18 at 1.

                                                                           4
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                      1           12.    Defendant Disney Streaming Services LLC (“DSS”) is a Delaware
                      2
                           limited liability company with a principal place of business at 500 South Buena Vista
                      3
                           Street, Burbank, California 91521. Disney Streaming Services LLC has designated
                      4
                      5    CSC–Lawyers Incorporating Service, 2710 Gateway Oaks Drive, Sacramento,
                      6
                           California 95833 as its agent for service of process. On information and belief, Disney
                      7
                      8    Streaming Services LLC is an indirectly wholly owned subsidiary of the Walt Disney

                      9    Company and provides financial and marketing functions for the Disney+, Hulu, Hulu
                     10
                           Live, and ESPN+ video streaming services.5
                     11
                     12           13.    Disney Entertainment & Sports LLC (“DES”), formerly known as Disney

                     13    Streaming Technology LLC and/or Disney Technology LLC,6 is a Delaware limited
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                     14
 LOS ANGELES, CA




                           liability company with a principal place of business at 500 South Buena Vista Street,
                     15
                     16    Burbank, California 91521. Disney Entertainment & Sports LLC has designated

                     17    CSC–Lawyers Incorporating Service, 2710 Gateway Oaks Drive, Sacramento,
                     18
                           California 95833 as its agent for service of process. On information and belief, Disney
                     19
                     20    Entertainment & Sports LLC is an indirectly wholly owned subsidiary of the Walt

                     21
                     22
                     23    5
                             Disney Streaming Services, LLC is listed as the distribution entity for both Disney+ and ESPN+ on
                     24    the Disney website. The Walt Disney Family of Companies, THE WALT DISNEY COMPANY,
                           https://privacy.thewaltdisneycompany.com/en/company-overview/. See also Adeia Techs. Inc. et al.
                     25    v. The Walt Disney Company et al., No. 1:24-cv-01231 (D. Del. 2024), Dkt. 18 at 2.
                           6
                             Delaware and California public filings indicate that Disney Entertainment & Sports LLC was
                     26    previously called Disney Streaming Technology LLC and/or Disney Technology LLC. For the
                           avoidance of doubt, and with the goal to provide adequate notice to the appropriate party, all
                     27    allegations relating to Disney Entertainment & Sports LLC shall also apply to Disney Streaming
                     28    Technology LLC and Disney Technology LLC, and vice versa.

                                                                          5
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                      1    Disney Company and design and maintains the websites for the Disney+, Hulu, Hulu
                      2
                           Live, and ESPN+ video streaming services.7
                      3
                                  14.    Defendant Disney Platform Distribution, Inc. (“DPD”) is a Delaware
                      4
                      5    corporation with a principal place of business at 500 South Buena Vista Street,
                      6
                           Burbank, California 91521. Disney Platform Distribution, Inc. has designated CSC–
                      7
                      8    Lawyers Incorporating Service, 2710 Gateway Oaks Drive, Sacramento, California

                      9    95833 as its agent for service of process. On information and belief, Disney Platform
                     10
                           Distribution, Inc. is an indirectly wholly owned subsidiary of The Walt Disney
                     11
                     12    Company that manages distribution efforts, affiliate marketing, affiliate-related

                     13    business operations, contract negotiation, content delivery networks, and cloud
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                           computing services for the Disney+, Hulu, Hulu Live, and ESPN+ video streaming
                     15
                     16    services.8

                     17           15.    Defendant BAMTech, LLC (“BAMTech”) is a Delaware limited liability
                     18
                           company with a principal place of business at 1211 Avenue of the Americas, New
                     19
                     20    York, New York 10036. BAMTech, LLC has designated CSC–Lawyers Incorporating

                     21    Service, 2710 Gateway Oaks Drive, Sacramento, California 95833 as its agent for
                     22
                           service of process. On information and belief, BAMTech, LLC is an indirect
                     23
                     24    7
                             See Adeia Techs. Inc. et al. v. The Walt Disney Company et al., No. 1:24-cv-01231 (D. Del. 2024),
                     25    Dkt. 18 at 2.
                           8
                             The subscriber agreement for Disney+, ESPN+, and Hulu is hosted on a Disney webpage and
                     26    refers to Disney Platform Distribution, Inc. as a relevant entity. Disney+, ESPN+, and Hulu
                           Subscriber Agreement, DISNEY+ (Jan. 27, 2025), https://www.disneyplus.com/legal/subscriber-
                     27    agreement. See also Adeia Techs. Inc. et al. v. The Walt Disney Company et al., No. 1:24-cv-01231
                     28    (D. Del. 2024), Dkt. 18 at 2.

                                                                          6
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                      1    subsidiary of The Walt Disney Company, which owns 80% of BAMTech, and Hearst
                      2
                           Brazil, Inc., a subsidiary of The Hearst Corporation, which owns the remaining 20%
                      3
                           of BAMTech.9 On information and belief, BAMTech, LLC is responsible for
                      4
                      5    developing and maintaining the ESPN+ website,10 in addition to providing technology
                      6
                           that is used in connection with the Disney+, Hulu, and ESPN+ video streaming
                      7
                      8    services.11

                      9           16.    Defendant Hulu, LLC (“Hulu”) is a Delaware limited liability company
                     10
                           with a principal place of business at 2500 Broadway, Santa Monica, California 90404.
                     11
                     12    Hulu, LLC has designated CSC–Lawyers Incorporating Service, 2710 Gateway Oaks

                     13    Drive, Sacramento, California 95833 as its agent for service of process. On
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                           information and belief, Hulu, LLC is an indirect subsidiary of the Walt Disney
                     15
                     16    Company, which owns 66.67% of Hulu, and Comcast Hulu Holdings, LLC, a

                     17    subsidiary of Comcast Corporation, which owns the remaining 33.33% of Hulu.12 On
                     18
                     19
                     20    9
                             Adeia Techs. Inc. et al. v. The Walt Disney Company et al., No. 1:24-cv-01231 (D. Del. 2024), Dkt.
                     21    18 at 2.
                           10
                              The Walt Disney Co., Annual Report (Form 10-K), at 89 (Nov. 14, 2024) (stating that The Walt
                     22    Disney Company purchased MLB’s 15% interest in BAMTech LLC in November 2022). The
                           “Privacy Policy” tab on the BAMTech website links to a page on a Disney website. See Company
                     23    Timeline, BAMTECH, LLC, https://www.bamtechmedia.com/. The subscriber agreement for
                     24    Disney+, ESPN+, and Hulu is hosted on a Disney webpage and refers to BAMTech, LLC as a
                           relevant entity. Disney+, ESPN+, and Hulu Subscriber Agreement, DISNEY+ (Jan. 27, 2025),
                     25    https://www.disneyplus.com/legal/subscriber-agreement.
                           11
                              Alex Werpin, Disney Pays $900M for MLB’s Remaining Stake in Streaming Company
                     26    BAMTech,               HOLLYWOOD               REP.            (Nov.           29,           2022),
                           https://www.hollywoodreporter.com/business/digital/disney-pays-900m-for-bamtech-1235271788/.
                     27    12
                              Adeia Techs. Inc. et al. v. The Walt Disney Company et al., No. 1:24-cv-01231 (D. Del. 2024),
                     28    Dkt. 18 at 2.

                                                                          7
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                      1     information and belief, Hulu, LLC operates the Hulu and Hulu Live video streaming
                      2
                            services.13
                      3
                                   17.    Defendant ESPN, Inc. (“ESPN”) is a Delaware corporation with a
                      4
                      5     principal place of business at ESPN Plaza, Bristol, Connecticut 06010. ESPN, Inc. has
                      6
                            designated CSC–Lawyers Incorporating Service, 2710 Gateway Oaks Drive,
                      7
                      8     Sacramento, California 95833 as its agent for service of process. On information and

                      9     belief, ESPN, Inc. is an indirect subsidiary of the Walt Disney Company, which owns
                     10
                            80% of ESPN, and Hearst Brazil, Inc., a subsidiary of The Hearst Corporation, which
                     11
                     12     owns the remaining 20% of ESPN.14 On information and belief, ESPN, Inc. manages

                     13     and operates the ESPN+ video streaming service.15
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                                                         JURISDICTION AND VENUE
                     15
                     16            18.      This action includes claims of patent infringement arising under the

                     17     patent laws of the United States, 35 U.S.C. §§ 1 et seq. This Court has subject matter
                     18
                            jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
                     19
                     20            19.      Defendants are subject to this Court’s personal jurisdiction consistent

                     21     with the principles of due process and/or the California Long Arm Statute. This Court
                     22
                     23     13
                               The Walt Disney Co., Annual Report (Form 10-K), at 88-89 (Nov. 14, 2024) (stating that The
                     24     Walt Disney Company owns 67% of Hulu and purchased NBC Universal’s 33% interest in Hulu in
                            November 2023, however the acquisition is not yet complete). The “Privacy Policy” tab on the Hulu
                     25     website links to a page on a Disney website. See HULU, https://www.hulu.com/welcome.
                            14
                               Adeia Techs. Inc. et al. v. The Walt Disney Company et al., No. 1:24-cv-01231 (D. Del. 2024),
                     26     Dkt. 18 at 2.
                            15
                               The Walt Disney Co., Annual Report (Form 10-K), at 7 (Nov. 14, 2024) (stating that ESPN is
                     27     80% owned by the Walt Disney Company). The “Terms of Use” tab on the ESPN website links to a
                     28     page on a Disney website. See ESPN, https://www.espn.com/.

                                                                          8
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                      1     has general personal jurisdiction over Defendants because each of their affiliations
                      2
                            with the State of California are so systematic and continuous to render each Defendant
                      3
                            at home in California.
                      4
                      5           20.     This Court also has specific personal jurisdiction over Defendants
                      6
                            because each Defendant has sufficient minimum contacts and/or has engaged in
                      7
                      8     continuous and systematic activities in the forum due to business conducted within

                      9     California, including in the Central District of California. Personal jurisdiction also
                     10
                            exists over Defendants because each Defendant, directly or through subsidiaries,
                     11
                     12     makes, uses, sells, offers for sale, imports, advertises, makes available, and/or markets

                     13     products and/or services within California, including in the Central District of
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                            California, that infringe one or more claims of the Asserted Patents. Further, on
                     15
                     16     information and belief, Defendants have placed or contributed to placing infringing

                     17     products and/or services into the stream of commerce knowing or understanding that
                     18
                            such products and/or services would be sold and used in the United States, including
                     19
                     20     in this District. Defendants are registered to do business in California and maintain

                     21     agents authorized to receive service of process within California.
                     22
                                  21.     Venue is proper in the Central District of California pursuant to 28
                     23
                     24     U.S.C. §§ 1391(b)-(c) and/or 1400(b) because Defendants have committed acts of

                     25     infringement in this District and have regular and established places of business in this
                     26
                            District. By way of example and without limitation, Defendants make, use, sell, offer
                     27
                     28     to sell, and/or import products and/or services that are accused of infringing the

                                                                      9
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                      1     Asserted Patents into and/or within this District. Defendants further maintain a
                      2
                            permanent and/or continuing presence within this District.
                      3
                                  22.     Defendants maintain multiple places of business within this District.
                      4
                      5     For example, Defendants The Walt Disney Company, Disney Entertainment & Sports
                      6
                            LLC, and Disney Streaming Services LLC, all maintain an office in this District at
                      7
                      8     500 South Buena Vista Street, Burbank, California 91521.

                      9           23.     Moreover, Defendant ESPN, Inc. maintains an office within the Central
                     10
                            District of California, located at 800 W. Olympic Blvd., Los Angeles, California
                     11
                     12     90015.

                     13           24.     Defendant Hulu, LLC maintains its headquarters at 2500 Broadway,
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                            Santa Monica, California 90404.
                     15
                     16           25.     Defendants have solicited business in the Central District of California,

                     17     have transacted business within this District, and have attempted to derive financial
                     18
                            benefit from the residents of this District, including benefits directly related to
                     19
                     20     Defendants’ infringement of the Asserted Patents.

                     21           26.     In a recent action, Defendants The Walt Disney Company, Disney
                     22
                            Streaming Services LLC, Disney Entertainment & Sports LLC, Disney Platform
                     23
                     24     Distribution, Inc., BAMTech, LLC, Hulu, LLC, and ESPN, Inc. admitted that the

                     25     Central District of California is a proper venue for patent infringement actions brought
                     26
                            against them. See WAG Acquisition, LLC v. The Walt Disney Company et al., No.
                     27
                     28     2:21-cv-08230 (C.D. Cal. 2021), Dkt. 74 ¶ 3 (“Disney admits that it has a regular and

                                                                     10
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                      1     established place of business in the District and that, in this case, venue is proper in
                      2
                            the District.”); Id. at Dkt. 90 ¶ 3 (“DSS and Hulu admit that they have a regular and
                      3
                            established place of business in the District and that, in this case, venue is proper in
                      4
                      5     the District.”); Id. at Dkt. 99 ¶ 3 (“[DES], DPD, ESPN, and BAMTech admit they
                      6
                            have a regular and established place of business in the District and that, in this case,
                      7
                      8     venue is proper in the District.”); InCom Corporation v. The Walt Disney Company et

                      9     al., No 2:15-cv-03011 (C.D. Cal. 2015), Dkt. 43 ¶¶ 2, 6 (“Defendants admit that
                     10
                            TWDC is a corporation organized under the laws of the State of Delaware and has its
                     11
                     12     principal place of business at 500 S. Buena Vista Street, Burbank, California. . . .

                     13     TWDC admits that venue is proper under 28 U.S.C. § 1400(b) with respect to
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                     14
 LOS ANGELES, CA




                            TWDC.”).
                     15
                     16                                 FACTUAL BACKGROUND

                     17     A.    InterDigital & Its Persisting Innovation
                     18
                                  27.    InterDigital is one of the most successful and innovative research and
                     19
                     20     development companies of the last half century, both domestically and globally. As a

                     21     dynamic and groundbreaking engineering company, for more than fifty years
                     22
                            InterDigital has been at the forefront of developing foundational video, wireless
                     23
                     24     communication, and other digital technologies.

                     25           28.    Every year, InterDigital pours a massive amount of money into its world-
                     26
                            class research and IP portfolio development engine. For example, in the most recently
                     27
                     28     reported fiscal year alone, InterDigital reinvested well over nine figures—a sum

                                                                     11
                          Case 2:25-cv-00895      Document 1      Filed 02/02/25    Page 14 of 139 Page ID #:14



                      1     representing nearly 50% of its recurring revenues—back into this cycle of innovation.
                      2
                            At its facilities throughout the United States, and its bespoke video research
                      3
                            laboratories in Rennes, France, InterDigital researches, develops, engineers, and
                      4
                      5     licenses advanced video-related innovations as well as other cutting-edge technology.
                      6
                            As discussed in further detail below, InterDigital has designed and developed a range
                      7
                      8     of key technologies instrumental to video coding and related implementation

                      9     techniques.
                     10
                                   29.    InterDigital and its employees’ technical contributions have been
                     11
                     12     recognized the world over. Its employees have held or currently hold more than 100

                     13     significant leadership positions on global industry-leading standard setting bodies.
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                            InterDigital has also won many awards for its technical discoveries. As just one
                     15
                     16     example, InterDigital has been named as one of the world’s 100 most innovative

                     17     businesses by LexisNexis for the past three years.16 InterDigital is one of the world’s
                     18
                            largest pure research and innovation companies, and relies heavily on the cycle of
                     19
                     20     invention to enable its future research and development efforts. In particular,

                     21     InterDigital relies on obtaining fair compensation for its novel contributions to
                     22
                     23     16
                                See Innovation Momentum 2022: The Global Top 100, LEXISNEXIS (Jan. 18, 2022),
                     24     https://go.lexisnexisip.com/hubfs/~IP%20-%20Intellectual%20Property%20Files/IP%20-
                            %20PatentSight/2022%20Innovation%20Momentum%20Report/LexisNexis%20Innovation%20Mo
                     25     mentum%20Report%202022.pdf; Innovation Momentum 2023: The Global Top 100, LEXISNEXIS
                            (Jan. 2023), https://www.lexisnexisip.com/wp-content/uploads/2024/02/LexisNexis-Innovation-
                     26     Momentum-Report-2023.pdf; Innovation Momentum 2024: The Global Top 100, LEXISNEXIS (Jan.
                            2024),                   https://go.lexisnexisip.com/hubfs/LexisNexis-Innovation-Momentum-Report-
                     27     2024.pdf?hsCtaTracking=b73d2358-7d13-4732-afc6-e8a25be14c30%7C0b8f3fb0-888a-43b3-b2f6-
                     28     70a6a3d96d87.

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                      1     technological advancement in multiple industry segments, including in video coding,
                      2
                            to fund its ongoing work breaking new ground for implementers and consumers alike.
                      3
                                   30.    InterDigital has a portfolio of over 33,000 patent assets, with a strong
                      4
                      5     emphasis on wireless and video technologies. More specifically, InterDigital has
                      6
                            approximately 6,800 patents in its video portfolio, with over 3,500 patents and
                      7
                      8     applications relating to current and developing codec technologies such as AVC,

                      9     HEVC, VP9, AV1, and VVC.17 InterDigital also has a portfolio of video-related
                     10
                            patents including those related to improved dynamic range, “trick play” operations,
                     11
                     12     and many other improvements to the user video experience.

                     13     B.     Video Coding Technology
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                                   31.    Video coding technology refers to encoding video into a compressed
                     15
                     16     form and decoding video so that it can be displayed and viewed by a user. This

                     17     technology allows efficient transmission of video while at the same time maximizing
                     18
                            quality.
                     19
                     20            32.    In digital video, video content is represented by a series of images (called

                     21     “frames”), which are displayed in sequence one after another to produce the illusion of
                     22
                            motion. A frame is composed of many picture elements (“pixels”), which represent
                     23
                     24     the smallest addressable unit of a digital video. These pixels are arranged in a grid, the

                     25     resolution of which is expressed in terms of the number of pixels in the horizontal and
                     26
                            17
                              InterDigital was recently ranked as a top ten video codec patent owner by LexisNexis. See Who is
                     27     Leading the VVC Patent Race?, LEXISNEXIS (June 2024), https://www.lexisnexisip.com/wp-
                     28     content/uploads/2024/08/LexisNexis-VVC-Report-2024.pdf?hsCtaAttrib=171211671835.

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                      1     vertical directions for each frame. For example, video with frames 1,920 pixels wide
                      2
                            by 1,080 pixels high may be referred to as 1920x1080 or “1080p.”
                      3
                                  33.    A pixel indicates the color of the portion of the frame it represents in
                      4
                      5     terms of three color components. For example, a pixel may encode the red, green, and
                      6
                            blue (“RGB”) values of a unit of a frame or, equivalently, may encode the luminance,
                      7
                      8     blue chrominance, and red chrominance (“YCbCr”) components of a unit of a frame.

                      9     Each of these components can be expressed as a collection of bits. For example, in 8-
                     10
                            bit video each color component can take a value from 0 to 255 (i.e., from 0 to 28–1)
                     11
                     12     with 0 indicating the minimum amount of that component and 255 indicating the

                     13     maximum. Thus, a black pixel would have the color components [0, 0, 0] and a white
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                            pixel would have the components [255, 255, 255]. Higher bit-depths, e.g., 10-bit
                     15
                     16     video, allow a wider range of colors to be represented—but require commensurately

                     17     greater information per pixel.
                     18
                                  34.    Modern digital video typically consists of frames displayed at a rate of
                     19
                     20     around 30 frames per second (“fps”), allowing the total amount of data required for a

                     21     single second of video to be calculated. For an 8-bit 1080p video at 30 fps, each pixel
                     22
                            requires 24 bits (3 components x 8 bits), and each frame consists of 1920x1080 or
                     23
                     24     2,073,600 pixels, representing a total of 49,766,400 bits. Given a frame rate of 30 fps,

                     25     just one second of raw video would require transmitting or storing nearly 1.5 billion
                     26
                            bits, or about 187 megabytes of data. The large amount of information required to
                     27
                     28     store or transmit digital video is a fundamental problem, which experts in the field

                                                                     14
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                      1     have aimed to solve by introducing a range of video encoders and decoders, often
                      2
                            referred to as a “codecs” (“coder/decoder”), which allow video to be compressed prior
                      3
                            to storage and transmission then later decompressed prior to display. Video codecs
                      4
                      5     take advantage of mathematical and statistical techniques to eliminate redundancy in
                      6
                            digital video and reduce the amount of information that must be stored and transmitted
                      7
                      8     to reproduce its content. Modern video codecs are very efficient, allowing consumers

                      9     of digital video to store many hours of content on disk or to stream digital video
                     10
                            directly to their TVs, computers, tablets, smartphones, and other devices over the
                     11
                     12     internet.

                     13            35.   One example of modern video coding is Advanced Video Coding
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                            (“AVC”), also referred to as H.264.18 AVC describes a format for decompressing
                     15
                     16     video data that attempts to maximize both efficiency and quality. AVC takes

                     17     advantage of many different techniques for removing redundant information, allowing
                     18
                            digital video to be represented using significantly less information than would be
                     19
                     20     required for raw video as discussed above. AVC can achieve a compression ratio of

                     21     1000:1, meaning that an AVC-encoded video may require only a thousandth as much
                     22
                            information relative to a raw, uncompressed, video sequence. AVC is widely used
                     23
                     24     today, with the majority of video streamed on the internet being transmitted in an

                     25     AVC-compliant bitstream.
                     26
                     27     18
                              This nomenclature comes from AVC being part of the “H-Series Recommendations” of MPEG-4
                     28     Part 10, which are subcategorized into H.200 through H.499.

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                      1           36.    Another modern video codec is High Efficiency Video Coding
                      2
                            (“HEVC”), the successor to AVC. HEVC, also referred to as H.265, takes advantage
                      3
                            of many similar concepts to AVC and includes numerous advancements upon the
                      4
                      5     prior technology, which allow for even more significant compression of digital video.
                      6
                            HEVC can achieve 25-50% more compression than AVC without sacrificing video
                      7
                      8     quality. As consumers of digital video come to expect higher resolution video at

                      9     greater bit-depths, HEVC has steadily gained traction in the market as producers of
                     10
                            digital video adopt the more efficient compression techniques that it enables.
                     11
                     12           37.    InterDigital is one of the top technological contributors to video coding

                     13     standards such as AVC and HEVC. For example, InterDigital’s foundational
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                            contributions to HEVC have been adopted in technologies covering important
                     15
                     16     elements of the decoding standard, including HEVC core, HEVC High Level Syntax,

                     17     scalable coding, supplemental enhancement information messaging, and screen
                     18
                            content coding.
                     19
                     20           38.    By    way   of   useful   context,    absent   InterDigital’s   foundational

                     21     contributions to the video coding technology used by today’s video streaming
                     22
                            services, an uncompressed 4K movie with a run time of 130 minutes would take over
                     23
                     24     four and one half days to download at modern internet download speeds. In terms of

                     25     raw data, this uncompressed 130-minute film roughly translates to 11,600 GB of data.
                     26
                            Utilizing the advanced video codecs that implement and rely upon InterDigital’s
                     27
                     28
                                                                     16
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                      1     innovations, this same 130-minute film can be reduced to approximately 14 GB—and
                      2
                            can be downloaded in a matter of minutes.
                      3
                            C.     Defendants’ Infringing Streaming Services
                      4
                      5            39.     The streaming services that collectively infringe the Asserted Patents (as
                      6
                            set forth in detail below) are Disney+, Hulu, Hulu Live (sometimes referred to as Hulu
                      7
                      8     + Live TV), and ESPN+. These may sometimes be referred to herein as the Accused

                      9     Instrumentalities.
                     10
                                   40.     Disney+ is a standalone service for streaming on-demand media content
                     11
                     12     from Disney, Pixar, Marvel, Star Wars, and National Geographic. The Disney+

                     13     service also provides access to certain on-demand media content from Hulu for
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                            certain subscribers. A Disney+ subscription includes access to the Disney+ content
                     15
                     16     available in the subscriber’s geographic region and personalized recommendations.

                     17     There are over 500 films, 15,000 episodes, and 80 Disney+ “Originals” available on
                     18
                            Disney+.19 The subscription allows users to stream across multiple supported devices
                     19
                     20     at once.20 Disney+ supports streaming on web browsers, mobile devices, tablets,

                     21     streaming sticks, gaming consoles, smart TVs, and set-top boxes.21
                     22
                     23
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                     25
                     26     19
                                     See      Getting     started       with      Disney+,       DISNEY+   HELP   CENTER,
                            https://help.disneyplus.com/article/disneyplus-en-us-introduction.
                     27     20
                               Id.
                            21
                     28        Id.

                                                                            17
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                      1           41.    Disney+ uses AVC and HEVC to stream video22 and to deliver 3D
                      2
                            movies. Disney+ uses multiple content delivery networks (“CDN”).
                      3
                                  42.      For example, the following HTTP request & response captured during
                      4
                      5     Disney+ viewing include HTTP headers that indicate use of the BAMTech Media
                      6
                            platform and the Amazon Web Services (“AWS”) CloudFront CDN.
                      7
                                  POST https://disney.playback.edge.bamgrid.com/widevine/v1/obtain-license HTTP/1.1
                      8           Host: disney.playback.edge.bamgrid.com
                                  Connection: keep-alive
                      9           Content-Length: 4205
                                  sec-ch-ua: "Chromium";v="128", "Not;A=Brand";v="24", "Microsoft Edge";v="128"
                     10           sec-ch-ua-platform: "Windows"
                                  X-BAMSDK-Client-ID: disney-svod-3d9324fc
                     11           X-Application-Version: 1.1.2
                                  sec-ch-ua-mobile: ?0
                     12           Authorization: Bearer
                                  eyJ6aXAiOiJERUYiLCJraWQiOiJ0Vy10M2ZQUTJEN2Q0YlBWTU1rSkd4dkJlZ0ZXQkdXek5KcFFtOGRJM
                     13           WYwI
                                  <truncated for brevity>
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                     14           X-BAMSDK-Platform: javascript/chromium/edge
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                                  X-BAMSDK-Version: 28.4
                     15           X-Request-ID:
                                  X-DSS-Edge-Accept: vnd.dss.edge+json; version=2
                     16           Accept: */*
                                  Origin: https://www.disneyplus.com
                     17           Sec-Fetch-Site: cross-site
                                  Sec-Fetch-Mode: cors
                                  Sec-Fetch-Dest: empty
                     18           Referer: https://www.disneyplus.com/
                                  Accept-Encoding: gzip, deflate, br, zstd
                     19           Accept-Language: en-US,en;q=0.9
                     20           HTTP/1.1 200 OK
                                  Content-Type: application/octet-stream
                     21           Connection: keep-alive
                                  Date: Wed, 18 Sep 2024 15:52:52 GMT
                     22           x-bamtech-widevine-was-proxied: false
                                  X-BAMTECH-MDRM-TRANSACTION-ID: 5686152028378383882
                     23           x-datadog-trace-id: 5686152028378383882
                                  vary: origin, access-control-request-headers
                     24           access-control-allow-origin: https://www.disneyplus.com
                                  access-control-allow-methods: GET, POST, PUT, PATCH, DELETE, OPTIONS
                     25
                     26     22
                               Google, Netflix & YouTube to require AV1 video decoding support, FLATPANELSHD (Feb. 11,
                            2021),
                     27     https://www.flatpanelshd.com/news.php?subaction=showfull&id=1613043929#:~:text=AV1%20is
                     28     %20gaining%20momentum,under%20'OS%20&%20features'.

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                      1           access-control-allow-credentials: true
                                  access-control-expose-headers: x-request-id, x-bamtech-region, date
                      2           access-control-max-age: 600
                                  x-bamtech-region: us-east-1
                                  cache-control: no-store
                      3           X-Cache: Miss from cloudfront
                                  Via: 1.1 80246b01173b7304bbc7804bfe173f32.cloudfront.net (CloudFront)
                      4           X-Amz-Cf-Pop: BOS50-C2
                                  X-Amz-Cf-Id: dYqC_wDLTJ8fQFZImvZBTeZ1wgTrIg-gSiiwQgQaMRzkZ-2XxIGxhQ==
                      5           Content-Length: 647
                      6
                                  43.     The IP address for host “disney.playback.edge.bamgrid.com” resolved
                      7
                      8     to IPV6 address 2600:9000:20ee:0:4:3dfe:8740:93a1, confirmed to be an Amazon

                      9     network address with iplocation.net.
                     10
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                                  44.     As another example, the following HTTP request & response captured
                     26
                     27     during VOD viewing for the same content item include HTTP headers that indicate

                     28     use of the AWS CloudFront CDN with an S3 bucket origin.
                                                                     19
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                      1           GET https://static-assets.bamgrid.com/config/adserve/adsimage/banner-
                                  ad/VideoAd/adBlockDetector/ads.c9b27fd9a37506f0a7de49b2c12ee4b1.json?1024251
                      2           HTTP/1.1
                                  Host: static-assets.bamgrid.com
                                  Connection: keep-alive
                      3           sec-ch-ua: "Chromium";v="128", "Not;A=Brand";v="24", "Microsoft Edge";v="128"
                                  sec-ch-ua-mobile: ?0
                      4           Accept: */*
                                  Origin: https://www.disneyplus.com
                      5           Sec-Fetch-Site: cross-site
                                  Sec-Fetch-Mode: cors
                      6           Sec-Fetch-Dest: empty
                                  Referer: https://www.disneyplus.com/
                      7           Accept-Encoding: gzip, deflate, br, zstd
                                  Accept-Language: en-US,en;q=0.9
                      8           HTTP/1.1 200 OK
                                  Content-Type: application/json
                      9           Content-Length: 152
                                  Connection: keep-alive
                     10           Access-Control-Allow-Origin: *
                                  Access-Control-Allow-Methods: HEAD, GET
                     11           Access-Control-Max-Age: 3000
                                  x-amz-replication-status: COMPLETED
                     12           Last-Modified: Wed, 28 Aug 2024 21:28:03 GMT
                                  x-amz-server-side-encryption: AES256
                     13           x-amz-version-id: GIxg7pW2ypARe4_h35xA621qBJ1sCZ3E
                                  Accept-Ranges: bytes
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                                  Server: AmazonS3
                                  Date: Wed, 18 Sep 2024 15:51:31 GMT
                     15           Cache-Control: max-age=300
                                  ETag: "c9b27fd9a37506f0a7de49b2c12ee4b1"
                     16           Vary: Accept-Encoding,Origin,Access-Control-Request-Headers,Access-Control-
                                  Request-Method
                     17           X-Cache: Hit from cloudfront
                                  Via: 1.1 0a84f3fd72c51aed32833055c4b982d2.cloudfront.net (CloudFront)
                     18           X-Amz-Cf-Pop: BOS50-C3
                                  X-Amz-Cf-Id: 4OVu74LjNJzWx3YSFp-QRd-IZKvSKxbtY5bA5UJQzW1vx685hScB7w==
                     19           Age: 75
                                  Timing-Allow-Origin: *
                     20
                                  45.     The IP address for host “static-assets.bamgrid.com” resolved to IPV6
                     21
                     22     address 2600:9000:2105:2200:18:6870:dd80:93a1, confirmed to be an Amazon
                     23     network address with iplocation.net.
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                     15           46.     As another example, the following HTTP request & response for a
                     16     media segment captured during VOD viewing for the same content item show the host
                     17
                            name of “vod-ftc-na-east-1.media.dssott.com,” which resolved to IP address
                     18
                     19     2a04:4e42:400::446 in the Fastly CDN.
                     20           GET https://vod-ftc-na-east-
                                  1.media.dssott.com/dvt1=exp=1726761164~url=%2Fps01%2Fdisney%2F9840c959-0358-42d9-
                     21           99ef-28dd6b203104%2F~psid=9fc43352-fa30-48c6-8084-054d1646121f~aid=1cc37dd4-c033-
                                  4cef-bd0c-6b59e0e4469c~did=86fc37c8-81a8-4384-a0b9-
                     22           a9334d05e962~kid=k01~hmac=776e55434d8544280996b9a91cda205b880c28aa84d4ab48ce6b998
                                  5bc98062d/ps01/disney/9840c959-0358-42d9-99ef-28dd6b203104/r/2bb19660-d7fc-44da-
                     23           bb37-29ef0680c226/22f7-
                                  MAIN/02/2400K/00/00/00_000.mp4?CMCD=bl%3D3000%2Cbr%3D0%2Cd%3D8000%2Cdl%3D2999%2Cn
                     24           or%3D%22%2Fps01%2Fdisney%2F9840c959-0358-42d9-99ef-28dd6b203104%2Fr%2F2bb19660-
                                  d7fc-44da-bb37-29ef0680c226%2F22f7-
                     25           MAIN%2F02%2F2400K%2F00%2F00%2F08_000.mp4%22%2Cot%3Dv%2Cpr%3D1%2Csf%3Dh%2Cst%3Dv%2
                                  Csu%3Dfalse HTTP/1.1
                     26           Host: vod-ftc-na-east-1.media.dssott.com
                                  Connection: keep-alive
                     27           sec-ch-ua: "Chromium";v="128", "Not;A=Brand";v="24", "Microsoft Edge";v="128"
                                  sec-ch-ua-mobile: ?0
                     28           Accept: */*
                                  Origin: https://www.disneyplus.com
                                                                      21
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                      1           Sec-Fetch-Site: cross-site
                                  Sec-Fetch-Mode: cors
                      2           Sec-Fetch-Dest: empty
                                  Referer: https://www.disneyplus.com/
                                  Accept-Encoding: gzip, deflate, br, zstd
                      3           Accept-Language: en-US,en;q=0.9
                      4           HTTP/1.1 200 OK
                                  Connection: keep-alive
                      5           Content-Length: 1044642
                                  Content-Type: video/mp4
                      6           Expires: Fri, 08 Nov 2024 15:45:46 GMT
                                  Last-Modified: Fri, 02 Aug 2024 02:01:27 GMT
                      7           X-MinIO-Node: 10.166.100.117:9000
                                  x-dss-orig-etag: "583fb47d7a35267940c5d3c1caf08a42"
                      8           Etag: "583fb47d7a35267940c5d3c1caf08a42"
                                  X-backend: D+
                      9           X-DSS-EXT-LB: lb04-ext01-gv-las1.prod.dssinfra.com
                                  x-dss-int-os: varnish09-vod01-gen MISS (REQ-ID: 291174574 CLIENT-ID: 10.166.96.4)
                     10           x-dss-precached: true
                                  x-dss-precache: duration: 1209600s, grace: 399168.000, ttl: 787152.375
                     11           x-dss-cr-status: (hit)
                                  x-dss-debug-cr-status: (varnish14.c03.mt.gen.lax1.prod.dssott.net)(hit)
                     12           x-dss-ttl: 473083.790
                                  x-dss-grace: 399168.000
                     13           x-dss-keep: 0.000
                                  Cache-Control: max-age=5184000, s-maxage=86400
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                                  x-dss-s-maxage: 86400
                                  x-dss-store: size
                     15           x-dss-media-id: 9840c959-0358-42d9-99ef-28dd6b203104
                                  x-dss-property: DIS-VOD-SHIELD
                     16           X-ds-cache: pass (edge:varnish01.c03.mt.gen.lax1.prod.dssott.net) 5
                                  (shield:varnish14.c03.mt.gen.lax1.prod.dssott.net)
                     17           X-ds-hits: 5
                                  x-dss-tracing: varnish14.c03.mt.gen.lax1.prod.dssott.net/404558194
                     18           113733765,varnish01.c03.mt.gen.lax1.prod.dssott.net/298400186
                                  Via: 1.1 varnish, 1.1 varnish, 1.1 varnish
                     19           Accept-Ranges: bytes
                                  Age: 30319
                     20           Date: Wed, 18 Sep 2024 15:52:47 GMT
                                  X-Served-By: cache-dca-kcgs7200228-DCA, cache-iad-kiad7000093-IAD, cache-bos4630-
                     21           BOS
                                  X-Cache: MISS, HIT, HIT
                     22           X-Cache-Hits: 0, 13, 0
                                  X-Timer: S1726674767.402340,VS0,VE1
                                  access-control-allow-methods: GET, HEAD, OPTIONS
                     23           access-control-allow-credentials: true
                                  access-control-allow-headers: Origin, X-Requested-With, Content-Type,
                     24           Authorization, Accept, Range, X-Dss-Baseurl
                                  access-control-expose-headers: X-Dss-Baseurl
                     25           access-control-max-age: 600
                                  access-control-allow-origin: https://www.disneyplus.com
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                     15
                                  47.   As another example, the following HTTP request & response for a media
                     16
                     17     segment captured during live viewing of the Disney Channel stream include HTTP

                     18     headers that indicate use of the Akamai CDN.
                     19           GET https://linear-akc-na-east-
                                  1.media.dssott.com/clt2/va01/disneyplus/channel/54e6f1c0-2e4a-4dee-83ba-
                     20           b6690163c574-1726093874063/cmaf-cenc-ctr-
                                  1200K/262/15/55/45_807.mp4?CMCD=bl%3D0%2Cbr%3D0%2Cbs%2Cd%3D5005%2Cdl%3D0%2Cnor%3D
                     21           %22%2Fclt2%2Fva01%2Fdisneyplus%2Fchannel%2F54e6f1c0-2e4a-4dee-83ba-b6690163c574-
                                  1726093874063%2Fcmaf-cenc-ctr-
                     22           1200K%2F262%2F15%2F55%2F50_812.mp4%22%2Cot%3Dv%2Cpr%3D0%2Csf%3Dh%2Cst%3Dv%2Csu
                                  HTTP/1.1
                     23           Host: linear-akc-na-east-1.media.dssott.com
                                  Connection: keep-alive
                     24           sec-ch-ua: "Chromium";v="128", "Not;A=Brand";v="24", "Microsoft Edge";v="128"
                                  sec-ch-ua-mobile: ?0
                     25           Accept: */*
                                  Origin: https://www.disneyplus.com
                     26           Sec-Fetch-Site: cross-site
                                  Sec-Fetch-Mode: cors
                     27           Sec-Fetch-Dest: empty
                                  Referer: https://www.disneyplus.com/
                     28           Accept-Encoding: gzip, deflate, br, zstd
                                  Accept-Language: en-US,en;q=0.9
                                                                     23
                          Case 2:25-cv-00895   Document 1     Filed 02/02/25   Page 26 of 139 Page ID #:26



                      1
                                  HTTP/1.1 200 OK
                      2           Content-Length: 838218
                                  Last-Modified: Wed, 18 Sep 2024 15:55:53 GMT
                                  Expires: Wed, 25 Sep 2024 15:55:54 GMT
                      3           Cache-Control: max-age=604800
                                  x-dss-orig-etag: "66eaf809-cca4a"
                      4           ETag: "66eaf809-cca4a"
                                  x-dss-int-ws: nginx04.live01.hls.star.clt2.prod.bamtech.co
                      5           x-dss-int-os: varnish12.live01.hls.star.clt2.prod.bamtech.co MISS (REQ-ID:
                                  478384431 CLIENT-ID: 10.36.223.250)
                      6           x-dss-int-lb: lb04.ext01.inf.star.clt2.prod.bamtech.co
                                  x-dss-int-ws-lb: lb04.ext01.inf.star.clt2.prod.bamtech.co
                      7           Accept-Ranges: bytes
                                  x-dss-ttl: 205630.450
                      8           x-dss-grace: 399168.000
                                  x-dss-keep: 0.000
                      9           x-dss-debug-origin-tag: clt2
                                  url: /clt2/va01/disneyplus/channel/54e6f1c0-2e4a-4dee-83ba-b6690163c574-
                     10           1726093874063/cmaf-cenc-ctr-1200K/262/15/55/45_807.mp4
                                  X-Varnish: 1620959028
                     11           x-dss-media-id:
                                  x-dss-property: DIS-LINEAR
                     12           x-dss-tracing: 1:varnish06.c02.mt.gen.ewr1.prod.dssott.net/1380135048
                                  1378189309,varnish10.c02.mt.gen.ewr1.prod.dssott.net/1620959028
                     13           Date: Wed, 18 Sep 2024 15:56:12 GMT
                                  Connection: keep-alive
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                                  Akamai-Request-BC:
                                  [a=23.40.60.14,b=344061720,c=g,n=US_MA_BILLERICA,o=20940],[c=c,n=US_MA_BOSTON,o=2
                     15           0940]
                                  Akamai-Mon-Iucid-Del: 1637893
                     16           X-Forward-Proto: http
                                  CDN-Origin-Protocol: HTTP
                     17           Content-Type: video/mp4
                                  Access-Control-Allow-Origin: https://www.disneyplus.com
                     18           Access-Control-Max-Age: 600
                                  Access-Control-Allow-Methods: GET,HEAD,OPTIONS
                     19           Access-Control-Allow-Credentials: true
                                  Access-Control-Allow-Headers: Origin, X-Requested-With, Content-Type,
                     20           Authorization, accessToken, Accept, Range, X-Dss-Baseurl,CMCD-Request,CMCD-
                                  Object,CMCD-Status,CMCD-Session
                     21           Access-Control-Expose-Headers: X-Dss-Baseurl,Akamai-Mon-Iucid-Ing,Akamai-Mon-
                                  Iucid-Del,Akamai-Request-BC
                     22           Akamai-GRN: 0.0e3c2817.1726674972.1481f718

                     23           48.     The IP address for host “linear-akc-na-east-1.media.dssott.com”
                     24
                            resolved to IPV6 address 2600:1401:c000::1728:3c12, confirmed to be an Akamai
                     25
                            network address with iplocation.net.
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                                      49.    Hulu is a streaming service that offers both live and on-demand content.
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                     17     Hulu provides access to television shows from every major U.S. broadcast network,

                     18     libraries of television series and films—including Hulu Originals and other content
                     19
                            available exclusively on Hulu. Hulu supports streaming on web browsers, mobile
                     20
                     21     devices, tablets, streaming sticks, gaming consoles, smart TVs, and set-top boxes.23
                     22     Hulu offers a Live TV component to its subscriptions that includes access to 90+ live
                     23
                            television channels. Hulu Live subscribers can watch live sports, breaking news,
                     24
                     25     awards shows, primetime dramas, daytime soaps, local teams and weather forecasts,
                     26
                     27
                            23
                     28          See About Hulu, HULU PRESs, https://press.hulu.com/corporate/.

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                          Case 2:25-cv-00895     Document 1      Filed 02/02/25    Page 28 of 139 Page ID #:28



                      1     the latest Hulu Originals, and thousands of shows and movies in the Hulu streaming
                      2
                            library.24
                      3
                                   50.    Hulu uses AVC and HEVC for at least some of its streaming25 and
                      4
                      5     employs multiple content delivery networks.
                      6
                                   51.     For example, the following HTTP request & response captured during
                      7
                      8     Hulu VOD viewing include HTTP headers that indicate use of the BAMTech Media

                      9     platform and the AWS CloudFront CDN.
                     10            POST https://hulu.playback.edge.bamgrid.com/widevine-hulu/v1/hulu/vod/obtain-
                                   license/61664796?deejay_device_id=214&nonce=207618731&signature=1730281218_e954ea
                     11            741ec58901f9baf6f71b6b6b86113cb9d7 HTTP/1.1
                                   Host: hulu.playback.edge.bamgrid.com
                     12
                                   HTTP/1.1 200 OK
                     13            Content-Type: application/octet-stream
                                   Connection: keep-alive
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                                   Date: Tue, 29 Oct 2024 23:40:19 GMT
                                   cache-control: no-store
                     15            X-BAMTECH-MDRM-TRANSACTION-ID: 1110317887226113915
                                   x-datadog-trace-id: 1110317887226113915
                     16            x-request-id: 8bee0462beea579b3a2dc349086c316e
                                   vary: origin, access-control-request-headers
                     17            access-control-allow-origin: https://www.hulu.com
                                   access-control-allow-methods: GET, POST, PUT, PATCH, DELETE, OPTIONS
                     18            access-control-allow-credentials: true
                                   access-control-expose-headers: x-request-id, x-bamtech-region, date
                     19            access-control-max-age: 600
                                   x-bamtech-region: us-west-2
                     20            X-Cache: Miss from cloudfront
                                   Via: 1.1 2a3bfb7cadc3003297b11ce744cb58fa.cloudfront.net (CloudFront)
                     21            X-Amz-Cf-Pop: DEN53-P1
                                   X-Amz-Cf-Id: yYJxnEPiq41YQA094_KRknRERv3l3dU8uR__UC62mrD1qHu0hmAcrA==
                     22            Content-Length: 703

                     23
                     24     24
                               See Hulu + Live TV Plans, HULU HELP CENTER, https://help.hulu.com/article/hulu-what-is-hulu-
                     25     live-tv.
                            25
                               What Are HEVC and AVC? H.265 and H.264 Video Codecs Explained, TOM’S HARDWARE (DEC.
                     26     23, 2020), https://www.tomshardware.com/reference/h264-h265-hevc-codec-definition; New Report
                            Highlights Impact of HEVC Codec on Streaming Industry, INTERDIGITAL, INC. (Dec. 6, 2023),
                     27     https://ir.interdigital.com/news-events/press-releases/news-details/2023/New-Report-Highlights-
                     28     Impact-of-HEVC-Codec-on-Streaming-Industry/default.aspx.

                                                                        26
                          Case 2:25-cv-00895      Document 1    Filed 02/02/25   Page 29 of 139 Page ID #:29



                      1           52.         The IP address for host “hulu.playback.edge.bamgrid.com” resolved to
                      2
                            IP address 18.238.136.109, confirmed to be an Amazon network address with
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                            iplocation.net.
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 LOS ANGELES, CA




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                                  53.         As another example, the following HTTP request & response for a
                     21
                     22     DASH manifest captured during VOD viewing for the same content item show the

                     23     host name of “dynamic-manifest.hulustream.com,” which resolved to IP address
                     24
                            52.35.57.186 in the Amazon network.
                     25
                                  GET https://dynamic-manifest.hulustream.com/hulu/v1/vod/dash/58bfa434-f289-469a-
                     26           9649-
                                  042471f04f53/525726182935732727/manifest.mpd?boundary_signaling=hulu_segment_type
                     27           &break_audio=3&break_dr=1&break_video=1&breaks=ChgSChDc5YLIzOrQugcSChDb9oDQotPMug
                                  cSEAgAEgxwczAxL2Rpc25leS8%3D&cdns=ak%2Cfoa&cluster=green&content_audio=3&content_
                     28           dr=1&content_video=1&drm=6&h264=HD_60&max_bl=20000000&min_bl=250000&path_prefix=p

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                      1           s01%2Fdisney%2F&prefer_text_roles=true&strip_locale=true&user_id=207618731&auth=1
                                  730331618_a87b0671b607a063b73f131e82b96892 HTTP/1.1
                      2           Host: dynamic-manifest.hulustream.com
                                  <truncated for brevity>
                      3           HTTP/1.1 200 OK
                                  date: Tue, 29 Oct 2024 23:40:18 GMT
                      4           content-type: application/dash+xml
                                  access-control-allow-origin: https://www.hulu.com
                      5           content-encoding: gzip
                                  vary: Origin,Accept-Encoding
                      6           x-envoy-upstream-service-time: 10
                                  x-diproton-route: Envoy
                      7           server: envoy
                                  transfer-encoding: chunked
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                                  54.     As another example, the following HTTP request & response for a
                     25
                     26     media segment captured during VOD viewing for the same content item includes

                     27     HTTP headers that indicate use of the Akamai CDN and the AWS CloudFront CDN
                     28
                            with an S3 bucket origin.
                                                                     28
                          Case 2:25-cv-00895      Document 1    Filed 02/02/25   Page 31 of 139 Page ID #:31



                      1           GET https://vod-hulu-akc-
                                  na.media.dssott.com/dvt1=exp=1730331618~url=%2Fps01%2Fdisney%2Fda81d9ed-3f68-
                      2           465e-b28d-a544f10ec454%2Fr%2Ff8e38256-c71d-4011-aa50-9429271948ba%2F4be7-
                                  MAIN%2F03~kid=k01~hmac=7bafaa1ddaaefd18ab6f920e9b642eb21ae981b71744b62a50e9d7d38b
                                  faad64/ps01/disney/da81d9ed-3f68-465e-b28d-a544f10ec454/r/f8e38256-c71d-4011-
                      3           aa50-9429271948ba/4be7-MAIN/03/H264_1_CMAF_1200K/da35d08b-50bc-443e-9e9a-
                                  31ed1b95e794/pts_0.mp4 HTTP/1.1
                      4           Host: vod-hulu-akc-na.media.dssott.com
                                  <truncated for brevity>
                      5
                                  HTTP/1.1 200 OK
                      6           Last-Modified: Mon, 08 Apr 2024 17:46:34 GMT
                                  ETag: "f3f851b2ef4fb7464ab1943b9b8d6ef5"
                      7           x-amz-server-side-encryption: AES256
                                  Expires: Mon, 15 Apr 2024 17:46:33 GMT
                      8           X-Amz-Cf-Pop: EWR50-C1
                                  X-Amz-Cf-Id: 2Ve1Sv1HW68Lg8D9vyNuDH_KV1_YmytxcKYRh0ijv3hRxylV4SV7FQ==
                      9           x-dss-store: size
                                  x-dss-media-id: da81d9ed-3f68-465e-b28d-a544f10ec454
                     10           x-dss-property: HULU-VOD
                                  X-ds-cache: 2 (shield:varnish01.c01.mt.gen.jfk3.qa.dssott.net)
                     11           X-ds-hits: 2
                                  x-dss-cr-status: (hit)
                     12           x-dss-debug-cr-status: (varnish01.c01.mt.gen.jfk3.qa.dssott.net)(hit)
                                  x-dss-ttl: 492628.848
                     13           x-dss-grace: 1710720.000
                                  x-dss-keep: 0.000
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                                  Cache-Control: max-age=2592000, s-maxage=86400
                                  x-dss-s-maxage: 86400
                     15           x-dss-tracing: varnish01.c01.mt.gen.jfk3.qa.dssott.net/500462567 495616244
                                  Accept-Ranges: bytes
                     16           Content-Length: 726086
                                  Date: Tue, 29 Oct 2024 23:40:19 GMT
                     17           Connection: keep-alive
                                  Akamai-Request-BC: [a=23.47.56.122,b=63649943,c=g,n=US_TX_DALLAS,o=20940]
                     18           Akamai-Mon-Iucid-Del: 1628770
                                  X-Forward-Proto: http
                     19           CDN-Origin-Protocol: HTTP
                                  Content-Type: video/mp4
                     20           Access-Control-Allow-Origin: https://www.hulu.com
                                  Access-Control-Expose-Headers: X-Dss-Baseurl,Akamai-Mon-Iucid-Ing,Akamai-Mon-
                     21           Iucid-Del,Akamai-Request-BC
                                  Access-Control-Max-Age: 600
                     22           Access-Control-Allow-Headers: Origin, X-Requested-With, Content-Type,
                                  Authorization, Accept, Range, X-Dss-Baseurl,CMCD-Request,CMCD-Object,CMCD-
                     23           Status,CMCD-Session
                                  Access-Control-Allow-Credentials: true
                                  Access-Control-Allow-Methods: GET,HEAD,OPTIONS
                     24
                     25           55.         The IP address for host “vod-hulu-akc-na.media.dssott.com” resolved
                     26     to IP address 23.47.51.122, confirmed to be an Akamai network address with
                     27
                            iplocation.net.
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                          Case 2:25-cv-00895   Document 1     Filed 02/02/25   Page 32 of 139 Page ID #:32



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                                  56.   ESPN+ is a streaming service that allows users to stream live sports from
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                            the best leagues in the world and original series from the biggest names in sports. An
                     19
                     20     ESPN+ subscription provides users with access to thousands of live events from UFC,
                     21
                            NFL, NHL, FA Cup, MLB, Grand Slam tennis, PGA TOUR LIVE, LaLiga, Top Rank
                     22
                     23     Boxing, and more—plus a variety of college sports, including football, basketball,

                     24     baseball, and lacrosse, from over 20 conferences.26 ESPN+ supports streaming on web
                     25
                     26
                     27     26
                               See, e.g., Getting Started With ESPN+, ESPN SUPPORT, https://support.espn.com/hc/en-
                     28     us/articles/13617221045652-Getting-Started-With-ESPN.

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                      1     browsers, mobile devices, tablets, streaming sticks, gaming consoles, smart TVs, and
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                            set-top boxes.27
                      3
                                       57.   Upon information and belief, ESPN+ uses AVC and multiple content
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                      5     delivery networks.
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                                       58.     For example, the following HTTP request & response captured during
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                      8     ESPN+ live stream viewing include HTTP headers that indicate use of the BAMTech

                      9     Media platform and the AWS CloudFront CDN.
                     10                POST https://playback.svcs.plus.espn.com/events/f1111d0c-7df7-4f18-be93-
                                       dd64202807c0/media/ea481eaa-b490-4855-a973-9820749d2b7b/scenarios/silk-regular
                     11                HTTP/1.1
                                       Host: playback.svcs.plus.espn.com
                     12                <truncated for brevity>
                                       GvT8C3Pv3s1oe9Y0ICro3QaJkFo4JAimvhbVKuNOwcgNKuv5cnvONbqVyP89FqZY3Xk.VI2S69SglAitx
                     13                npR_VyN6g
                                       sec-ch-ua-platform: "Windows"
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                                       sec-ch-ua: "Chromium";v="130", "Microsoft Edge";v="130", "Not?A_Brand";v="99"
                                       x-bamsdk-client-id: espn-a9b93989
                     15                x-bamsdk-version: 29.0
                                       sec-ch-ua-mobile: ?0
                     16                x-bamsdk-platform: javascript/chromium/edge
                                       content-type: application/json
                     17                Origin: https://plus.espn.com
                                       Sec-Fetch-Site: same-site
                     18                Sec-Fetch-Mode: cors
                                       Sec-Fetch-Dest: empty
                     19                Referer: https://plus.espn.com/
                                       Accept-Encoding: gzip, deflate, br, zstd
                     20                Accept-Language: en-US,en;q=0.9

                     21                HTTP/1.1 200 OK
                                       Content-Type: application/vnd.media-service+json; version=5
                     22                Connection: keep-alive
                                       Date: Mon, 04 Nov 2024 21:26:56 GMT
                     23                cache-control: no-store
                                       vary: origin, access-control-request-headers
                     24                access-control-allow-origin: https://plus.espn.com
                                       access-control-allow-methods: GET, POST, PUT, PATCH, DELETE, OPTIONS
                     25                access-control-allow-credentials: true
                                       access-control-expose-headers: x-request-id, x-bamtech-region, date
                     26                access-control-max-age: 600
                                       x-request-id: 967ec71c-1c30-47e3-bc4d-6d4e7bdb52a7
                     27
                            27
                     28          Id.

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                          Case 2:25-cv-00895      Document 1    Filed 02/02/25   Page 34 of 139 Page ID #:34



                      1           x-bamtech-region: us-west-2
                                  X-Cache: Miss from cloudfront
                      2           Via: 1.1 056799adad256ab111ed778c35e4393a.cloudfront.net (CloudFront)
                                  X-Amz-Cf-Pop: DEN52-P1
                                  X-Amz-Cf-Id: fjNXKl9Hj0FlgyP6eQZmiobFUqVAZBK2GncyjjBHphVRnq-MSI-bvQ==
                      3           Content-Length: 4942
                      4
                                  59.         The IP address for host “playback.svcs.plus.espn.com” resolved to IP
                      5
                      6     address 108.156.201.124, confirmed to be an Amazon network address with

                      7     iplocation.net.
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                     24           60.    As another example, the following HTTP request & response for an HLS
                     25
                            manifest captured during live stream viewing for the same live stream include HTTP
                     26
                     27     headers that indicate use of the Akamai CDN and show the host name of “live-akc-na-

                     28
                                                                      32
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                      1     west-1.media.plus.espn.com,” which resolved to IP address 23.47.48.86 in the Akamai
                      2
                            network.
                      3
                                  GET https://live-akc-na-west-
                      4           1.media.plus.espn.com/hdnts=exp=1730842016~acl=/*~id=3a2c763e-d861-4d10-afe3-
                                  95d6237fa12a~data=ea481eaa-b490-4855-a973-
                      5           9820749d2b7b~hmac=0f2a20bb600a1a901385673a00e7fb927cb1a8947f4cd620122575e36978473
                                  7/14887fd72eb70588d2c2314ade05b8ad/las1/va01/espn/event/2024/11/04/Penn_State_Yor
                      6           k_vs_UMBC_20241104_1730748657018/1800K/1800_complete_aeng.m3u8 HTTP/1.1
                                  Host: live-akc-na-west-1.media.plus.espn.com
                      7           <truncated for brevity>

                      8           HTTP/1.1 200 OK
                                  Last-Modified: Mon, 04 Nov 2024 21:26:55 GMT
                      9           Expires: Mon, 04 Nov 2024 21:27:00 GMT
                                  Cache-Control: max-age=4
                     10           X-MinIO-Node: 10.166.161.68:80
                                  x-dss-orig-etag: "67293c1f-f9b6"
                     11           x-dss-int-ws: web07-deslive-las1.prod.dssinfra.com
                                  x-dss-int-os: varnish11-deslive-las1.prod.dssinfra.com PASS (REQ-ID: 231863108
                     12           CLIENT-ID: 10.166.96.8)
                                  x-dss-int-lb: lb02-ext01-gl-las1.prod.dssinfra.com
                     13           ETag: W/"67293c1f-f9b6"
                                  x-dss-ttl: 0.680
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                                  x-dss-grace: 1.320
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                                  x-dss-keep: 0.000
                                  x-dss-debug-origin-tag: las1
                     15           url:/las1/va01/espn/event/2024/11/04/Penn_State_York_vs_UMBC_20241104_17307486570
                                  18/1800K/1800_complete_aeng.m3u8
                     16           X-Varnish: 454426775
                                  x-dss-media-id:
                     17           x-dss-property: ESPN-LIVE
                                  x-dss-tracing:
                     18           varnish13.c03.mt.gen.lax1.prod.dssott.net/429308372,varnish16.c03.mt.gen.lax1.pro
                                  d.dssott.net/454426775
                     19           Vary: Accept-Encoding
                                  Content-Encoding: gzip
                     20           Date: Mon, 04 Nov 2024 21:26:58 GMT
                                  Transfer-Encoding: chunked
                     21           Connection: keep-alive
                                  Connection: Transfer-Encoding
                     22           Akamai-Request-BC:
                                  [a=23.47.53.86,b=58640542,c=g,n=US_TX_DALLAS,o=20940],[c=c,n=US_TX_DALLAS,o=20940
                     23           ]
                                  Akamai-Mon-Iucid-Del: 1221951
                     24           Content-Type: application/x-mpegURL
                                  Accept-Ranges: bytes
                     25           Access-Control-Allow-Origin: https://plus.espn.com
                                  Access-Control-Max-Age: 600
                     26           Access-Control-Allow-Methods: GET,HEAD,OPTIONS
                                  Access-Control-Allow-Credentials: true
                     27           Access-Control-Allow-Headers: Origin, X-Requested-With, Content-Type,
                                  Authorization, Accept, Range, ssess, X-Dss-Baseurl,CMCD-Request,CMCD-Object,CMCD-
                     28           Status,CMCD-Session

                                                                     33
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                      1           Access-Control-Expose-Headers: X-Dss-Baseurl,Akamai-Mon-Iucid-Ing,Akamai-Mon-
                                  Iucid-Del,Akamai-Request-BC,Content-Length,Content-Range,Content-Encoding,Accept-
                      2           Ranges
                                  Akamai-GRN: 0.56352f17.1730755618.37ec89e
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 LOS ANGELES, CA




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                     20           61.     As another example, the following HTTP request & response for a
                     21
                            content segment captured during live stream viewing for the same live stream include
                     22
                     23     HTTP headers that indicate use of the Akamai CDN and show the host name of “live-
                     24     akc-na-west-1.media.plus.espn.com,” which resolved to IP address 23.47.48.86 in the
                     25
                            Akamai network as shown above.
                     26
                     27           Session #122, live-akc-na-west-1.media.plus.espn.com, content segment,
                                  Akamai headers, Akamai IP (same as above):
                     28
                                                                     34
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                      1           GET https://live-akc-na-west-
                                  1.media.plus.espn.com/hdnts=exp=1730842016~acl=/*~id=3a2c763e-d861-4d10-afe3-
                      2           95d6237fa12a~data=ea481eaa-b490-4855-a973-
                                  9820749d2b7b~hmac=0f2a20bb600a1a901385673a00e7fb927cb1a8947f4cd620122575e36978473
                                  7/14887fd72eb70588d2c2314ade05b8ad/las1/va01/espn/event/2024/11/04/Penn_State_Yor
                      3           k_vs_UMBC_20241104_1730748657018/7000K/309/21/26/47_154.ts HTTP/1.1
                                  Host: live-akc-na-west-1.media.plus.espn.com
                      4           <truncated for brevity>
                      5           HTTP/1.1 200 OK
                                  Content-Length: 4243552
                      6           Last-Modified: Mon, 04 Nov 2024 21:26:55 GMT
                                  Expires: Mon, 11 Nov 2024 21:26:56 GMT
                      7           Cache-Control: max-age=604800
                                  X-MinIO-Node: 10.166.161.62:80
                      8           x-dss-orig-etag: "67293c1f-40c060"
                                  ETag: "67293c1f-40c060"
                      9           x-dss-int-ws: web01-deslive-las1.prod.dssinfra.com
                                  x-dss-int-os: varnish05-deslive-las1.prod.dssinfra.com MISS (REQ-ID: 851728518
                     10           CLIENT-ID: 10.166.96.9)
                                  x-dss-int-lb: lb03-ext01-gl-las1.prod.dssinfra.com
                     11           Accept-Ranges: bytes
                                  x-dss-ttl: 205632.000
                     12           x-dss-grace: 399168.000
                                  x-dss-keep: 0.000
                     13           x-dss-debug-origin-tag: las1
                                  url:/las1/va01/espn/event/2024/11/04/Penn_State_York_vs_UMBC_20241104_17307486570
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                     14
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                                  18/7000K/309/21/26/47_154.ts
                                  X-Varnish: 496665858
                     15           x-dss-media-id:
                                  x-dss-property: ESPN-LIVE
                     16           x-dss-tracing:
                                  0:varnish01.c02.mt.gen.ord1.prod.dssott.net/548640615,varnish05.c02.mt.gen.ord1.p
                     17           rod.dssott.net/496665858
                                  Date: Mon, 04 Nov 2024 21:26:59 GMT
                     18           Connection: keep-alive
                                  Akamai-Request-BC:
                     19           [a=23.47.53.86,b=58641551,c=g,n=US_TX_DALLAS,o=20940],[c=c,n=US_TX_DALLAS,o=20940
                                  ]
                     20           Akamai-Mon-Iucid-Del: 1221951
                                  Content-Type: video/MP2T
                     21           Access-Control-Allow-Origin: https://plus.espn.com
                                  Access-Control-Max-Age: 600
                     22           Access-Control-Allow-Methods: GET,HEAD,OPTIONS
                                  Access-Control-Allow-Credentials: true
                     23           Access-Control-Allow-Headers: Origin, X-Requested-With, Content-Type,
                                  Authorization, Accept, Range, ssess, X-Dss-Baseurl,CMCD-Request,CMCD-Object,CMCD-
                                  Status,CMCD-Session
                     24           Access-Control-Expose-Headers: X-Dss-Baseurl,Akamai-Mon-Iucid-Ing,Akamai-Mon-
                                  Iucid-Del,Akamai-Request-BC,Content-Length,Content-Range,Content-Encoding,Accept-
                     25           Ranges
                                  Akamai-GRN: 0.56352f17.1730755619.37ecc8f
                     26
                     27           62.     As another example, the following HTTP request & response for an
                     28     HLS manifest captured during VOD viewing for a content item show the host name of
                                                                     35
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                      1     “pvod-ftc-las1.media.plus.espn.com,” which resolved to IP address 151.101.69.190 in
                      2
                            the Fastly network.
                      3
                                  GET https://pvod-ftc-las1.media.plus.espn.com/ps01/espn-prod/e45e0edc-042f-4957-
                      4           b024-d5bf5ce01c40/r/cef6b8c9-023a-40e9-8a88-533a60763b2a/1517-
                                  MAIN/09/800K/800_complete.m3u8 HTTP/1.1
                      5           Host: pvod-ftc-las1.media.plus.espn.com
                                  <truncated for brevity>
                      6
                                  HTTP/1.1 200 OK
                      7           Connection: keep-alive
                                  Content-Length: 1569
                      8           Server: nginx
                                  Content-Type: audio/mpegurl
                      9           Cache-Control: max-age=5184000
                                  Last-Modified: Thu, 24 Oct 2024 22:20:45 GMT
                     10           Expires: Wed, 01 Jan 2025 19:19:18 GMT
                                  X-MinIO-Node: 10.167.100.151:9000
                     11           x-dss-orig-etag: "a6b1ee16a984fc4bbf4282f3b364b646"
                                  Etag: "a6b1ee16a984fc4bbf4282f3b364b646"
                     12           X-DSS-INT-OS: varnish14-vod01-gen MISS (REQ-ID: 988244753 CLIENT-ID: 10.167.96.3)
                                  X-backend: E+
                     13           X-DSS-INT-LB: lb03-ext01-gv-iad1.prod.dssinfra.com
                                  Content-Encoding: gzip
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                                  Via: 1.1 varnish, 1.1 varnish
                     14
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                                  Accept-Ranges: bytes
                                  Age: 181910
                     15           Date: Mon, 04 Nov 2024 21:51:07 GMT
                                  X-Served-By: cache-iad-kcgs7200160-IAD, cache-den8242-DEN
                     16           X-Cache: HIT, HIT
                                  X-Cache-Hits: 11, 0
                     17           X-Timer: S1730757068.757798,VS0,VE1
                                  Vary: Accept-Encoding
                     18           access-control-allow-methods: GET, HEAD, OPTIONS
                                  access-control-allow-credentials: true
                     19           access-control-allow-headers: Origin, X-Requested-With, Content-Type,
                                  Authorization, Accept, Range, X-Dss-Baseurl
                     20           access-control-expose-headers: X-Dss-Baseurl
                                  access-control-max-age: 600
                     21           access-control-allow-origin: https://plus.espn.com

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 LOS ANGELES, CA




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                     16
                     17           63.     As another example, the following HTTP request & response captured

                     18     during VOD viewing for the same content item include HTTP headers that indicate
                     19
                            use of the BAMTech Media platform and the AWS CloudFront CDN and show the
                     20
                     21     host name of “playback.svcs.plus.espn.com,” which resolved to IP address

                     22     108.156.201.94 in the Amazon network.
                     23           GET https://playback.svcs.plus.espn.com/silk/v1/obtain-license/05a01523-2857-
                                  4dbe-882d-5ad2bb3c595b HTTP/1.1
                     24           Host: playback.svcs.plus.espn.com
                                  Connection: keep-alive
                     25           sec-ch-ua-platform: "Windows"
                                  Authorization:eyJ6aXAiOiJERUYiLCJraWQiOiJNZHRlcVJ2R04yTDg3dW5OM2g5QzdReF9MUGNRdGN
                     26           4VTZZNnk5UjF4eHBFIiwiY3R5IjoiSldUIiwiZW5jIjoiQzIwUCIsImFsZyI6ImRpciJ9..n47NV11TEL
                                  5V58WH.vw8t-
                     27           <truncated for brevity>
                                  sKYVNXsRiVZiXTHM3ZfkEEiAYbOZVCZB1vysL1Cehf-
                     28           cLoVv_AdJpUdvFGFMxOuxXb6xM0T0XP.eieQh6roFsrJe81VEUSRgg

                                                                     37
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                      1           Accept: */*
                                  Origin: https://plus.espn.com
                      2           Sec-Fetch-Site: same-site
                                  Sec-Fetch-Mode: cors
                                  Sec-Fetch-Dest: empty
                      3           Referer: https://plus.espn.com/
                                  Accept-Encoding: gzip, deflate, br, zstd
                      4           Accept-Language: en-US,en;q=0.9
                                  <truncated for brevity>
                      5
                                  HTTP/1.1 200 OK
                      6           Content-Type: application/octet-stream
                                  Content-Length: 16
                      7           Connection: keep-alive
                                  Date: Mon, 04 Nov 2024 21:51:08 GMT
                      8           Cache-Control: no-store
                                  X-BAMTECH-MDRM-TRANSACTION-ID: 7075372951441525041
                      9           x-datadog-trace-id: 7075372951441525041
                                  x-request-id: c82a45fb24f513142abe121a973a3415
                     10           access-control-allow-origin: https://plus.espn.com
                                  access-control-allow-methods: GET, POST, PUT, PATCH, DELETE, OPTIONS
                     11           access-control-allow-credentials: true
                                  access-control-expose-headers: x-request-id, x-bamtech-region, date
                     12           access-control-max-age: 600
                                  x-bamtech-region: us-west-2
                     13           Vary: origin,access-control-request-headers
                                  X-Cache: Miss from cloudfront
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                     14
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                                  Via: 1.1 96b078df4a5d96ad3cc52cfe9d984774.cloudfront.net (CloudFront)
                                  X-Amz-Cf-Pop: DEN52-P1
                     15           X-Amz-Cf-Id: SVLKTm0C-yihsOqLD02kiI8j6fuyR5NsWef8rBB8kLhCitYdoAJECg==

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                      8
                                    64.   The Walt Disney Company manages and directs the operations of
                      9
                     10     Disney+.
                     11             65.   The Walt Disney Company manages and directs the operations of Hulu.
                     12
                                    66.   The Walt Disney Company manages and directs the operations of Hulu
                     13
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                     14     Live.
 LOS ANGELES, CA




                     15             67.   The Walt Disney Company manages and directs the operations of
                     16
                            ESPN+.
                     17
                     18             68.   The Walt Disney Company employs and controls executives or other
                     19
                            employees responsible for Disney+.
                     20
                                    69.   The Walt Disney Company employs and controls executives or other
                     21
                     22     employees responsible for Hulu.
                     23
                                    70.   The Walt Disney Company employs and controls executives or other
                     24
                            employees responsible for Hulu Live.
                     25
                     26             71.   The Walt Disney Company employs and controls executives or other
                     27
                            employees responsible for ESPN+.
                     28
                                                                    39
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                      1             72.   Disney Media and Entertainment Distribution LLC manages and operates
                      2
                            Disney+.
                      3
                                    73.   Disney Media and Entertainment Distribution LLC manages and operates
                      4
                      5     Hulu.
                      6
                                    74.   Disney Media and Entertainment Distribution LLC manages and
                      7
                      8     operates Hulu Live.

                      9             75.   Disney Media and Entertainment Distribution LLC manages and operates
                     10
                            ESPN+.
                     11
                     12             76.   Disney Media and Entertainment Distribution LLC is responsible for the

                     13     profit and loss management and distribution, operations, sales, advertising, data, and
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                     14
 LOS ANGELES, CA




                            technology functions for Disney+.
                     15
                     16             77.   Disney Media and Entertainment Distribution LLC is responsible for the

                     17     profit and loss management and distribution, operations, sales, advertising, data, and
                     18
                            technology functions for Hulu.
                     19
                     20             78.   Disney Media and Entertainment Distribution LLC is responsible for the

                     21     profit and loss management and distribution, operations, sales, advertising, data, and
                     22
                            technology functions for Hulu Live.
                     23
                     24             79.   Disney Media and Entertainment Distribution LLC is responsible for the

                     25     profit and loss management and distribution, operations, sales, advertising, data, and
                     26
                            technology functions for ESPN+.
                     27
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                      1           80.      Disney Platform Distribution, Inc. manages third-party media sales
                      2
                            efforts for distribution, affiliate marketing, and affiliate-related business operations
                      3
                            for Disney+.
                      4
                      5           81.      Disney Platform Distribution, Inc. manages third-party media sales
                      6
                            efforts for distribution, affiliate marketing, and affiliate-related business operations
                      7
                      8     for Hulu.

                      9           82.      Disney Platform Distribution, Inc. manages third-party media sales
                     10
                            efforts for distribution, affiliate marketing, and affiliate-related business operations
                     11
                     12     for Hulu Live.

                     13           83.      Disney Platform Distribution, Inc. manages third-party media sales
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                     14
 LOS ANGELES, CA




                            efforts for distribution, affiliate marketing, and affiliate-related business operations
                     15
                     16     for ESPN+.

                     17           84.      Disney Platform Distribution, Inc. negotiates contracts for the
                     18
                            distribution of content for Disney+.
                     19
                     20           85.      Disney Platform Distribution, Inc. negotiates contracts for the

                     21     distribution of content for Hulu.
                     22
                                  86.      Disney Platform Distribution, Inc. negotiates contracts for the
                     23
                     24     distribution of content for Hulu Live.

                     25           87.      Disney Platform Distribution, Inc. negotiates contracts for the
                     26
                            distribution of content for ESPN+.
                     27
                     28
                                                                      41
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                      1           88.   Disney Platform Distribution, Inc. procures content delivery network and
                      2
                            cloud computing services for Disney+.
                      3
                                  89.   Disney Platform Distribution, Inc. procures content delivery network and
                      4
                      5     cloud computing services for Hulu.
                      6
                                  90.   Disney Platform Distribution, Inc. procures content delivery network and
                      7
                      8     cloud computing services for Hulu Live.

                      9           91.   Disney Platform Distribution, Inc. procures content delivery network and
                     10
                            cloud computing services for ESPN+.
                     11
                     12           92.   Disney Streaming Services LLC provides finance and marketing

                     13     functions for Disney+.
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                     14
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                                  93.   Disney Streaming Services LLC provides finance and marketing
                     15
                     16     functions for Hulu.

                     17           94.   Disney Streaming Services LLC provides finance and marketing functions
                     18
                            for Hulu Live.
                     19
                     20           95.   Disney Streaming Services LLC provides finance and marketing

                     21     functions for ESPN+.
                     22
                                  96.   Disney Entertainment & Sports LLC designs and maintains the front-end
                     23
                     24     and back-end infrastructure of Disney+.

                     25           97.   Disney Entertainment & Sports LLC designs and maintains the front-end
                     26
                            and back-end infrastructure of Hulu.
                     27
                     28
                                                                      42
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                      1             98.   Disney Entertainment & Sports LLC designs and maintains the front-end
                      2
                            and back-end infrastructure of Hulu Live.
                      3
                                    99.   Disney Entertainment & Sports LLC designs and maintains the front-end
                      4
                      5     and back-end infrastructure of ESPN+.
                      6
                                    100. Disney Entertainment & Sports LLC builds and maintains critical
                      7
                      8     back-end services responsible for supporting streaming media subscriptions on

                      9     Disney+.
                     10
                                    101. Disney Entertainment & Sports LLC builds and maintains critical
                     11
                     12     back-end services responsible for supporting streaming media subscriptions on Hulu.

                     13             102. Disney Entertainment & Sports LLC builds and maintains critical
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 LOS ANGELES, CA




                            back-end services responsible for supporting streaming media subscriptions on Hulu
                     15
                     16     Live.

                     17             103. Disney Entertainment & Sports LLC builds and maintains critical
                     18
                            back-end services responsible for supporting streaming media subscriptions on
                     19
                     20     ESPN+.

                     21             104. Disney Entertainment & Sports LLC is responsible for end-to-end
                     22
                            development for Disney+.
                     23
                     24             105. Disney Entertainment & Sports LLC is responsible for end-to-end

                     25     development for Hulu.
                     26
                                    106. Disney Entertainment & Sports LLC is responsible for end-to-end
                     27
                     28     development for Hulu Live.

                                                                    43
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                      1           107. Disney Entertainment & Sports LLC is responsible for end-to-end
                      2
                            development for ESPN+.
                      3
                                  108. Disney Entertainment & Sports LLC provides the technological
                      4
                      5     backbone and product development for Disney+.
                      6
                                  109. Disney Entertainment & Sports LLC provides the technological
                      7
                      8     backbone and product development for Hulu.

                      9           110. Disney Entertainment & Sports LLC provides the technological
                     10
                            backbone and product development for Hulu Live.
                     11
                     12           111. Disney Entertainment & Sports LLC provides the technological

                     13     backbone and product development for ESPN+.
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                                  112. Disney DTC LLC is responsible for content management and planning for
                     15
                     16     Disney+.

                     17           113. Disney DTC LLC is responsible for content management and planning
                     18
                            for Hulu.
                     19
                     20           114. Disney DTC LLC is responsible for content management and planning

                     21     for Hulu Live.
                     22
                                  115. Disney DTC LLC is responsible for content management and planning for
                     23
                     24     ESPN+.

                     25           116. Disney DTC LLC manages third-party media sales efforts for distribution,
                     26
                            affiliate marketing, and affiliate-related business operations for Disney+.
                     27
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                                                                      44
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                      1             117. Disney DTC LLC manages third-party media sales efforts for distribution,
                      2
                            affiliate marketing, and affiliate-related business operations for Hulu.
                      3
                                    118. Disney DTC LLC manages third-party media sales efforts for distribution,
                      4
                      5     affiliate marketing, and affiliate-related business operations for Hulu Live.
                      6
                                    119. Disney DTC LLC manages third-party media sales efforts for distribution,
                      7
                      8     affiliate marketing, and affiliate-related business operations for ESPN+.

                      9             120. Disney DTC LLC negotiates contracts for the distribution of content for
                     10
                            Disney+.
                     11
                     12             121. Disney DTC LLC negotiates contracts for the distribution of content for

                     13     Hulu.
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                                    122. Disney DTC LLC negotiates contracts for the distribution of content for
                     15
                     16     Hulu Live.

                     17             123. Disney DTC LLC negotiates contracts for the distribution of content for
                     18
                            ESPN+.
                     19
                     20             124. Disney DTC LLC procures content delivery network and cloud computing

                     21     services for Disney+.
                     22
                                    125. Disney DTC LLC procures content delivery network and cloud computing
                     23
                     24     services for Hulu.

                     25             126. Disney DTC LLC procures content delivery network and cloud computing
                     26
                            services for Hulu Live.
                     27
                     28
                                                                      45
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                      1           127. Disney DTC LLC procures content delivery network and cloud computing
                      2
                            services for ESPN+.
                      3
                                  128. BAMTech, LLC develops and maintains ESPN+.
                      4
                      5           129. BAMTech, LLC designs and maintains the front-end and back-end
                      6
                            infrastructure for ESPN+.
                      7
                      8           130. BAMTech, LLC builds and maintains critical back-end services

                      9     responsible for supporting streaming media subscriptions for ESPN+.
                     10
                                  131. BAMTech, LLC is responsible for end-to-end development for ESPN+.
                     11
                     12           132. BAMTech, LLC provides the technological backbone and product

                     13     development for ESPN+.
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 LOS ANGELES, CA




                                  133. BAMTech, LLC develops and maintains Disney+.
                     15
                     16           134. BAMTech, LLC designs and maintains the front-end and back-end

                     17     infrastructure for Disney+.
                     18
                                  135. BAMTech, LLC builds and maintains critical back-end services
                     19
                     20     responsible for supporting streaming media subscriptions for Disney+.

                     21           136. BAMTech, LLC is responsible for end-to-end development for Disney+.
                     22
                                  137. BAMTech, LLC provides the technological backbone and product
                     23
                     24     development for Disney+.

                     25           138. Hulu, LLC develops and maintains Hulu.
                     26
                                  139. Hulu, LLC develops and maintains Hulu Live.
                     27
                     28
                                                                   46
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                      1           140. Hulu, LLC designs and maintains the front-end and back-end
                      2
                            infrastructure for Hulu.
                      3
                                  141. Hulu, LLC designs and maintains the front-end and back-end
                      4
                      5     infrastructure for Hulu Live.
                      6
                                  142. Hulu,     LLC        builds   and    maintains   critical   back-end   services
                      7
                      8     responsible for supporting streaming media subscriptions for Hulu.

                      9           143. Hulu,     LLC        builds   and    maintains   critical   back-end   services
                     10
                            responsible for supporting streaming media subscriptions for Hulu Live.
                     11
                     12           144. Hulu, LLC is responsible for end-to-end development for Hulu.

                     13           145. Hulu, LLC is responsible for end-to-end development for Hulu Live.
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                                  146. Hulu, LLC provides the technological backbone and product development
                     15
                     16     for Hulu.

                     17           147. Hulu, LLC provides the technological backbone and product development
                     18
                            for Hulu Live.
                     19
                     20           148. Hulu, LLC is responsible for financing and marketing functions for Hulu.

                     21           149. ESPN, Inc. manages and operates ESPN+.
                     22
                                  150. ESPN, Inc. is responsible for content management and planning for
                     23
                     24     ESPN+.

                     25           151. ESPN, Inc. is responsible for financing and marketing functions for
                     26
                            ESPN+.
                     27
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                                                                       47
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                      1           152. Disney Streaming Technology LLC (now known as Disney Entertainment
                      2
                            & Sports LLC) is a party to the terms of use of a Disney Streaming technology blog
                      3
                            hosted on the Medium website, titled “The Art of Possible,” which displays the Hulu,
                      4
                      5     Disney+, and ESPN+ logos next to the Disney Streaming logo at the top of the page.28
                      6
                                  153. Disney Platform Distribution, Inc. is a party to the subscriber agreement
                      7
                      8     for Disney+.29

                      9           154. BAMTech, LLC is a party to the subscriber agreement for ESPN+.30
                     10
                                  155. Hulu, LLC is a party to the subscriber agreement for Hulu and Hulu
                     11
                     12     Live.31

                     13           156. When an ESPN+ subscriber is logged in, the “Manage Your Account”
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                            page on the ESPN+ website lists the subscriber’s account as a “MyDisney” account.
                     15
                     16     The subscriber agreement link at the bottom of this page on the ESPN+ website links

                     17     to a subscriber agreement webpage hosted on the Disney+ website. The ESPN+
                     18
                            website provides a link for the subscriber to manage his or her MyDisney account,
                     19
                     20     which links to a page on a Disney website (my.disney.com).

                     21           157. Disney+ and ESPN+ share a subscriber agreement that is hosted on the
                     22
                            Disney+ website.
                     23
                     24
                     25     28
                               See The Art of Possible, MEDIUM, https://medium.com/disney-streaming.
                            29
                                 See Disney+, ESPN+, and Hulu Subscriber Agreement, DISNEY+ (Jan. 27, 2025),
                     26     https://www.disneyplus.com/legal/subscriber-agreement.
                            30
                               Id.
                     27     31
                                  Disney+, ESPN+, and Hulu Subscriber Agreement, HULU (Jan. 27, 2025),
                     28     https://www.hulu.com/subscriber_agreement.

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                      1           158. When a Hulu subscriber is logged in, the “Manage Your Account” page
                      2
                            on the Hulu website lists the subscriber’s account as a “MyDisney” account. The Hulu
                      3
                            website provides a link for the subscriber to manage his or her MyDisney account,
                      4
                      5     which links to a page on a Disney website (my.disney.com).
                      6
                                  159. When a Disney+ subscriber is logged in, the “Manage Your Account”
                      7
                      8     page on the Disney+ website lists the subscriber’s account as a “MyDisney” account.

                      9     The Disney+ website provides a link for the subscriber to manage his or her
                     10
                            MyDisney account, which links to a page on a Disney website (my.disney.com).
                     11
                     12           160. Subscriptions to Disney+, Hulu, and ESPN+ are offered for sale on the

                     13     Disney+ website.
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                                  161. Subscriptions to Disney+, Hulu, and ESPN+ are sold through the Disney+
                     15
                     16     website.

                     17           162. Subscriptions to Disney+, Hulu, Hulu Live, and ESPN+ are offered for
                     18
                            sale on the Hulu website.
                     19
                     20           163. Subscriptions to Disney+, Hulu, Hulu Live, and ESPN+ are sold through

                     21     the Hulu website.
                     22
                                  164. Subscriptions to ESPN+ are offered for sale on the ESPN+ website.
                     23
                     24           165. Subscriptions to ESPN+ are sold through the ESPN+ website.

                     25           166. Subscriptions to Hulu Live include subscriptions to Disney+ and ESPN+.
                     26
                                  167. The Disney+ website directs users to the Hulu website to sign up for
                     27
                     28     subscriptions to Hulu Live.

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                      1           168. The ESPN+ website directs users to the Disney+ or Hulu websites to sign
                      2
                            up for subscriptions to Disney+, Hulu, and Hulu Live.
                      3
                                  169. Executives and/or employees of one or more Defendants are shared
                      4
                      5     among one or more of the other Defendants.
                      6
                                  170. Technology infrastructure of one or more Defendants is shared among one
                      7
                      8     or more of the other Defendants.

                      9           171. Technology resources of one or more Defendants are shared among one or
                     10
                            more of the other Defendants.
                     11
                     12           172. One or more Defendants promote advertising and marketing for Hulu,

                     13     Disney+, and ESPN+.
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                                  173. Advertising and marketing for Hulu, Disney+, and ESPN+ refers to
                     15
                     16     bundle subscriptions to two or three of the services.

                     17           174. Advertising and marketing for Hulu, Disney+, and ESPN+ encourages
                     18
                            users to purchase a bundle subscription of two or three of the services.
                     19
                     20           175. The streaming services and/or Defendants share back-end technology.

                     21           176. For example, according to Disney, “several shared-service organizations
                     22
                            across the company . . . support both Disney Entertainment and ESPN, facilitating
                     23
                     24     company-wide efficiencies and creating a more cost-effective, coordinated, and

                     25     streamlined approach to operations. These include Product and Technology.”32
                     26
                     27     32
                              The Walt Disney Company Announces Strategic Restructuring, Restoring Accountability To
                     28     Creative   Businesses, THE    WALT       DISNEY     COMPANY        (Feb.   9,     2023),

                                                                     50
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                      1            177. As another example, the Disney Entertainment & ESPN Technology
                      2
                            business “design[s] and build[s] the infrastructure that [powers] Disney’s media,
                      3
                            advertising, and distribution businesses,” including products and platforms “from
                      4
                      5     Disney+ and Hulu, to ABC News and Entertainment, to ESPN and ESPN+, and much
                      6
                            more.”33
                      7
                      8            178. Furthermore, “Disney Entertainment and ESPN Technology (DE&E

                      9     Technology) provides the technological backbone and product development for
                     10
                            Disney’s two media business units,” which include Disney+, Hulu, and ESPN+. 34
                     11
                     12            179. As another example, “[t]he Product & Data Engineering team is

                     13     responsible for end to end development for Disney’s world-class consumer-facing
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                            products, including streaming platforms Disney+, Hulu, and ESPN+.”35
                     15
                     16            180. As another example, “BAMTech technology powers Disney+, Hulu and

                     17     Disney’s other offerings.”36
                     18
                     19
                     20
                     21     https://thewaltdisneycompany.com/the-walt-disney-company-announces-strategic-restructuring-
                            restoring-accountability-to-creative-businesses/.
                            33
                     22           Sr. Software Engineer (Rust Engineering), DISNEY CAREERS (Jan. 7, 2025),
                            https://www.disneycareers.com/en/job/santa-monica/sr-software-engineer-rust-
                     23     engineering/391/72468085792.
                            34
                               Id.
                     24     35
                                  Senior Data Engineer – Identity Data, DISNEY CAREERS (Dec. 18, 2024),
                     25     https://www.disneycareers.com/en/job/new-york/senior-data-engineer-identity-
                            data/391/71800273968.
                            36
                     26        Alex Werpin, Disney Pays $900M for MLB’s Remaining Stake in Streaming Company
                            BAMTech,               HOLLYWOOD                REP.        (Nov.            29,            2022),
                     27     https://www.hollywoodreporter.com/business/digital/disney-pays-900m-for-bamtech-
                     28     1235271788/.

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                      1            181. The streaming services and/or Defendants share advertising and sales
                      2
                            functions.
                      3
                                   182. For example, according to Disney, “several shared-service organizations
                      4
                      5     across the company [] support both Disney Entertainment and ESPN, facilitating
                      6
                            company-wide efficiencies and creating a more cost-effective, coordinated, and
                      7
                      8     streamlined approach to operations. These include . . . Advertising Sales.”37

                      9            183. The streaming services and/or Defendants share platform distribution
                     10
                            functions.
                     11
                     12            184. For example, according to Disney, “several shared-service organizations

                     13     across the company [] support both Disney Entertainment and ESPN, facilitating
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                            company-wide efficiencies and creating a more cost-effective, coordinated, and
                     15
                     16     streamlined approach to operations. These include . . . Platform Distribution.”38

                     17            185. The streaming services and/or Defendants share executives and/or
                     18
                            employees.
                     19
                     20            186. For example, Aaron LaBerge served as the President and Chief

                     21     Technology Officer of Disney Entertainment and ESPN.39
                     22
                     23
                            37
                     24         The Walt Disney Company Announces Strategic Restructuring, Restoring Accountability To
                            Creative      Businesses,      THE     WALT       DISNEY  COMPANY       (Feb.      9,     2023),
                     25     https://thewaltdisneycompany.com/the-walt-disney-company-announces-strategic-restructuring-
                            restoring-accountability-to-creative-businesses/.
                     26     38
                               Id.
                            39
                                Harry McCracken, Why Disney Plus’s new Hulu integration was such a huge, high-stakes
                     27     challenge, FAST COMPANY (Dec. 7, 2023), https://www.fastcompany.com/90993539/disney-plus-
                     28     hulu-integration-beta.

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                      1            187. The Walt Disney Company’s Disney Entertainment segment houses
                      2
                            Disney+ and Hulu. The Walt Disney Company’s ESPN segment houses ESPN+. 40
                      3
                                   188. As another example, Justin Connolly is the “President of Disney Platform
                      4
                      5     Distribution,” where he “oversees all third-party media sales efforts for distribution,
                      6
                            distribution strategy, affiliate marketing and affiliate-related business operations for
                      7
                      8     all of [The Walt Disney Company’s] direct-to-consumer services.”41

                      9            189. As another example, “Joe Earley is the President of Direct-to-Consumer,
                     10
                            Disney Entertainment, where he leads efforts to expand the company’s best-in-class
                     11
                     12     streaming services,” including “Disney+ and Hulu.”42

                     13            190. As another example, April Carretta, “[a]s SVP of Communications for
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                            Direct-To-Consumer, Platform Distribution & Technology, . . . leads the team
                     15
                     16     responsible for all communication efforts in support of Disney Entertainment’s

                     17     portfolio of direct-to-consumer businesses.”43
                     18
                     19
                     20     40
                                The Walt Disney Company Announces Strategic Restructuring, Restoring Accountability To
                     21     Creative      Businesses,      THE      WALT      DISNEY      COMPANY        (Feb.     9,       2023),
                            https://thewaltdisneycompany.com/the-walt-disney-company-announces-strategic-restructuring-
                     22     restoring-accountability-to-creative-businesses/.
                            41
                               Justin Connolly, THE ORG, https://theorg.com/org/disney/org-chart/justin-connolly. See also The
                     23     Walt Disney Company Announces Strategic Restructuring, Restoring Accountability To Creative
                     24     Businesses, THE WALT DISNEY COMPANY (Feb. 9, 2023), https://thewaltdisneycompany.com/the-
                            walt-disney-company-announces-strategic-restructuring-restoring-accountability-to-creative-
                     25     businesses/ (“Effective immediately, several shared-service organizations across the company will
                            support both Disney Entertainment and ESPN, facilitating company-wide efficiencies and creating a
                     26     more cost-effective, coordinated, and streamlined approach to operations. These include . . . Platform
                            Distribution led by Justin Connolly.”).
                     27     42
                               Our Executive Team, HULU PRESS, https://press.hulu.com/executives/.
                            43
                     28        Id.

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                      1           191. As another example, Alisa Bowen is or was the President of Disney+.
                      2
                            According to the Disney+ website, “Bowen has led global business operations for
                      3
                            Disney’s streaming platforms, including Disney+, since its launch in 2019. . . .
                      4
                      5     Bowen will work closely with key leaders across The Walt Disney Company to drive
                      6
                            continued focus on innovation, including the forthcoming launch of the advertising-
                      7
                      8     supported tier, as well as multi-channel promotional support for Disney+ and its robust

                      9     content slate. . . . She most recently served as EVP of Global Business Operations for
                     10
                            Disney Streaming, overseeing global content and business operations for the
                     11
                     12     Company’s direct-to-consumer video streaming businesses, Disney+, Hulu, ESPN+,

                     13     and Star+.”44
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                                  192. As another example, Michael Paull is the former President of Disney
                     15
                     16     Streaming, where he was “responsible for Disney+, Hulu, [and] ESPN+.”45

                     17           193. Many Defendants also share facilities and places of business.
                     18
                                  194. For example, The Walt Disney Company, Disney Media and
                     19
                     20     Entertainment Distribution LLC, Disney DTC LLC, Disney Streaming Services LLC,

                     21     Disney Platform Distribution, Inc., and BAMTech, LLC have a place of business at
                     22
                            500 South Buena Vista Street, Burbank, California 91521.
                     23
                     24
                     25
                            44
                                 Alisa Bowen Named President Of Disney+, DISNEY+ PRESS (Sept. 29, 2022),
                     26     https://press.disneyplus.com/news/alisa-bowen-named-president-of-disney-plus.
                            45
                               Megan duBois, Disney Announces Executives For Its Disney Media And Entertainment Segment,
                     27     FORBES (Jan. 21, 2022), https://www.forbes.com/sites/megandubois/2022/01/20/disney-announces-
                     28     executives-for-its-disney-media-and-entertainment-segment/?sh=49a43e8c41f7.

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                      1            195. The privacy policy for each Accused Instrumentalities’ website is a link
                      2
                            to      The       Walt       Disney        Company          website’s       privacy        policy,
                      3
                            https://privacy.thewaltdisneycompany.com/en/.46
                      4
                      5            196. The Walt Disney Company’s website also includes job posting for its
                      6
                            subsidiaries, including Defendants.
                      7
                      8            197. For example, The Walt Disney Company’s website posted the following

                      9     job application for a Senior Analyst for Hulu Subscriber Planning, which states, “This
                     10
                            position is with Hulu, LLC.”47
                     11
                     12            198. As another example, The Walt Disney Company’s website posted the

                     13     following job application for a Sr. Manager, Software Engineering, which states,
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                            “This position is with Disney Streaming Technology LLC.”48
                     15
                     16     D.     Certain Defendants Are Agents of One Another

                     17            199.     Disney Media and Entertainment Distribution LLC is an agent of The
                     18
                            Walt Disney Company.
                     19
                     20            200.     Disney Platform Distribution, Inc. is an agent of The Walt Disney

                     21     Company.
                     22
                            46
                               See generally ESPN+, https://plus.espn.com/ (scroll to the bottom of the page and click “Privacy
                     23     Policy”); Disney+, https://www.disneyplus.com/ (scroll to the bottom of the page and click “Privacy
                     24     Policy”); Hulu, https://www.hulu.com/welcome (scroll to the bottom of the page and click “Privacy
                            Policy”).
                     25     47
                                 Senior Analyst, Hulu Subscriber Planning, DISNEY CAREERS (Dec. 19, 2024),
                            https://www.disneycareers.com/en/job/santa-monica/senior-analyst-hulu-subscriber-
                     26     planning/391/74783297328.
                            48
                                  Sr.   Manager,      Software    Engineering,    DISNEY CAREERS (Jan.            23,    2025),
                     27     https://www.disneycareers.com/en/job/new-york/sr-manager-software-
                     28     engineering/391/76050096368.

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                      1            201.   Disney Streaming Services LLC is an agent of The Walt Disney
                      2
                            Company.
                      3
                                   202.   Disney Entertainment & Sports LLC is an agent of The Walt Disney
                      4
                      5     Company.
                      6
                                   203.   Disney DTC LLC is an agent of The Walt Disney Company.
                      7
                      8            204.   BAMTech, LLC is an agent of The Walt Disney Company.

                      9            205.   Hulu, LLC is an agent of The Walt Disney Company.
                     10
                                   206.   ESPN, Inc. is an agent of The Walt Disney Company.
                     11
                     12            207.   Disney Platform Distribution, Inc. is an agent of Disney Media and

                     13     Entertainment Distribution LLC.
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                                   208.   Disney Streaming Services LLC is an agent of Disney Media and
                     15
                     16     Entertainment Distribution LLC.

                     17            209.   Disney Entertainment & Sports LLC is an agent of Disney
                     18
                            Media and Entertainment Distribution LLC.
                     19
                     20            210.   Disney DTC LLC is an agent of Disney Media and Entertainment

                     21     Distribution LLC.
                     22
                                   211.   BAMTech, LLC is an agent of Disney Media and Entertainment
                     23
                     24     Distribution LLC.

                     25            212.   Hulu, LLC is an agent of Disney Media and Entertainment Distribution
                     26
                            LLC.
                     27
                     28
                                                                    56
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                      1            213.     ESPN, Inc. is an agent of Disney Media and Entertainment Distribution
                      2
                            LLC.
                      3
                                   214.     Disney Platform Distribution, Inc. is an agent of Disney Streaming
                      4
                      5     Services LLC.
                      6
                                   215.     Disney Entertainment & Sports LLC is an agent of Disney Streaming
                      7
                      8     Services.

                      9            216.     Disney DTC LLC is an agent of Disney Streaming Services LLC.
                     10
                                   217.     BAMTech, LLC is an agent of Disney Streaming Services LLC.
                     11
                     12            218.     Hulu, LLC is an agent of Disney Streaming Services LLC.

                     13            219.     ESPN, Inc. is an agent of Disney Streaming Services LLC.
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                                   220.     Disney Platform Distribution, Inc. is an agent of Disney Entertainment
                     15
                     16     & Sports.

                     17            221.     Disney DTC LLC is an agent of Disney Entertainment & Sports LLC.
                     18
                                   222.     BAMTech, LLC is an agent of Disney Entertainment & Sports LLC.
                     19
                     20            223.     Hulu, LLC is an agent of Disney Entertainment & Sports LLC.

                     21            224.     ESPN, Inc. is an agent of Disney Entertainment & Sports LLC.
                     22
                                   225.     BAMTech, LLC is an agent of ESPN, Inc.
                     23
                     24     E.     The Walt Disney Company’s Vicarious Liability

                     25            226.     The Walt Disney Company directs and controls the actions and
                     26
                            performance of Disney Media and Entertainment Distribution LLC, including those
                     27
                     28     related to infringement of the Asserted Patents.

                                                                     57
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                      1            227.    The Walt Disney Company conditions benefits derived by Disney
                      2
                            Media and Entertainment Distribution LLC on the performance of activities, including
                      3
                            those related to infringement of the Asserted Patents.
                      4
                      5            228.    The Walt Disney Company specifies the timing and manner of the
                      6
                            performance of activities by Disney Media and Entertainment Distribution LLC,
                      7
                      8     including those related to infringement of the Asserted Patents.

                      9            229.    The Walt Disney Company profits from the activities of Disney Media
                     10
                            and Entertainment Distribution LLC.
                     11
                     12            230.    The Walt Disney Company has the rights, powers, or abilities to cause

                     13     Disney Media and Entertainment Distribution LLC to stop or limit its infringing
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                            activities.
                     15
                     16            231.    The Walt Disney Company has not exercised its rights, powers, or

                     17     abilities to cause Disney Media and Entertainment Distribution LLC to stop or limit its
                     18
                            infringing activities.
                     19
                     20            232.    The Walt Disney Company is vicariously liable for the infringing

                     21     activities of Disney Media and Entertainment Distribution LLC.
                     22
                                   233.    The Walt Disney Company directs and controls the actions and
                     23
                     24     performance of Disney Platform Distribution, Inc., including those related to

                     25     infringement of the Asserted Patents.
                     26
                     27
                     28
                                                                     58
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                      1            234.    The Walt Disney Company conditions benefits derived by Disney
                      2
                            Platform Distribution, Inc. on the performance of activities, including those related to
                      3
                            infringement of the Asserted Patents.
                      4
                      5            235.    The Walt Disney Company specifies the timing and manner of the
                      6
                            performance of activities by Disney Platform Distribution, Inc., including those
                      7
                      8     related to infringement of the Asserted Patents.

                      9            236.    The Walt Disney Company profits from the activities of Disney
                     10
                            Platform Distribution, Inc.
                     11
                     12            237.    The Walt Disney Company has the rights, powers, or abilities to cause

                     13     Disney Platform Distribution, Inc. to stop or limit its infringing activities.
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                                   238.    The Walt Disney Company has not exercised its rights, powers, or
                     15
                     16     abilities to cause Disney Platform Distribution, Inc. to stop or limit its infringing

                     17     activities.
                     18
                                   239.    The Walt Disney Company is vicariously liable for the infringing
                     19
                     20     activities of Disney Platform Distribution, Inc.

                     21            240.    The Walt Disney Company directs and controls the actions and
                     22
                            performance of Disney Streaming Services LLC, including those related to
                     23
                     24     infringement of the Asserted Patents.

                     25            241.    The Walt Disney Company conditions benefits derived by Disney
                     26
                            Streaming Services LLC on the performance of activities, including those related to
                     27
                     28     infringement of the Asserted Patents.

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                      1            242.   The Walt Disney Company specifies the timing and manner of the
                      2
                            performance of activities by Disney Streaming Services LLC, including those related
                      3
                            to infringement of the Asserted Patents.
                      4
                      5            243.   The Walt Disney Company profits from the activities of Disney
                      6
                            Streaming Services LLC.
                      7
                      8            244.   The Walt Disney Company has the rights, powers, or abilities to cause

                      9     Disney Streaming Services LLC to stop or limit its infringing activities.
                     10
                                   245.   The Walt Disney Company has not exercised its rights, powers, or
                     11
                     12     abilities to cause Disney Streaming Services LLC to stop or limit its infringing

                     13     activities.
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                                   246.   The Walt Disney Company is vicariously liable for the infringing
                     15
                     16     activities of Disney Streaming Services LLC.

                     17            247.   The Walt Disney Company directs and controls the actions and
                     18
                            performance of Disney Entertainment & Sports LLC, including those related to
                     19
                     20     infringement of the Asserted Patents.

                     21            248.   The Walt Disney Company conditions benefits derived by Disney
                     22
                            Entertainment & Sports LLC on the performance of activities, including those related
                     23
                     24     to infringement of the Asserted Patents.

                     25            249.   The Walt Disney Company specifies the timing and manner of the
                     26
                            performance of activities by Disney Entertainment & Sports LLC, including those
                     27
                     28     related to infringement of the Asserted Patents.

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                      1            250.   The Walt Disney Company profits from the activities of Disney
                      2
                            Entertainment & Sports LLC.
                      3
                                   251.   The Walt Disney Company has the rights, powers, or abilities to
                      4
                      5     cause Disney Entertainment & Sports LLC to stop or limit its infringing activities.
                      6
                                   252.   The Walt Disney Company has not exercised its rights, powers, or
                      7
                      8     abilities to cause Disney Entertainment & Sports LLC to stop or limit its infringing

                      9     activities.
                     10
                                   253.   The Walt Disney Company is vicariously liable for the infringing
                     11
                     12     activities of Disney Entertainment & Sports LLC.

                     13            254.   The Walt Disney Company directs and controls the actions and
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                            performance of Disney DTC LLC, including those related to infringement of the
                     15
                     16     Asserted Patents.

                     17            255.   The Walt Disney Company conditions benefits derived by Disney DTC
                     18
                            LLC on the performance of activities, including those related to infringement of the
                     19
                     20     Asserted Patents.

                     21            256.   The Walt Disney Company specifies the timing and manner of the
                     22
                            performance of activities by Disney DTC LLC, including those related to
                     23
                     24     infringement of the Asserted Patents.

                     25            257.   The Walt Disney Company profits from the activities of Disney DTC
                     26
                            LLC.
                     27
                     28
                                                                     61
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                      1            258.   The Walt Disney Company has the rights, powers, or abilities to cause
                      2
                            Disney DTC LLC to stop or limit its infringing activities.
                      3
                                   259.   The Walt Disney Company has not exercised its rights, powers, or
                      4
                      5     abilities to cause Disney DTC LLC to stop or limit its infringing activities.
                      6
                                   260.   The Walt Disney Company is vicariously liable for the infringing
                      7
                      8     activities of Disney DTC LLC.

                      9            261.   The Walt Disney Company directs and controls the actions and
                     10
                            performance of BAMTech, LLC, including those related to infringement of the
                     11
                     12     Asserted Patents.

                     13            262.   The Walt Disney Company conditions benefits derived by BAMTech,
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                            LLC on the performance of activities, including those related to infringement of the
                     15
                     16     Asserted Patents.

                     17            263.   The Walt Disney Company specifies the timing and manner of the
                     18
                            performance of activities by BAMTech, LLC, including those related to infringement
                     19
                     20     of the Asserted Patents.

                     21            264.   The Walt Disney Company profits from the activities of BAMTech,
                     22
                            LLC.
                     23
                     24            265.   The Walt Disney Company has the rights, powers, or abilities to cause

                     25     BAMTech, LLC to stop or limit its infringing activities.
                     26
                                   266.   The Walt Disney Company has not exercised its rights, powers, or
                     27
                     28     abilities to cause BAMTech, LLC to stop or limit its infringing activities.

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                      1           267.     The Walt Disney Company is vicariously liable for the infringing
                      2
                            activities of BAMTech, LLC.
                      3
                                  268.     The Walt Disney Company directs and controls the actions and
                      4
                      5     performance of Hulu, LLC, including those related to infringement of the Asserted
                      6
                            Patents.
                      7
                      8           269.     The Walt Disney Company conditions benefits derived by Hulu,

                      9     LLC on the performance of activities, including those related to infringement of the
                     10
                            Asserted Patents.
                     11
                     12           270.     The Walt Disney Company specifies the timing and manner of the

                     13     performance of activities by Hulu, LLC, including those related to infringement of the
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                            Asserted Patents.
                     15
                     16           271.     The Walt Disney Company profits from the activities of Hulu, LLC.

                     17           272.     The Walt Disney Company has the rights, powers, or abilities to cause
                     18
                            Hulu, LLC to stop or limit its infringing activities.
                     19
                     20           273.     The Walt Disney Company has not exercised its rights, powers, or

                     21     abilities to cause Hulu, LLC to stop or limit its infringing activities.
                     22
                                  274.     The Walt Disney Company is vicariously liable for the infringing
                     23
                     24     activities of Hulu, LLC.

                     25           275.     The Walt Disney Company directs and controls the actions and
                     26
                            performance of ESPN, Inc., including those related to infringement of the Asserted
                     27
                     28     Patents.

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                      1           276.     The Walt Disney Company conditions benefits derived by ESPN,
                      2
                            Inc. on the performance of activities, including those related to infringement of the
                      3
                            Asserted Patents.
                      4
                      5           277.     The Walt Disney Company specifies the timing and manner of the
                      6
                            performance of activities by ESPN, Inc., including those related to infringement of the
                      7
                      8     Asserted Patents.

                      9           278.     The Walt Disney Company profits from the activities of ESPN, Inc.
                     10
                                  279.     The Walt Disney Company has the rights, powers, or abilities to cause
                     11
                     12     ESPN, Inc. to stop or limit its infringing activities.

                     13           280.     The Walt Disney Company has not exercised its rights, powers, or
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                            abilities to cause ESPN, Inc. to stop or limit its infringing activities.
                     15
                     16           281.     The Walt Disney Company is vicariously liable for the infringing

                     17     activities of ESPN, Inc.
                     18
                                  282.     The Walt Disney Company directs and controls the actions and
                     19
                     20     performance of third parties AWS, Fastly, and Akamai (collectively, “the Third

                     21     Parties”),49 including those related to the direct infringement of the Asserted Patents.50
                     22
                     23     49
                              See supra ¶¶ 40-62.
                            50
                     24        AWS is used by Disney+, Hulu, Hulu Live, and ESPN+. See Walt Disney Company Confirms
                            AWS As Preferred Cloud Partner for Disney+ Streaming Service, COMPUTERWEEKLY.COM (Apr. 29,
                     25     2021), https://www.computerweekly.com/news/252499973/Walt-Disney-Company-confirms-AWS-
                            as-preferred-cloud-partner-for-Disney-streaming-service (“The Walt Disney Company has
                     26     confirmed that Amazon Web Services (AWS) powered the global roll-out of its Disney+ streaming
                            service.”); Streaming Success: How Disney+ Scaled Rapidly with AWS Cloud Services, QSS
                     27     TECHNOSOFT (Oct. 14, 2024), https://www.qsstechnosoft.com/blog/streaming-success-how-disney-
                     28     scaled-rapidly-with-aws-cloud-

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                      1            283.     The Walt Disney Company conditions benefits derived by the Third
                      2
                            Parties on the performance of activities, including those related to the direct
                      3
                            infringement of the Asserted Patents.
                      4
                      5            284.     The Walt Disney Company specifies the timing and manner of the
                      6
                            performance of activities by the Third Parties, including those related to the direct
                      7
                      8     infringement of the Asserted Patents.

                      9            285.     The Walt Disney Company profits from the activities of the Third
                     10
                            Parties.
                     11
                     12            286.     The Walt Disney Company has the rights, powers, or abilities to

                     13     cause the Third Parties to stop or limit its infringing activities.
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                                   287.     The Walt Disney Company has not exercised its rights, powers, or
                     15
                     16     abilities to cause the Third Parties to stop or limit its infringing activities.

                     17            288.     The Walt Disney Company is vicariously liable for the infringing
                     18
                            activities of the Third Parties.
                     19
                     20     services/#:~:text=Disney+%20opted%20for%20AWS%20due,enhancing%20the%20overall%20stre
                            aming%20experience; How Disney+ Uses Amazon DynamoDB To Serve Billions Of Customer
                     21     Actions Daily, MEDIUM (July 1, 2024), https://aws.plainenglish.io/how-disney-uses-amazon-
                            dynamodb-to-serve-billions-of-customer-actions-daily-aa14b9a638dc; AWS Chosen by Hulu as Its
                     22     Cloud Provider, AMAZON (Aug. 14, 2017), https://press.aboutamazon.com/2017/8/aws-chosen-by-
                            hulu-as-its-cloud-provider (“Amazon Web Services, Inc. . . . announced that Hulu has selected AWS
                     23     as its cloud provider, and leveraged AWS to launch its new, over-the-top (OTT) live TV service.”);
                     24     AWS Infrastructure is Now Behind Three Main Streaming Media Providers, ZDNET (Aug. 14,
                            2017),        https://www.zdnet.com/article/aws-infrastructure-is-now-behind-three-main-streaming-
                     25     media-providers/; ESPN’s 2024 College Football Coverage Takes to the Cloud for Super Slo-Mo
                            Replay, SPORTS VIDEO GROUP (Aug. 27, 2024), https://www.sportsvideo.org/2024/08/27/espn-
                     26     embraces-cloud-for-aer-lingus-college-football-
                            classic/#:~:text=ESPN's%20VP%2C%20Production%20Operations%2C%20Chris,needed%20and%
                     27     20at%20any%20time (noting that ESPN operators utilize “ESPN’s Direct Connect to AWS for
                     28     control connectivity,” which is then transmitted to ESPN+).

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                      1     F.     Disney Media and Entertainment Distribution LLC’s Vicarious Liability
                      2
                                   289.     Disney Media and Entertainment Distribution LLC directs and controls
                      3
                            the actions and performance of Disney Platform Distribution, Inc., including those
                      4
                      5     related to infringement of the Asserted Patents.
                      6
                                   290.     Disney Media and Entertainment Distribution LLC conditions benefits
                      7
                      8     derived by Disney Platform Distribution, Inc. on the performance of activities,

                      9     including those related to infringement of the Asserted Patents.
                     10
                                   291.     Disney Media and Entertainment Distribution LLC specifies the timing
                     11
                     12     and manner of the performance of activities by Disney Platform Distribution, Inc.,

                     13     including those related to infringement of the Asserted Patents.
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                                   292.     Disney Media and Entertainment Distribution LLC profits from the
                     15
                     16     activities of Disney Platform Distribution, Inc.

                     17            293.     Disney Media and Entertainment Distribution LLC has the rights,
                     18
                            powers, or abilities to cause Disney Platform Distribution, Inc. to stop or limit its
                     19
                     20     infringing activities.

                     21            294.     Disney Media and Entertainment Distribution LLC has not exercised its
                     22
                            rights, powers, or abilities to cause Disney Platform Distribution, Inc. to stop or limit
                     23
                     24     its infringing activities.

                     25            295.     Disney Media and Entertainment Distribution LLC is vicariously liable
                     26
                            for the infringing activities of Disney Platform Distribution, Inc.
                     27
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                      1            296.    Disney Media and Entertainment Distribution LLC directs and controls
                      2
                            the actions and performance of Disney Streaming Services LLC, including those
                      3
                            related to infringement of the Asserted Patents.
                      4
                      5            297.    Disney Media and Entertainment Distribution LLC conditions benefits
                      6
                            derived by Disney Streaming Services LLC on the performance of activities, including
                      7
                      8     those related to infringement of the Asserted Patents.

                      9            298.    Disney Media and Entertainment Distribution LLC specifies the timing
                     10
                            and manner of the performance of activities by Disney Streaming Services LLC,
                     11
                     12     including those related to infringement of the Asserted Patents.

                     13            299.    Disney Media and Entertainment Distribution LLC profits from the
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                            activities of Disney Streaming Services LLC.
                     15
                     16            300.    Disney Media and Entertainment Distribution LLC has the rights,

                     17     powers, or abilities to cause Disney Streaming Services LLC to stop or limit its
                     18
                            infringing activities.
                     19
                     20            301.    Disney Media and Entertainment Distribution LLC has not exercised its

                     21     rights, powers, or abilities to cause Disney Streaming Services LLC to stop or limit its
                     22
                            infringing activities.
                     23
                     24            302.    Disney Media and Entertainment Distribution LLC is vicariously liable

                     25     for the infringing activities of Disney Streaming Services LLC.
                     26
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                      1            303.     Disney Media and Entertainment Distribution LLC directs and controls
                      2
                            the actions and performance of Disney Entertainment & Sports LLC, including those
                      3
                            related to infringement of the Asserted Patents.
                      4
                      5            304.     Disney Media and Entertainment Distribution LLC conditions benefits
                      6
                            derived by Disney Entertainment & Sports LLC on the performance of activities,
                      7
                      8     including those related to infringement of the Asserted Patents.

                      9            305.     Disney Media and Entertainment Distribution LLC specifies the timing
                     10
                            and manner of the performance of activities by Disney Entertainment & Sports LLC,
                     11
                     12     including those related to infringement of the Asserted Patents.

                     13            306.     Disney Media and Entertainment Distribution LLC profits from the
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                            activities of Disney Entertainment & Sports LLC.
                     15
                     16            307.     Disney Media and Entertainment Distribution LLC has the rights,

                     17     powers, or abilities to cause Disney Entertainment & Sports LLC to stop or limit its
                     18
                            infringing activities.
                     19
                     20            308.     Disney Media and Entertainment Distribution LLC has not exercised its

                     21     rights, powers, or abilities to cause Disney Entertainment & Sports LLC to stop or
                     22
                            limit its infringing activities.
                     23
                     24            309.     Disney Media and Entertainment Distribution LLC is vicariously liable

                     25     for the infringing activities of Disney Entertainment & Sports LLC.
                     26
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                      1            310.   Disney Media and Entertainment Distribution LLC directs and controls
                      2
                            the actions and performance of Disney DTC LLC, including those related to
                      3
                            infringement of the Asserted Patents.
                      4
                      5            311.   Disney Media and Entertainment Distribution LLC conditions benefits
                      6
                            derived by Disney DTC LLC on the performance of activities, including those related
                      7
                      8     to infringement of the Asserted Patents.

                      9            312.   Disney Media and Entertainment Distribution LLC specifies the timing
                     10
                            and manner of the performance of activities by Disney DTC LLC, including those
                     11
                     12     related to infringement of the Asserted Patents.

                     13            313.   Disney Media and Entertainment Distribution LLC profits from the
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                            activities of Disney DTC LLC.
                     15
                     16            314.   Disney Media and Entertainment Distribution LLC has the rights,

                     17     powers, or abilities to cause Disney DTC LLC to stop or limit its infringing activities.
                     18
                                   315.   Disney Media and Entertainment Distribution LLC has not exercised its
                     19
                     20     rights, powers, or abilities to cause Disney DTC LLC to stop or limit its infringing

                     21     activities.
                     22
                                   316.   Disney Media and Entertainment Distribution LLC is vicariously liable
                     23
                     24     for the infringing activities of Disney DTC LLC.

                     25            317.   Disney Media and Entertainment Distribution LLC directs and controls
                     26
                            the actions and performance of BAMTech, LLC, including those related to
                     27
                     28     infringement of the Asserted Patents.

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                      1            318.   Disney Media and Entertainment Distribution LLC conditions benefits
                      2
                            derived by BAMTech, LLC on the performance of activities, including those related
                      3
                            to infringement of the Asserted Patents.
                      4
                      5            319.   Disney Media and Entertainment Distribution LLC specifies the timing
                      6
                            and manner of the performance of activities by BAMTech, LLC, including those
                      7
                      8     related to infringement of the Asserted Patents.

                      9            320.   Disney Media and Entertainment Distribution LLC profits from the
                     10
                            activities of BAMTech, LLC.
                     11
                     12            321.   Disney Media and Entertainment Distribution LLC has the rights,

                     13     powers, or abilities to cause BAMTech, LLC to stop or limit its infringing activities.
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                                   322.   Disney Media and Entertainment Distribution LLC has not exercised its
                     15
                     16     rights, powers, or abilities to cause BAMTech, LLC to stop or limit its infringing

                     17     activities.
                     18
                                   323.   Disney Media and Entertainment Distribution LLC is vicariously liable
                     19
                     20     for the infringing activities of BAMTech, LLC.

                     21            324.   Disney Media and Entertainment Distribution LLC directs and controls
                     22
                            the actions and performance of Hulu, LLC, including those related to infringement of
                     23
                     24     the Asserted Patents.

                     25            325.   Disney Media and Entertainment Distribution LLC conditions benefits
                     26
                            derived by Hulu, LLC on the performance of activities, including those related to
                     27
                     28     infringement of the Asserted Patents.

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                      1            326.    Disney Media and Entertainment Distribution LLC specifies the timing
                      2
                            and manner of the performance of activities by Hulu, LLC, including those related to
                      3
                            infringement of the Asserted Patents.
                      4
                      5            327.    Disney Media and Entertainment Distribution LLC profits from the
                      6
                            activities of Hulu, LLC.
                      7
                      8            328.    Disney Media and Entertainment Distribution LLC has the rights,

                      9     powers, or abilities to cause Hulu, LLC to stop or limit its infringing activities.
                     10
                                   329.    Disney Media and Entertainment Distribution LLC has not exercised
                     11
                     12     its rights, powers, or abilities to cause Hulu, LLC to stop or limit its infringing

                     13     activities.
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                                   330.    Disney Media and Entertainment Distribution LLC is vicariously
                     15
                     16     liable for the infringing activities of Hulu, LLC.

                     17            331.    Disney Media and Entertainment Distribution LLC directs and controls
                     18
                            the actions and performance of ESPN, Inc., including those related to infringement of
                     19
                     20     the Asserted Patents.

                     21            332.    Disney Media and Entertainment Distribution LLC conditions benefits
                     22
                            derived by ESPN, Inc. on the performance of activities, including those related to
                     23
                     24     infringement of the Asserted Patents.

                     25            333.    Disney Media and Entertainment Distribution LLC specifies the timing
                     26
                            and manner of the performance of activities by ESPN, Inc., including those related to
                     27
                     28     infringement of the Asserted Patents.

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                      1              334.     Disney Media and Entertainment Distribution LLC profits from the
                      2
                            activities of ESPN, Inc.
                      3
                                     335.     Disney Media and Entertainment Distribution LLC has the rights,
                      4
                      5     powers, or abilities to cause ESPN, Inc. to stop or limit its infringing activities.
                      6
                                     336.     Disney Media and Entertainment Distribution LLC has not exercised
                      7
                      8     its rights, powers, or abilities to cause ESPN, Inc. to stop or limit its infringing

                      9     activities.
                     10
                                     337.     Disney Media and Entertainment Distribution LLC is vicariously
                     11
                     12     liable for the infringing activities of ESPN, Inc.

                     13              338.     Disney Media and Entertainment Distribution LLC directs and
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                            controls the actions and performance of the Third Parties, including those related to
                     15
                     16     the direct infringement of the Asserted Patents.51

                     17              339.     Disney Media and Entertainment Distribution LLC conditions benefits
                     18
                            derived by the Third Parties on the performance of activities, including those related to
                     19
                     20     the direct infringement of the Asserted Patents.

                     21              340.     Disney Media and Entertainment Distribution LLC specifies the
                     22
                            timing and manner of the performance of activities by the Third Parties, including
                     23
                     24     those related to the direct infringement of the Asserted Patents.

                     25              341.     Disney Media and Entertainment Distribution LLC profits from the
                     26
                            activities of the Third Parties.
                     27
                            51
                     28          See supra ¶¶ 40-62.

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                      1            342.    Disney Media and Entertainment Distribution LLC has the rights,
                      2
                            powers, or abilities to cause the Third Parties to stop or limit its infringing activities.
                      3
                                   343.    Disney Media and Entertainment Distribution LLC has not exercised
                      4
                      5     its rights, powers, or abilities to cause the Third Parties to stop or limit its infringing
                      6
                            activities.
                      7
                      8            344.    Disney Media and Entertainment Distribution LLC is vicariously

                      9     liable for the infringing activities of the Third Parties.
                     10
                            G.     Disney Streaming Services LLC’s Vicarious Liability
                     11
                     12            345.    Disney Streaming Services LLC directs and controls the actions and

                     13     performance of Disney Platform Distribution, Inc., including those related to
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                            infringement of the Asserted Patents.
                     15
                     16            346.    Disney Streaming Services LLC conditions benefits derived by Disney

                     17     Platform Distribution, Inc. on the performance of activities, including those related to
                     18
                            infringement of the Asserted Patents.
                     19
                     20            347.    Disney Streaming Services LLC specifies the timing and manner of the

                     21     performance of activities by Disney Platform Distribution, Inc., including those
                     22
                            related to infringement of the Asserted Patents.
                     23
                     24            348.    Disney Streaming Services LLC profits from the activities of Disney

                     25     Platform Distribution, Inc.
                     26
                                   349.    Disney Streaming Services LLC has the rights, powers, or abilities to
                     27
                     28     cause Disney Platform Distribution, Inc. to stop or limit its infringing activities.

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                      1            350.   Disney Streaming Services LLC has not exercised its rights, powers, or
                      2
                            abilities to cause Disney Platform Distribution, Inc. to stop or limit its infringing
                      3
                            activities.
                      4
                      5            351.   Disney Streaming Services LLC is vicariously liable for the infringing
                      6
                            activities of Disney Platform Distribution, Inc.
                      7
                      8            352.   Disney Streaming Services LLC directs and controls the actions and

                      9     performance of Disney Entertainment & Sports LLC, including those related to
                     10
                            infringement of the Asserted Patents.
                     11
                     12            353.   Disney Streaming Services LLC conditions benefits derived by Disney

                     13     Entertainment & Sports LLC on the performance of activities, including those related
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                            to infringement of the Asserted Patents.
                     15
                     16            354.   Disney Streaming Services LLC specifies the timing and manner of the

                     17     performance of activities by Disney Entertainment & Sports LLC, including those
                     18
                            related to infringement of the Asserted Patents.
                     19
                     20            355.   Disney Streaming Services LLC profits from the activities of Disney

                     21     Entertainment & Sports LLC.
                     22
                                   356.   Disney Streaming Services LLC has the rights, powers, or abilities to
                     23
                     24     cause Disney Entertainment & Sports LLC to stop or limit its infringing activities.

                     25            357.   Disney Streaming Services LLC has not exercised its rights, powers, or
                     26
                            abilities to cause Disney Entertainment & Sports LLC to stop or limit its infringing
                     27
                     28     activities.

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                      1           358.    Disney Streaming Services LLC is vicariously liable for the infringing
                      2
                            activities of Disney Entertainment & Sports LLC.
                      3
                                  359.    Disney Streaming Services LLC directs and controls the actions and
                      4
                      5     performance of Disney DTC LLC, including those related to infringement of the
                      6
                            Asserted Patents.
                      7
                      8           360.    Disney Streaming Services LLC conditions benefits derived by Disney

                      9     DTC LLC on the performance of activities, including those related to infringement of
                     10
                            the Asserted Patents.
                     11
                     12           361.    Disney Streaming Services LLC specifies the timing and manner of the

                     13     performance of activities by Disney DTC LLC, including those related to
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                            infringement of the Asserted Patents.
                     15
                     16           362.    Disney Streaming Services LLC profits from the activities of Disney

                     17     DTC LLC.
                     18
                                  363.    Disney Streaming Services LLC has the rights, powers, or abilities to
                     19
                     20     cause Disney DTC LLC to stop or limit its infringing activities.

                     21           364.    Disney Streaming Services LLC has not exercised its rights, powers, or
                     22
                            abilities to cause Disney DTC LLC to stop or limit its infringing activities.
                     23
                     24           365.    Disney Streaming Services LLC is vicariously liable for the infringing

                     25     activities of Disney DTC LLC.
                     26
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                      1           366.    Disney Streaming Services LLC directs and controls the actions and
                      2
                            performance of BAMTech, LLC, including those related to infringement of the
                      3
                            Asserted Patents.
                      4
                      5           367.    Disney Streaming Services LLC conditions benefits derived by
                      6
                            BAMTech, LLC on the performance of activities, including those related to
                      7
                      8     infringement of the Asserted Patents.

                      9           368.    Disney Streaming Services LLC specifies the timing and manner of the
                     10
                            performance of activities by BAMTech, LLC, including those related to infringement
                     11
                     12     of the Asserted Patents.

                     13           369.    Disney Streaming Services LLC profits from the activities of
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                            BAMTech, LLC.
                     15
                     16           370.    Disney Streaming Services LLC has the rights, powers, or abilities

                     17     to cause BAMTech, LLC to stop or limit its infringing activities.
                     18
                                  371.    Disney Streaming Services LLC has not exercised its rights, powers, or
                     19
                     20     abilities to cause BAMTech, LLC to stop or limit its infringing activities.

                     21           372.    Disney Streaming Services LLC is vicariously liable for the infringing
                     22
                            activities of BAMTech, LLC.
                     23
                     24           373.    Disney Streaming Services LLC directs and controls the actions and

                     25     performance of Hulu, LLC, including those related to infringement of the Asserted
                     26
                            Patents.
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                      1            374.    Disney Streaming Services LLC conditions benefits derived by Hulu,
                      2
                            LLC on the performance of activities, including those related to infringement of the
                      3
                            Asserted Patents.
                      4
                      5            375.    Disney Streaming Services LLC specifies the timing and manner of the
                      6
                            performance of activities by Hulu, LLC, including those related to infringement of the
                      7
                      8     Asserted Patents.

                      9            376.    Disney Streaming Services LLC profits from the activities of Hulu,
                     10
                            LLC.
                     11
                     12            377.    Disney Streaming Services LLC has the rights, powers, or abilities to

                     13     cause Hulu, LLC to stop or limit its infringing activities.
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                                   378.    Disney Streaming Services LLC has not exercised its rights, powers, or
                     15
                     16     abilities to cause Hulu, LLC to stop or limit its infringing activities.

                     17            379.    Disney Streaming Services LLC is vicariously liable for the infringing
                     18
                            activities of Hulu, LLC.
                     19
                     20            380.    Disney Streaming Services LLC directs and controls the actions and

                     21     performance of ESPN, Inc., including those related to infringement of the Asserted
                     22
                            Patents.
                     23
                     24            381.    Disney Streaming Services LLC conditions benefits derived by ESPN,

                     25     Inc. on the performance of activities, including those related to infringement of the
                     26
                            Asserted Patents.
                     27
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                      1              382.     Disney Streaming Services LLC specifies the timing and manner of the
                      2
                            performance of activities by ESPN, Inc., including those related to infringement of the
                      3
                            Asserted Patents.
                      4
                      5              383.     Disney Streaming Services LLC profits from the activities of ESPN,
                      6
                            Inc.
                      7
                      8              384.     Disney Streaming Services LLC has the rights, powers, or abilities to

                      9     cause ESPN, Inc. to stop or limit its infringing activities.
                     10
                                     385.     Disney Streaming Services LLC has not exercised its rights, powers, or
                     11
                     12     abilities to cause ESPN, Inc. to stop or limit its infringing activities.

                     13              386.     Disney Streaming Services LLC is vicariously liable for the infringing
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                            activities of ESPN, Inc.
                     15
                     16              387.     Disney Streaming Services LLC directs and controls the actions and

                     17     performance of the Third Parties, including those related to the direct infringement of
                     18
                            the Asserted Patents.52
                     19
                     20              388.     Disney Streaming Services LLC conditions benefits derived by the

                     21     Third Parties on the performance of activities, including those related to the direct
                     22
                            infringement of the Asserted Patents.
                     23
                     24              389.     Disney Streaming Services LLC specifies the timing and manner of the

                     25     performance of activities by the Third Parties, including those related to the direct
                     26
                            infringement of the Asserted Patents.
                     27
                            52
                     28          See supra ¶¶ 40-62.

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                      1            390.    Disney Streaming Services LLC profits from the activities of the Third
                      2
                            Parties.
                      3
                                   391.    Disney Streaming Services LLC has the rights, powers, or abilities to
                      4
                      5     cause the Third Parties to stop or limit its infringing activities.
                      6
                                   392.    Disney Streaming Services LLC has not exercised its rights, powers, or
                      7
                      8     abilities to cause the Third Parties to stop or limit its infringing activities.

                      9            393.    Disney Streaming Services LLC is vicariously liable for the infringing
                     10
                            activities of the Third Parties.
                     11
                     12     H.     Disney Entertainment & Sports LLC’s Vicarious Liability

                     13            394.    Disney Entertainment & Sports LLC directs and controls the actions
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                            and performance of Disney Platform Distribution, Inc., including those related to
                     15
                     16     infringement of the Asserted Patents.

                     17            395.    Disney Entertainment & Sports LLC conditions benefits derived by
                     18
                            Disney Platform Distribution, Inc. on the performance of activities, including those
                     19
                     20     related to infringement of the Asserted Patents.

                     21            396.    Disney Entertainment & Sports LLC specifies the timing and manner of
                     22
                            the performance of activities by Disney Platform Distribution, Inc., including those
                     23
                     24     related to infringement of the Asserted Patents.

                     25            397.    Disney Entertainment & Sports LLC profits from the activities of
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                            Disney Platform Distribution, Inc.
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                      1            398.    Disney Entertainment & Sports LLC has the rights, powers, or abilities
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                            to cause Disney Platform Distribution, Inc. to stop or limit its infringing activities.
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                                   399.    Disney Entertainment & Sports LLC has not exercised its rights, powers,
                      4
                      5     or abilities to cause Disney Platform Distribution, Inc. to stop or limit its infringing
                      6
                            activities.
                      7
                      8            400.    Disney Entertainment & Sports LLC is vicariously liable for the

                      9     infringing activities of Disney Platform Distribution, Inc.
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                                   401.    Disney Entertainment & Sports LLC directs and controls the actions
                     11
                     12     and performance of Disney DTC LLC, including those related to infringement of the

                     13     Asserted Patents.
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                                   402.    Disney Entertainment & Sports LLC conditions benefits derived by
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                     16     Disney DTC LLC on the performance of activities, including those related to

                     17     infringement of the Asserted Patents.
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                                   403.    Disney Entertainment & Sports LLC specifies the timing and manner of
                     19
                     20     the performance of activities by Disney DTC LLC, including those related to

                     21     infringement of the Asserted Patents.
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                                   404.    Disney Entertainment & Sports LLC profits from the activities of
                     23
                     24     Disney DTC LLC.

                     25            405.    Disney Entertainment & Sports LLC has the rights, powers, or abilities
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                            to cause Disney DTC LLC to stop or limit its infringing activities.
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                      1           406.    Disney Entertainment & Sports LLC has not exercised its rights, powers,
                      2
                            or abilities to cause Disney DTC LLC to stop or limit its infringing activities.
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                                  407.    Disney Entertainment & Sports LLC is vicariously liable for the
                      4
                      5     infringing activities of Disney DTC LLC.
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                                  408.    Disney Entertainment & Sports LLC directs and controls the actions
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                      8     and performance of BAMTech, LLC, including those related to infringement of the

                      9     Asserted Patents.
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                                  409.    Disney Entertainment & Sports LLC conditions benefits derived by
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                     12     BAMTech, LLC on the performance of activities, including those related to

                     13     infringement of the Asserted Patents.
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                                  410.    Disney Entertainment & Sports LLC specifies the timing and manner of
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                     16     the performance of activities by BAMTech, LLC, including those related to

                     17     infringement of the Asserted Patents.
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                                  411.    Disney Entertainment & Sports LLC profits from the activities of
                     19
                     20     BAMTech, LLC.

                     21           412.    Disney Entertainment & Sports LLC has the rights, powers, or abilities
                     22
                            to cause BAMTech, LLC to stop or limit its infringing activities.
                     23
                     24           413.    Disney Entertainment & Sports LLC has not exercised its rights, powers,

                     25     or abilities to cause BAMTech, LLC to stop or limit its infringing activities.
                     26
                                  414.    Disney Entertainment & Sports LLC is vicariously liable for the
                     27
                     28     infringing activities of BAMTech, LLC.

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                      1            415.    Disney Entertainment & Sports LLC directs and controls the actions
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                            and performance of Hulu, LLC, including those related to infringement of the
                      3
                            Asserted Patents.
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                      5            416.    Disney Entertainment & Sports LLC conditions benefits derived by
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                            Hulu, LLC on the performance of activities, including those related to infringement of
                      7
                      8     the Asserted Patents.

                      9            417.    Disney Entertainment & Sports LLC specifies the timing and manner of
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                            the performance of activities by Hulu, LLC, including those related to infringement of
                     11
                     12     the Asserted Patents.

                     13            418.    Disney Entertainment & Sports LLC profits from the activities of Hulu,
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                            LLC.
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                     16            419.    Disney Entertainment & Sports LLC has the rights, powers, or abilities

                     17     to cause Hulu, LLC to stop or limit its infringing activities.
                     18
                                   420.    Disney Entertainment & Sports LLC has not exercised its rights, powers,
                     19
                     20     or abilities to cause Hulu, LLC to stop or limit its infringing activities.

                     21            421.    Disney Entertainment & Sports LLC is vicariously liable for the
                     22
                            infringing activities of Hulu, LLC.
                     23
                     24            422.    Disney Entertainment & Sports LLC directs and controls the actions

                     25     and performance of ESPN, Inc., including those related to infringement of the
                     26
                            Asserted Patents.
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                      1              423.     Disney Entertainment & Sports LLC conditions benefits derived by
                      2
                            ESPN, Inc. on the performance of activities, including those related to infringement of
                      3
                            the Asserted Patents.
                      4
                      5              424.     Disney Entertainment & Sports LLC specifies the timing and manner of
                      6
                            the performance of activities by ESPN, Inc., including those related to infringement of
                      7
                      8     the Asserted Patents.

                      9              425.     Disney Entertainment & Sports LLC profits from the activities of
                     10
                            ESPN, Inc.
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                     12              426.     Disney Entertainment & Sports LLC has the rights, powers, or abilities

                     13     to cause ESPN, Inc. to stop or limit its infringing activities.
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                                     427.     Disney Entertainment & Sports LLC has not exercised its rights, powers,
                     15
                     16     or abilities to cause ESPN, Inc. to stop or limit its infringing activities.

                     17              428.     Disney Entertainment & Sports LLC is vicariously liable for the
                     18
                            infringing activities of ESPN, Inc.
                     19
                     20              429.     Disney Entertainment & Sports LLC directs and controls the actions

                     21     and performance of the Third Parties, including those related to the direct
                     22
                            infringement of the Asserted Patents.53
                     23
                     24              430.     Disney Entertainment & Sports LLC conditions benefits derived by

                     25     the Third Parties on the performance of activities, including those related to the direct
                     26
                            infringement of the Asserted Patents.
                     27
                            53
                     28          See supra ¶¶ 40-62.

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                      1           431.       Disney Entertainment & Sports LLC specifies the timing and manner
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                            of the performance of activities by the Third Parties, including those related to the
                      3
                            direct infringement of the Asserted Patents.
                      4
                      5           432.       Disney Entertainment & Sports LLC profits from the activities of the
                      6
                            Third Parties.
                      7
                      8           433.       Disney Entertainment & Sports LLC has the rights, powers, or

                      9     abilities to cause the Third Parties to stop or limit its infringing activities.
                     10
                                  434.       Disney Entertainment & Sports LLC has not exercised its rights,
                     11
                     12     powers, or abilities to cause the Third Parties to stop or limit its infringing activities.

                     13           435.       Disney Entertainment & Sports LLC is vicariously liable for the
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                            infringing activities of the Third Parties.
                     15
                     16     I.    ESPN, Inc.’s Vicarious Liability

                     17           436.       ESPN, Inc. directs and controls the actions and performance of
                     18
                            BAMTech, LLC, including those related to infringement of the Asserted Patents.
                     19
                     20           437.       ESPN, Inc. conditions benefits derived by BAMTech, LLC on the

                     21     performance of activities, including those related to infringement of the Asserted
                     22
                            Patents.
                     23
                     24           438.       ESPN, Inc. specifies the timing and manner of the performance of

                     25     activities by BAMTech, LLC, including those related to infringement of the Asserted
                     26
                            Patents.
                     27
                     28           439.       ESPN, Inc. profits from the activities of BAMTech, LLC.

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                      1              440.     ESPN, Inc. has the rights, powers, or abilities to cause BAMTech, LLC
                      2
                            to stop or limit its infringing activities.
                      3
                                     441.     ESPN, Inc. has not exercised its rights, powers, or abilities to cause
                      4
                      5     BAMTech, LLC to stop or limit its infringing activities.
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                                     442.     ESPN, Inc. is vicariously liable for the infringing activities of
                      7
                      8     BAMTech, LLC.

                      9              443.     ESPN, Inc. directs and controls the actions and performance of the
                     10
                            Third Parties, including those related to the direct infringement of the Asserted
                     11
                     12     Patents.54

                     13              444.     ESPN, Inc. conditions benefits derived by the Third Parties on the
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                            performance of activities, including those related to the direct infringement of the
                     15
                     16     Asserted Patents.

                     17              445.     ESPN, Inc. specifies the timing and manner of the performance of
                     18
                            activities by the Third Parties, including those related to the direct infringement of the
                     19
                     20     Asserted Patents.

                     21              446.     ESPN, Inc. profits from the activities of the Third Parties.
                     22
                                     447.     ESPN, Inc. has the rights, powers, or abilities to cause the Third
                     23
                     24     Parties to stop or limit its infringing activities.

                     25              448.     ESPN, Inc. has not exercised its rights, powers, or abilities to cause the
                     26
                            Third Parties to stop or limit its infringing activities.
                     27
                            54
                     28          See supra ¶¶ 40-62.

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                      1           449.       ESPN, Inc. is vicariously liable for the infringing activities of the
                      2
                            Third Parties.
                      3
                            J.    Defendants’ Actions to Directly Infringe
                      4
                      5           450.       The Walt Disney Company directly infringes the claims of the Asserted
                      6
                            Patents by making, using, selling, and/or offering to sell the Accused Instrumentalities
                      7
                      8     that encode video with technology covered by the Asserted Patents.

                      9           451.       Disney Media and Entertainment Distribution LLC directly infringes
                     10
                            the claims of the Asserted Patents by making, using, selling, and/or offering to sell the
                     11
                     12     Accused Instrumentalities that encode video with technology covered by the Asserted

                     13     Patents.
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                                  452.       Disney Platform Distribution, Inc. directly infringes the claims of the
                     15
                     16     Asserted Patents by making, using, selling, and/or offering to sell the Accused

                     17     Instrumentalities that encode video with technology covered by the Asserted Patents.
                     18
                                  453.       Disney Streaming Services LLC directly infringes the claims of the
                     19
                     20     Asserted Patents by making, using, selling, and/or offering to sell the Accused

                     21     Instrumentalities that encode video with technology covered by the Asserted Patents.
                     22
                                  454.       Disney Entertainment & Sports LLC directly infringes the claims of the
                     23
                     24     Asserted Patents by making, using, selling, and/or offering to sell the Accused

                     25     Instrumentalities that encode video with technology covered by the Asserted Patents.
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                      1           455.    Disney DTC LLC directly infringes the claims of the Asserted Patents
                      2
                            by making, using, selling, and/or offering to sell the Accused Instrumentalities that
                      3
                            encode video with technology covered by the Asserted Patents.
                      4
                      5           456.    BAMTech, LLC directly infringes the claims of the Asserted Patents by
                      6
                            making, using, selling, and/or offering to sell the Accused Instrumentalities that
                      7
                      8     encode video with technology covered by the Asserted Patents.

                      9           457.    Hulu, LLC directly infringes the claims of the Asserted Patents by
                     10
                            making, using, selling, and/or offering to sell the Accused Instrumentalities that
                     11
                     12     encode video with technology covered by the Asserted Patents.

                     13           458.    ESPN, Inc. directly infringes the claims of the Asserted Patents by
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                            making, using, selling, and/or offering to sell the Accused Instrumentalities that
                     15
                     16     encode video with technology covered by the Asserted Patents.

                     17           459.    The Walt Disney Company took the above actions intending to infringe
                     18
                            and/or cause infringing acts by others.
                     19
                     20           460.    Disney Media and Entertainment Distribution LLC took the above

                     21     actions intending to infringe and/or cause infringing acts by others.
                     22
                                  461.    Disney Platform Distribution, Inc. took the above actions intending to
                     23
                     24     infringe and/or cause infringing acts by others.

                     25           462.    Disney Streaming Services LLC took the above actions intending to
                     26
                            infringe and/or cause infringing acts by others.
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                      1           463.     Disney Entertainment & Sports LLC took the above actions intending
                      2
                            to infringe and/or cause infringing acts by others.
                      3
                                  464.     Disney DTC LLC took the above actions intending to infringe and/or
                      4
                      5     cause infringing acts by others.
                      6
                                  465.     BAMTech, LLC took the above actions intending to infringe and/or
                      7
                      8     cause infringing acts by others.

                      9           466.     Hulu, LLC took the above actions intending to infringe and/or cause
                     10
                            infringing acts by others.
                     11
                     12           467.     ESPN, Inc. took the above actions intending to infringe and/or cause

                     13     infringing acts by others.
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                                      COUNT 1: INFRINGEMENT OF U.S. PATENT NO. 8,406,301
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                     16           468.     InterDigital incorporates the allegations of all of the foregoing

                     17     paragraphs as if fully restated herein.
                     18
                                  469.     U.S. Patent No. 8,406,301 (“the ’301 Patent”) entitled “Adaptive
                     19
                     20     Weighting of Reference Pictures in Video Encoding,” was issued on March 26, 2013,

                     21     and names Jill MacDonald Boyce as the inventor. The ’301 Patent is attached as
                     22
                            Exhibit A.1.
                     23
                     24           470.     InterDigital VC Holdings, Inc. owns all rights, title, and interest in the

                     25     ’301 Patent, and holds all substantial rights pertinent to this suit, including the right to
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                            sue and recover for all past, current, and future infringement.
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                      1           471.     The ’301 Patent is valid and enforceable and directed to patentable
                      2
                            subject matter.
                      3
                                                                The ’301 Patent
                      4
                      5           472.     The ’301 Patent concerns video encoders and encoding methods where
                      6
                            a reference picture weighting factor is associated with a particular reference picture
                      7
                      8     index. See Ex. A.1 at Cl. 1-12. As the ’301 Patent explains, “[t]he more closely that

                      9     the prediction is correlated with the current picture, the fewer bits that are needed to
                     10
                            compress that picture, thereby increasing the efficiency of the process.” Ex. A.1 at
                     11
                     12     1:32-35. The ’301 Patent states that, in video compression, “a motion compensated

                     13     version of a previous reference picture is used as a prediction for the current picture,
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                            and only the difference between the current picture and the prediction is coded.” Ex.
                     15
                     16     A.1 at 1:39-43.

                     17           473.     Weighting factor transmission methods such as those used before the
                     18
                            innovation taught in the ‘301 Patent were inflexible and inefficiently communicated
                     19
                     20     weighting factors, which led to higher bandwidth requirements. See Ex. A.1 at 1:37-

                     21     51, 2:42-46. “Two methods have been proposed for indication of weighting factors.”
                     22
                            Ex. A.1 at 3:17-18. In the first method, “if the ref_idx_10 index is less than or equal to
                     23
                     24     ref_idx_11, weighting factors of (1/2, 1/2) are used, otherwise (2, -1) factors are

                     25     used.” Ex. A.1 at 3:18-22. “In the second method offered, any number of weighting
                     26
                            factors is transmitted for each slice.” Ex. A.1 at 3:23-24. “Then a weighting factor
                     27
                     28     index is transmitted for each motion block or 8x8 region of a macroblock that uses

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                      1     bidirectional prediction.” Ex. A.1 at 3:24-26, see also Ex. A.1 at 3:26-31. “In some
                      2
                            video sequences, in particular those with fading, the current picture or image block to
                      3
                            be coded is more strongly correlated to a reference picture scaled by a weighting
                      4
                      5     factor than to the reference picture itself.” Ex. A.1 at 2:42-46. “These and other
                      6
                            drawbacks and disadvantages of the prior art are addressed by a system and method
                      7
                      8     for adaptive weighting of reference pictures in video coders and decoders.” Ex. A.1 at

                      9     1:55-57; see also Ex. A.1 at 1:37-51.
                     10
                                  474.    The ’301 Patent’s advancement “dramatically reduces the amount of
                     11
                     12     overhead in the transmitted bitstream [when utilizing] adaptive weighting of reference

                     13     pictures.” Ex. A.1 at 7:67-8:2. “The weighting factor adapts for individual motion
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                            blocks within a picture, based on the reference picture index that is used for that
                     15
                     16     motion block.” Ex. A.1 at 8:59-61. “Because the reference picture index is already

                     17     transmitted in the compressed video bitstream, the additional overhead to adapt the
                     18
                            weighting factor on a motion block basis is dramatically reduced.” Ex. A.1 at 8:62-65.
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                     13     Ex. A.1 at Fig. 5; see also Ex. A.1 at 5:57-6:32 (discussing encoder operation and
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                            structure).
                     15
                     16           475.    Figure 5 of the ‘301 Patent, which is reproduced above, is a block

                     17     diagram for a video encoder with reference picture weighting. Ex. A.1 at 2:29-31,
                     18
                            5:57-59. The patent describes this block diagram: “A first output of the reference
                     19
                     20     picture store 570 is connected in signal communication with a first input of a reference

                     21     picture weighting factor assignor 572.” Ex. A.1 at 6:6-8. “The input to the encoder
                     22
                            500 is further connected in signal communication with a second input of the reference
                     23
                     24     picture weighting factor assignor 572.” Ex. A.1 at 6:8-11. “The output of the reference

                     25     picture weighting factor assignor 572, which is indicative of a weighting factor, is
                     26
                            connected in signal communication with a first input of a motion estimator 580.” Ex.
                     27
                     28     A.1 at 6:11-14. “A second output of the reference picture store 570 is connected in

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                      1     signal communication with a second input of the motion estimator 580.” Ex. A.1 at
                      2
                            6:14-16.
                      3
                                  476.    “The input to the encoder 500 is further connected in signal
                      4
                      5     communication with a third input of the motion estimator 580.” Ex. A.1 at 6:17-19.
                      6
                            “The output of the motion estimator 580, which is indicative of motion vectors, is
                      7
                      8     connected in signal communication with a first input of a motion compensator 590.”

                      9     Ex. A.1 at 6:19-21. “A third output of the reference picture store 570 is connected in
                     10
                            signal communication with a second input of the motion compensator 590.” Ex. A.1 at
                     11
                     12     6:21-24. “The output of the motion compensator 590, which is indicative of a motion

                     13     compensated reference picture, is connected in signal communication with a first input
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                            of a multiplier 592.” Ex. A.1 at 6:24-27. “The output of the reference picture
                     15
                     16     weighting factor assignor 572, which is indicative of a weighting factor, is connected

                     17     in signal communication with a second input of the multiplier 592.” Ex. A.1 at 6:26-
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                            30.
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                            Ex. A.1 at Fig. 7.
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                     24           477.     The ’301 Patent explains illustrative steps through which an encoder

                     25     can implement adaptive reference picture weighting. Ex. A.1 at 2:34-35. For example,
                     26
                            the ’301 Patent describes the following steps from Figure 7 (reproduced above):
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                     28                  The input block 712 receives substantially uncompressed
                                         image block data, and passes control to a function block
                                                                    93
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                      1                  714. The function block 714 assigns a weighting factor for
                                         the image block corresponding to a particular reference
                      2
                                         picture having a corresponding index. The function block
                      3                  714 passes control to an optional function block 715. The
                                         optional function block 715 assigns an offset for the image
                      4
                                         block corresponding to a particular reference picture having
                      5                  a corresponding index. The optional function block 715
                                         passes control to a function block 716, which computes
                      6
                                         motion vectors corresponding to the difference between the
                      7                  image block and the particular reference picture, and passes
                      8                  control to a function block 718. The function block 718
                                         motion compensates the particular reference picture in
                      9                  correspondence with the motion vectors, and passes control
                     10                  to a function block 720. The function block 720, in turn,
                                         multiplies the motion compensated reference picture by the
                     11                  assigned weighting factor to form a weighted motion
                     12                  compensated reference picture, and passes control to an
                                         optional function block 721. The optional function block
                     13                  721, in turn, adds the motion compensated reference picture
                                         to the assigned offset to form a weighted motion
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                                         compensated reference picture, and passes control to a
                     15                  function block 722. The function block 722 subtracts the
                     16                  weighted motion compensated reference picture from the
                                         substantially uncompressed image block, and passes control
                     17                  to a function block 724. The function block 724, in turn,
                     18                  encodes a signal with the difference between the
                                         substantially uncompressed image block and the weighted
                     19                  motion compensated reference picture along with the
                     20                  corresponding index of the particular reference picture, and
                                         passes control to an end block 726.
                     21
                            Ex. A.1 at 6:61-7:28.
                     22
                     23           478.    The ’301 Patent notes that “it will be appreciated by those skilled in the

                     24     art that the block diagrams herein represent conceptual views of illustrative circuitry
                     25
                            embodying the principles of the invention.” Ex. A.1 at 3:51-54. The ’301 Patent states
                     26
                     27     that “[t]he functions of the various elements shown in the figures may be provided

                     28     through the use of dedicated hardware as well as hardware capable of executing
                                                                     94
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                      1     software in association with appropriate software.” Ex. A.1 at 3:60-63, see also Ex.
                      2
                            A.1 at 3:63-4:13.
                      3
                                  479.    These advances are also reflected in the claims of the ’301 Patent. See,
                      4
                      5     e.g., Ex. A.1 at Claims 8-12. Accordingly, the claims of the ’301 Patent recite one or
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                            more inventive concepts rooted in computerized technology and overcome technical
                      7
                      8     problems in that field. A person of ordinary skill in the art reading the ’301 Patent and

                      9     its claims would understand that the Patent’s disclosure and claims are drawn to
                     10
                            solving specific, technical problems arising in video coding systems/methods and
                     11
                     12     provide for advancements in the field that were not routine, well-understood or

                     13     conventional. Accordingly, the claims of the ’301 Patent recite a combination of
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                            elements sufficient to ensure that the claims in practice amount to significantly more
                     15
                     16     than a patent claiming an abstract concept. A person of ordinary skill in the art would

                     17     understand that the ordered combination of claim elements is inventive. Further, the
                     18
                            claimed improvements over prior art video coding systems are concrete and improve
                     19
                     20     the capabilities of existing video coding translation systems/methods.

                     21           480.    A person of ordinary skill in the art reviewing the specification of the
                     22
                            ’301 Patent would understand that the inventor had possession of the claimed subject
                     23
                     24     matter and would know how to practice the claimed invention without undue

                     25     experimentation.
                     26
                                                         The ’301 Patent Allegations
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                      1           481.     The Accused Instrumentalities practice one or more claims of the ‘301
                      2
                            Patent by making, using, selling and/or offering to sell the Accused Instrumentalities
                      3
                            in this District and elsewhere in the United States, and/or importing the Accused
                      4
                      5     Instrumentalities into this District and elsewhere in the United States.
                      6
                                  482.     InterDigital provides the following explanation of infringement with
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                      8     regard to an exemplary claim compared to exemplary functionality. InterDigital

                      9     reserves the right to present additional or alternative explanations of infringement for
                     10
                            the claim and functionalities identified below and for other claims and functionalities
                     11
                     12     of the services.

                     13           483.     As illustrated in Exhibit A.2, Defendants infringe at least one method
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                            claim of the ’301 Patent, including at least Claims 8-12, by encoding the Accused
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                     16     Instrumentalities’ content.

                     17           484.     Defendants took the above actions intending to infringe and/or cause
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                            infringing acts by others.
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                     20           485.     Accordingly, Defendants have directly infringed at least one method

                     21     claim of the ’301 Patent, including at least Claims 8-12.
                     22
                                  486.     Defendants’ acts of infringement have caused damage to InterDigital.
                     23
                     24     InterDigital is entitled to recover from Defendants the damages sustained by

                     25     InterDigital as a result of their wrongful acts in an amount subject to proof at trial.
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                      1               COUNT 2: INFRINGEMENT OF U.S. PATENT NO. 10,805,610
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                                  487.     InterDigital incorporates the allegations of all of the foregoing
                      3
                            paragraphs as if fully restated herein.
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                      5           488.     U.S. Patent No. 10,805,610 (“the ’610 Patent”) entitled “Methods and
                      6
                            Apparatus for Intra Coding a Block having Pixels Assigned to Groups,” was issued on
                      7
                      8     October 13, 2020, and names Qian Xu, Joel Sole, Peng Yin, Yunfei Zheng, and

                      9     Xiaoan Lu as inventors. The ’610 Patent is attached as Exhibit B.1.
                     10
                                  489.     InterDigital VC Holdings, Inc. owns all rights, title, and interest in the
                     11
                     12     ’610 Patent, and holds all substantial rights pertinent to this suit, including the right to

                     13     sue and recover for all past, current, and future infringement.
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                                  490.     The ’610 Patent is valid and enforceable and directed to patentable
                     15
                     16     subject matter.

                     17                                          The ’610 Patent
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                                  491.     The ’601 Patent is generally directed to video coding, and in particular
                     19
                     20     intra coding a block having pixels assigned to groups. The benefits of the ’610 Patent

                     21     include improved efficiency in video coding. “Intra blocks make use of existing
                     22
                            redundancy in spatial correlation to improve video coding efficiency.” Ex. B.1 at
                     23
                     24     1:21-22. “How to effectively utilize spatial correlation is fundamental to the efficiency

                     25     of current video codecs for intra coding.” Ex. B.1 at 1:22-24. “It is observed that the
                     26
                            correlation between pixels decreases with the spatial distance.” Ex. B.1 at 1:24-26. “In
                     27
                     28     current state-of-the art coding standards such as [MPEG-4 AVC] . . . , only the

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                      1   encoded pixels above or to the left of the current block are used as its predictors,
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                          which may be quite far from the bottom right pixels to be predicted.” Ex. B.1 at 1:24-
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                          36, see also Ex. B.1 at 2:63-66.
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                      5         492.      “As a natural affect of redundancy likely existing due to spatial
                      6
                          proximity, the prediction accuracy in such schemes is normally limited, and the
                      7
                      8   prediction accuracy of the bottom right pixels may be limited.” Ex. B.1 at 1:36-39, see

                      9   also Ex. B.1 at 2:66-3:3. “With a large spatial distance, the correlation between pixels
                     10
                          can be low, and the residue signals can be large after prediction, which affects the
                     11
                     12   coding efficiency.” Ex. B.1 at 3:3-6. “In addition, extrapolation is used instead of

                     13   interpolation because of the limitation of causality.” Ex. B.1 at 1:39-41, see also Ex.
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                          B.1 at 3:3-6.
                     15
                     16         493.      “When a macroblock is coded in planar mode, its bottom-right sample

                     17   is signaled in the bitstream, the rightmost and bottom samples of the macroblock are
                     18
                          linearly interpolated, and the middle samples are bi-linearly interpolated from the
                     19
                     20   border samples.” Ex. B.1 at 3:11-16. “Although the new planar prediction method

                     21   exploits some spatial correlation with the bottom-right sample, the prediction accuracy
                     22
                          of the right and bottom pixels are still quite limited.” Ex. B.1 at 3:23-26. “These and
                     23
                     24   other drawbacks and disadvantages of the prior art are addressed by the” ’610 Patent.

                     25   Ex. B.1 at 3:30-33.
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                     12   Ex. B.1 at Figure 7.
                     13         494.    Figure 7 (reproduced above) “is a diagram showing an exemplary
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                          grouping of pixels within a block.” Ex. B.1 at 4:30-32. “In an embodiment, for an
                     15
                     16   intra block, we divide pixels within the block into at least two groups.” Ex. B.1 at
                     17   8:19-20. “One of the groups of pixels in the block is encoded.” Ex. B.1 at 8:19-20.
                     18
                          “For the first group of pixels, the encoder generates the prediction based on
                     19
                     20   neighboring encoded pixels using the DC/plane prediction method or some directional
                     21   prediction methods, and then calculates the prediction residue.” Ex. B.1 at 9:16-19.
                     22
                          “The reconstructed pixels are then considered together with the pixels in the
                     23
                     24   neighboring blocks that are already encoded to predict pixels in the second group.”
                     25   Ex. B.1 at 8:24-26, see also Ex. B.1 at 9:30-37. “[M]ore than two groups of pixels
                     26
                          within a block may also be used in accordance with the teachings of the present
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                      1   principles.” Ex. B.1 at 8:58-63. “[T]he groups of pixels within the block may be
                      2
                          divided in any manner desired and found to be effective.” Ex. B.1 at 9:7-9.
                      3
                                495.    “With a larger set of predictor pixels existing in more directions, the
                      4
                      5   prediction of the second group of pixels is improved and so is the coding efficiency.”
                      6
                          Ex. B.1 at 8:26-29. “[T]he prediction accuracy of the second group can be improved,
                      7
                      8   as the pixels serving as predictors (called predictor pixels) for the second group

                      9   include reconstructed pixels of the first group, which are of shorter spatial distances
                     10
                          from the pixels being predicted.” Ex. B.1 at 8:31-36. “In addition, we improve coding
                     11
                     12   efficiency by using interpolation instead of extrapolation.” Ex. B.1 at 8:29-30, see also

                     13   Ex. B.1 at 9:37-40.
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                          Ex. B.1 at Figure 5, see also Exhibit B.1 at 6:23-7:37.
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                      1         496.     Figure 5 (reproduced above) “is a block diagram showing an exemplary
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                          video encoder.” Ex. B.1 at 4:24-26. The encoder has the structure described at 6:23-
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                          7:37 of Exhibit B.1, which is incorporated here as if fully stated herein.
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                     26   Ex. B.1 at Figure 8.
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                      1         497.    Figure 8 (reproduced above) “is a flow diagram showing an exemplary
                      2
                          method for intra coding a block having pixels assigned to groups.” Ex. B.1 at 4:33-36.
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                          For example, the ’610 Patent describes the following steps from Figure 8:
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                      5                The method 800 includes a start block 805 that passes
                                       control to a function block 810. The function block 810
                      6
                                       performs an encoding setup, and passes control to a loop
                      7                limit block 815. The loop limit block 815 loops over each
                      8                block (e.g., in a current picture being encoded), and passes
                                       control to a function block 820. The function block 820
                      9                derives the grouping method or selects the best grouping
                     10                method, signals the grouping method to the decoder, and
                                       passes control to a function block 825. The function bloc
                     11                825 predicts pixels within the first group, and passes control
                     12                to a function block 830. The function block 830 encodes the
                                       residue for pixels in the first group in the spatial domain or
                     13                the frequency domain or using adaptive prediction error
                                       coding (APEC), and passes control to a function block 835.
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                                       The function block 835 derives the prediction mode or
                     15                selects and signals the best prediction mode for pixels in the
                     16                second group, and passes control to a function block 840.
                                       The function block 840 predicts pixels in the second group,
                     17                and passes control to a function block 845. The function
                     18                block 845, for the second group, sets the prediction as the
                                       reconstruction or encodes the residue for the second group
                     19                or both groups (in the spatial domain or the frequency
                     20                domain or using APEC), and passes control to a function
                                       block 850. The function block 850 refines the reconstruction
                     21                (e.g., using a quantization constraint set (QCS)) if the reside
                     22                for pixels in the first group is encoded twice, and passes
                                       control to a loop limit block 855. The loop limit block 855
                     23                ends the loop over the blocks, and passes control to a
                     24                function block 860. The function block 860 performs
                                       deblocking filtering on block boundaries and group
                     25                boundaries, and passes control to an end block 899.
                     26
                          Ex. B.1 at 10:3-34.
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                      1         498.    The ’610 Patent notes that “it will be appreciated by those skilled in the
                      2
                          art that the block diagrams presented herein represent conceptual views of illustrative
                      3
                          circuitry embodying the present principles.” Ex. B.1 at 4:64-67. The ’610 Patent states
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                      5   that “it will be appreciated that any flow charts, flow diagrams, state transition
                      6
                          diagrams, pseudocode, and the like represent various processes which may be
                      7
                      8   substantially represented in computer readable media and so executed by a computer

                      9   or processor, whether or not such computer or processor is explicitly shown.” Ex. B.1
                     10
                          at 4:67-5:5. The ’610 Patent explains that “[t]he functions of the various elements
                     11
                     12   shown in the figures may be provided through the use of dedicated hardware as well

                     13   as hardware capable of executing software in association with appropriate software.”
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                          Ex. B.1 at 5:6-9.
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                     16         499.    These advances are also reflected in the claims of the ’610 Patent. See,

                     17   e.g., Ex. B.1 at Claims 6-10 and 16-20. Accordingly, the claims of the ’610 Patent
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                          recite one or more inventive concepts rooted in computerized technology and
                     19
                     20   overcome technical problems in that field. A person of ordinary skill in the art reading

                     21   the ’610 Patent and its claims would understand that the Patent’s disclosure and
                     22
                          claims are drawn to solving specific, technical problems arising in video coding
                     23
                     24   systems/methods and provide for advancements in the field that were not routine,

                     25   well-understood or conventional. Accordingly, the claims of the ’610 Patent recite a
                     26
                          combination of elements sufficient to ensure that the claims in practice amount to
                     27
                     28   significantly more than a patent claiming an abstract concept. A person of ordinary

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                      1   skill in the art would understand that the ordered combination of claim elements is
                      2
                          inventive. Further, the claimed improvements over the prior art are concrete and
                      3
                          improve the capabilities of existing video coding systems/methods.
                      4
                      5         500.     A person of ordinary skill in the art reviewing the specification of the
                      6
                          ’610 Patent would understand that the inventor had possession of the claimed subject
                      7
                      8   matter and would know how to practice the claimed invention without undue

                      9   experimentation.
                     10
                                                        The ’610 Patent Allegations
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                     12         501.     The Accused Instrumentalities practice one or more claims of the ’610

                     13   Patent by making, using, selling and/or offering to sell the Accused Instrumentalities
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                          in this District and elsewhere in the United States, and/or importing the Accused
                     15
                     16   Instrumentalities into this District and elsewhere in the United States.

                     17         502.     InterDigital provides the following explanation of infringement with
                     18
                          regard to an exemplary claim compared to exemplary functionality. InterDigital
                     19
                     20   reserves the right to present additional or alternative explanations of infringement for

                     21   the claim and functionalities identified below and for other claims and functionalities
                     22
                          of the services.
                     23
                     24         503.     As illustrated in Exhibit B.2, Defendants infringe at least one method

                     25   claim of the ’610 Patent, including at least Claims 6-10, by encoding the Accused
                     26
                          Instrumentalities’ content.
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                      1         504.     Defendants took the above actions intending to infringe and/or cause
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                          infringing acts by others.
                      3
                                505.     Accordingly, Defendants have directly infringed at least one method
                      4
                      5   claim of the ’610 Patent, including at least Claims 6-10.
                      6
                                506.     Defendants’ acts of infringement have caused damage to InterDigital.
                      7
                      8   InterDigital is entitled to recover from Defendants the damages sustained by

                      9   InterDigital as a result of their wrongful acts in an amount subject to proof at trial.
                     10
                                    COUNT 3: INFRINGEMENT OF U.S. PATENT NO. 11,381,818
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                     12         507.     InterDigital incorporates the allegations of all of the foregoing

                     13   paragraphs as if fully restated herein.
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                                508.     U.S. Patent No. 11,381,818 (“the ’818 Patent”) entitled “Methods and
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                     16   Apparatus for Determining Quantization Parameter Predictors from a Plurality of

                     17   Neighboring Quantization Parameters,” was issued on July 5, 2022, and names
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                          Xiaoan Lu, Joel Sole, Peng Yin, Qian Xu, and Yunfei Zheng as inventors. The ’818
                     19
                     20   Patent is attached as Exhibit C.1.

                     21         509.     InterDigital VC Holdings, Inc. owns all rights, title, and interest in the
                     22
                          ’818 Patent, and holds all substantial rights pertinent to this suit, including the right to
                     23
                     24   sue and recover for all past, current, and future infringement.

                     25         510.     The ’818 Patent is valid and enforceable and directed to patentable
                     26
                          subject matter.
                     27
                     28                                         The ’818 Patent

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                      1         511.    The ’818 Patent is directed to novel improvements in the field of video
                      2
                          coding. Specifically, the ’818 Patent is directed to improved systems and methods for
                      3
                          determining quantization parameters in video coding. As the ’818 Patent explains,
                      4
                      5   quantization is a means by which “a video encoder controls the number of encoded
                      6
                          bits and the quality” of a bitstream. Ex. C.1 at 1:62-35. This type of adjustment is
                      7
                      8   required for a video coding system to achieve “the highest possible perceptual quality

                      9   for a given set of bit rate constraints.” Ex. C.1 at 1:25-26. Video coding systems use
                     10
                          quantization to adjust the number of coded bits and quality through adjusting
                     11
                     12   quantization parameter values. As the ’818 Patent explains, in the prior art,

                     13   “quantization parameters can be adjusted on a slice or macroblock (MB) level.” Ex.
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                          C.1 at 2:5-7. While this level of adjustment provides the video coding system with
                     15
                     16   sufficient control over the quality and size of the bitstream, it also “requires an

                     17   overhead cost.” Ex. C.1 at 2:9-10.
                     18
                                512.    Prior art methods attempted to improve the coding efficiency of
                     19
                     20   quantization parameters using quantization predictors and quantization offset values.

                     21   For example, in one prior art approach, the quantization predictor “is the quantization
                     22
                          parameter of the previous macroblock in the decoding order.” Ex. C.1 at 2:25-31. In
                     23
                     24   another prior art approach, “single QP, namely the slice QP (SliceQPY), is used as the

                     25   predictor for the QP to be encoded.” Ex. C.1 at 4:29-30. These prior art methods
                     26
                          would send a quantization delta to indicate the offset between the quantization
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                     28
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                      1   predictor and the actual quantization parameter to be used for a block. Ex. C.1 at 4:37-
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                          40.
                      3
                                513.    The ’818 Patent improves on these prior art methods through the use of
                      4
                      5   a system wherein “the quantization parameter predictor is determined using multiple
                      6
                          quantization parameters from previously coded neighboring portions.” Ex. C.1 at 5:3-
                      7
                      8   8. This provides the benefit of “the reduction of overhead needed for signaling

                      9   quantization parameters to the decoder.” Ex. C.1 at 10:45-47.
                     10
                                514.    Generally, when considering quantization parameter adjustment, it is
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                     12   advantageous to “assign lower QPs to the regions of interest to improve the perceptual

                     13   quality and higher QPs to other areas to reduce the number of bits.” Ex. C.1 at 11:49-
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                          52. Typically, “picture content has great continuity” so that the “QPs for neighboring
                     15
                     16   coding units are often correlated.” Ex. C.1 at 11:52-54. Prior art systems attempted to

                     17   exploit this correlation by using the slice and/or previously coded macroblock as a QP
                     18
                          predictor. Ex. C.1 at 11:54-55. However, prior art systems failed to utilize the
                     19
                     20   correlation between neighboring blocks aside from the previously coded block. The

                     21   ’818 Patent teaches that “[s]ince the QP can also correlate to QPs from other
                     22
                          neighboring blocks, [the ’818 Patent] improve[s] the QP predictor by considering
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                     24   more QPs.” Ex. C.1 at 11:55-58. The use of additional QPs to determine the QP

                     25   predictor allows for a more accurate QP predictor to be established. This, in turn,
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                          requires a smaller QP delta to be signaled, thus reducing bitstream overhead resulting
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                     28   in greater overall efficiency. The ’818 Patent also teaches that, where the neighboring

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                      1   coding units are unavailable, the Slice level QP can be used instead. Ex. C.1 at 12:13-
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                          19. This allows for the same QP predictor determination method to be used for all
                      3
                          blocks in an image.
                      4
                      5         515.    These advances are also reflected in the claims of the ’818 Patent. See
                      6
                          e.g., Ex. C.1 at Claims 1-4. Accordingly, the claims of the ’818 Patent recite one or
                      7
                      8   more inventive concepts rooted in computerized technology and overcome technical

                      9   problems in that field. A person of ordinary skill in the art reading the ’818 Patent and
                     10
                          its claims would understand that the Patent’s disclosure and claims are drawn to
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                     12   solving specific, technical problems arising in video coding systems/methods and

                     13   provide for advancements in the field that were not routine, well-understood or
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                          conventional. Accordingly, the claims of the ’818 Patent recite a combination of
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                     16   elements sufficient to ensure that the claims in practice amount to significantly more

                     17   than a patent claiming an abstract concept. A person of ordinary skill in the art would
                     18
                          understand that the ordered combination of claim elements is inventive. Further, the
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                     20   claimed improvements over prior art video coding systems are concrete and improve

                     21   the capabilities of existing video coding systems/methods.
                     22
                                516.    A person of ordinary skill in the art reviewing the specification of the
                     23
                     24   ’818 Patent would understand that the inventor had possession of the claimed subject

                     25   matter and would know how to practice the claimed invention without undue
                     26
                          experimentation.
                     27
                     28                                The ’818 Patent Allegations

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                      1         517.     The Accused Instrumentalities practice one or more claims of the ’818
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                          Patent by making, using, selling and/or offering to sell the Accused Instrumentalities
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                          in this District and elsewhere in the United States, and/or importing the Accused
                      4
                      5   Instrumentalities into this District and elsewhere in the United States.
                      6
                                518.     InterDigital provides the following explanation of infringement with
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                      8   regard to an exemplary claim compared to exemplary functionality. InterDigital

                      9   reserves the right to present additional or alternative explanations of infringement for
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                          the claim and functionalities identified below and for other claims and functionalities
                     11
                     12   of the services.

                     13         519.     As illustrated in Exhibit C.2, Defendants infringe at least one method
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                          claim of the ’818 Patent, including at least Claims 1-4, by encoding the Accused
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                     16   Instrumentalities’ content.

                     17         520.     Defendants took the above actions intending to infringe and/or cause
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                          infringing acts by others.
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                     20         521.     Accordingly, Defendants have directly infringed at least one method

                     21   claim of the ’818 Patent, including at least Claims 1-4.
                     22
                                522.     Defendants’ acts of infringement have caused damage to InterDigital.
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                     24   InterDigital is entitled to recover from Defendants the damages sustained by

                     25   InterDigital as a result of their wrongful acts in an amount subject to proof at trial.
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                      1             COUNT 4: INFRINGEMENT OF U.S. PATENT NO. 9,185,268
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                                523.     InterDigital incorporates the allegations of all of the foregoing
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                          paragraphs as if fully restated herein.
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                      5         524.     U.S. Patent No. 9,185,268 (“the ’268 Patent”) entitled “Methods and
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                          Systems for Displays with Chromatic Correction with Differing Chromatic Ranges,”
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                      8   was issued on November 10, 2015, and names Ingo Tobias Doser, Jurgen Stauder, and

                      9   Bongsun Lee as inventors. The ’268 Patent is attached as Exhibit D.1.
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                                525.     InterDigital Madison Patent Holdings, SAS owns all rights, title, and
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                     12   interest in the ’268 Patent, and holds all substantial rights pertinent to this suit,

                     13   including the right to sue and recover for all past, current, and future infringement.
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                                526.     The ’268 Patent is valid and enforceable and directed to patentable
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                     16   subject matter.

                     17                                       The ’268 Patent
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                                527.     “In today’s motion picture industry, colors of motion picture content are
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                     20   mostly graded for displays with a single color gamut defined by cathode ray tube

                     21   (CRT) phosphor colors, corresponding to either the European Broadcasting Union
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                          (EBU) or the Society of Motion Picture and Television Engineers color standard
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                     24   (SMPTE-C) for Standard Definition, and the International Telecommunication Union

                     25   (ITU) 709 colors for High Definition.” Ex. D.1 at 1:15-22. “These are the current
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                          standards for use in determining the reference color gamut (RCG) for displays.” Ex.
                     27
                     28   D.1 at 1:22-23. “However, displays with non-standard color gamuts are currently

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                      1   prevalent among consumers of motion picture content.” Ex. D.1 at 1:24-25. “When
                      2
                          editing the colors of a picture on a display with a reference color gamut other than the
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                          color gamut of the target display, the resultant colors may look dissatisfying on the
                      4
                      5   target display.” Ex. D.1 at 1:26-29. Two such non-limiting cases are described below:
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                                       The first case relates to consumer displays having color
                      7                gamuts roughly the same size as the reference display, but
                      8                the display primaries are not equal to the display primaries
                                       of the reference display during content creation. In such
                      9                circumstances, it is desirable to ensure that the colors can be
                     10                accurately represented on the consumer displays.

                     11                The second case relates to the current existence of wide
                     12                gamut color displays being utilized in the field. In such
                                       circumstances, no methods exist to color correct consumer
                     13                displays with respect to these wide gamut color displays. For
                                       example, such consumer displays may use a different
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                                       reference color gamut but may or may not be capable of
                     15                even displaying colors in accordance with the wide gamut
                     16                color standards.

                     17   Ex. D.1 at 1:31-44.
                     18         528.    “The color gamut of a display is determined by the display technology
                     19
                          chosen.” Ex. D.1 at 1:60-61, 2:50-51 (“[T]here is significant variation in the color
                     20
                     21   gamuts used in various displays currently available.”); see also Ex. D.1 at 2:58-60

                     22   (noting significant display technology gamut differences illustrated in Figure 1,
                     23
                          reproduced below). “[A] consumer has the choice between the following technologies
                     24
                     25   . . . including, for example, liquid crystal display (LCD), Plasma, cathode ray tube

                     26   (CRT), digital light processing (DLP), and silicon crystal reflective display (SXRD).”
                     27
                          Ex. D.1 at 1:61-66. “However, there can be significant differences between different
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                      1   display technologies, as well as between two representatives of the same display
                      2
                          technology.” Ex. D.1 at 1:66-2:1; see, e.g., Ex. D.1 at 2:1-4 (discussing color gamut
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                          depending on LCD lighting sources); Ex. D.1 at 2:10-13 (noting wide gamut cold
                      4
                      5   cathode fluorescent lights have larger color gamut); Ex. D.1 at 2:13-18 (noting impact
                      6
                          of LCD color filters on color gamut); Ex. D.1 at 2:21-28 (discussing color gamut of
                      7
                      8   DLP and SXRD displays). A “trend is that LCD display’s CCFL back light units

                      9   (BLU’s) get replaced by RGB LED (Light Emitting Diodes) BLU’s with an even
                     10
                          higher color gamut.” Ex. D.1 at 2:18-20. In “FIG. 1, color gamut measurements of
                     11
                     12   currently available displays are indicated.” Ex. D.1 at 2:56-58. “It is to be noted that

                     13   none of the color gamuts of the various available displays are equal to the reference
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                          color gamy of the source material which, in this example, corresponds to ITU-R Bt.
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                     16   709.” Ex. D.1 at 2:60-63.

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                     17   Ex. D.1 at Figure 1.

                     18         529.    “The current video content on digital video disks (DVD’s), television
                     19
                          broadcasts, and/or via video over Internet Protocol (VoIP), are encoded in a color
                     20
                     21   space with a reference color gamut and, thus, follow the rules that were set many
                     22   years ago when wide gamut color display was not feasible.” Ex. D.1 at 2:31-36. “In
                     23
                          fact, until recently it was difficult to achieve a reproduction even of the current
                     24
                     25   reference color gamut.” Ex. D.1 at 2:36-37. “With the advent of wide gamut displays,
                     26   it has become possible to display a wider range of colors than was previously
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                      1   possible.” Ex. D.1 at 2:29-31. “An extended color gamut is feasible and there is a
                      2
                          desire to utilize the wider color gamut.” Ex. D.1 at 2:38-40.
                      3
                                530.     “Additionally, current displays seem to simply replace the reference
                      4
                      5   color primaries specified by the applicable standard by the color primaries
                      6
                          corresponding to the respective display.” Ex. D.1 at 3:1-6. “As a consequence, colors
                      7
                      8   do not appear as they should.” Ex. D.1 at 3:6-7; see, e.g., Ex. D.1 at 3:7-10.

                      9   “However, mapping primaries is the most primitive and cheapest way of gamut
                     10
                          mapping.” Ex. D.1 at 3:10-11. “In the case of wide gamut material on a wide gamut
                     11
                     12   display, there still is a problem where colors may be displayed incorrectly due to the

                     13   color gamut of the wide gamut material being different than the color gamut of the
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                          wide gamut display.” Ex. D.1 at 3:12-15. “[B]y using . . . unrestrictive color standards
                     15
                     16   . . . , it is always possible that a color gets transmitted that cannot be displayed on one

                     17   or more particular wide gamut displays.” Ex. D.1 at 3:15-20.
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                                531.     “‘[C]olor correction’ refers to a creative procedure to manually choose
                     19
                     20   the right (preferred) colors on the content creation side (versus the consumer

                     21   consumption side).” Ex. D.1 at 8:10-13. “One method for color correction involves
                     22
                          3×3 matrixing the source primaries to the display primaries.” Ex. D.1 at 3:21-23.
                     23
                     24   “This solution has problems when colors are transmitted that are beyond the color

                     25   gamut of the display color gamut” (e.g., “color may be out of the display range”). Ex.
                     26
                          D.1 at 3:23-29. “The typical result of such a situation is that the color to be displayed
                     27
                     28   may get clipped to their respective maximum ranges.” Ex. D.1 at 3:29-31. “The

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                      1   problem will manifest in a wrong color reproduction, in a hue, saturation, and also
                      2
                          brightness error.” Ex. D.1 at 3:31-33; see, e.g., Ex. D.1 at 3:39-53, Figure 3. “The
                      3
                          detrimental affect will be even worse if the color appears in a gradation (e.g., as seen
                      4
                      5   most often in animated movies), as a false contour will also appear.” Ex. D.1 at 3:33-
                      6
                          35.
                      7
                      8         532.    Figure 4 (reproduced below) is “an exemplary high-level diagram

                      9   showing the workflow for color correction using a display having a reference color
                     10
                          gamut for content that may be subsequently displayed on a display with a different
                     11
                     12   color gamut than the reference color gamut.” Ex. D.1 at 4:1-6. “The undesirable result

                     13   of the color correction workflow . . . is that when color correcting on a display with a
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                          reference color display (RCG), the colors on a display with a second color gamut or
                     15
                     16   color gamut 2 (CG2) will be reproduced incorrectly.” Ex. D.1 at 4:7-11. “A RCG

                     17   display 482 is used on the content creation side 480.” Ex. D.1 at 4:13-14. “A RCG
                     18
                          display 492 and a CG2 display 494 are used on the content consumer side 590.” Ex.
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                     20   D.1 at 4:14-16.

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                     14   Ex. D.1 at Figure 4.
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                                533.    “The picture source content may be stored, for example, in a picture
                     16
                          source content store 420.” Ex. D.1 at 4:17-18. “The color corrected picture content
                     17
                     18   may be stored, for example, in a color corrected picture content store 440.” Ex. D.1 at
                     19
                          4:18-20. “A color correction module 430 generates the content that only looks correct
                     20
                          on a display of the same type and with the same color gamut.” Ex. D.1 at 4:21-23.
                     21
                     22   “Thus, the colors on the CG2 display will not look the same as the colors that were
                     23
                          color corrected on the RCG display.” Ex. D.1 at 4:23-25. “It is very likely that at least
                     24
                     25   some of the colors on the RCG2 display will be clipped and at least some with be

                     26   displayed with the wrong hue.” Ex. D.1 at 4:25-27; see, e.g., Ex. D.1 at 4:28-36.
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                      1         534.    “It is therefore essential that a proper way of color gamut mapping is
                      2
                          used for rendering colors on the display used.” Ex. D.1 at 3:54-55. “The present
                      3
                          principles are directed to methods and systems for color correcting to provide
                      4
                      5   predictable results on displays with different color gamuts.” Ex. D.1 at 6:3-5; see also
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                          Ex. D.1 at 8:25-27.
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                          Ex. D.1 at Figure 5.
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                     22         535.    “[T]he present principles may be used to address an exemplary problem

                     23   where color correction is to be performed on a display with a reference color gamut,
                     24
                          however, the corrected colors are to be displayed on a display with a different color
                     25
                     26   gamut than the reference color gamut used for color correction.” Ex. D.1 at 8:36-41.

                     27   Figure 5 (reproduced above) is “a high-level diagram showing the exemplary
                     28
                          workflow for color correction to obtain a master for CG2 displays and metadata for
                                                                   117
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                      1   RCG displays.” Ex. D.1 at 8:42-45. The ’268 Patent describes the color correction
                      2
                          workflow of Figure 5 as the following:
                      3
                                      The color correction workflow 500 involves a content
                      4
                                      creation side 580 and a content consumer side 590. The
                      5               color correction 530 is done based on a color gamut for CG2
                                      displays. A CG2 display 584 shall be directly attached to the
                      6
                                      color correction tool. A CGM 586 is used to map the content
                      7               from a color gamut for display on CG2 display 584 to a
                      8               color gamut for display on RCG display 582, and the
                                      resultant picture content is then used for distribution/storage
                      9               in color corrected picture content store 540. An RCG display
                     10               592 and a CG2 display 594 are used on the content
                                      consumer side 590.
                     11
                     12               In the embodiment, the use of the present principles
                                      provides a controllable color difference between the content
                     13               displayed on the RCG display 592 and the CG2 display 594
                                      on the content consumer side 590. As noted above, the
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                                      embodiment involves the use of a master, i.e., one version of
                     15               mastered content, for (use by) CG2 displays and metadata
                     16               510 for (use by) RCG displays.

                     17               The metadata 510 describes a transformation of color
                     18               corrected picture content for CG2 displays, into colors
                                      intended for RCG displays. Thus, the metadata 510 may
                     19               describe, for example, the difference between the colors for
                     20               a CG2 display and a RCG display.

                     21               The picture source content may be stored, for example, in a
                     22               picture source content store 520. The color corrected picture
                                      content may be stored, for example, in a color corrected
                     23               picture content store 540. The metadata 510 may be stored,
                     24               for example, in a metadata store 517.

                     25               A color correction module 530 is used to create the CG2
                     26               master by choosing the right colors. This may be done by a
                                      colorist in a Digital Intermediates facility.
                     27
                     28               On the content creation side 580, the CG2 mastered content
                                      and the metadata for the RCG displays is applied to a CGM
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                      1               module 586 that performs a color gamut mapping so that the
                                      CG2 mastered content is color corrected for display on the
                      2
                                      RCG display 582.
                      3
                                      On the content consumer side 590, the CG2 mastered
                      4
                                      content and the metadata 510 for the RCG displays is
                      5               applied to a CGM module 596 that performs a color gamut
                                      mapping so that the CG2 mastered content is color corrected
                      6
                                      for display on the RCG display 592. The CGM module 596
                      7               receives information about a transformation specification by
                      8               means of metadata 510. This metadata 510 is derived from
                                      the transform specification used in the CGM 586 on the
                      9               content creation side.
                     10
                                      Moreover, on the content consumer side 590, the CG2
                     11               mastered content is provided directly to the CG2 display 594
                     12               without the use or need of the metadata 510 or a color gamut
                                      mapping.
                     13
                          Ex. D.1 at 8:46-9:27.
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                          Ex. D.1 at Figure 6.
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                      1         536.    Figure 6 (reproduced above) is “a high-level diagram showing the
                      2
                          exemplary workflow for color correction to obtain a master for CG2 displays and one
                      3
                          master for RCG displays.” Ex. D.1 at 9:28-31. The ’268 Patent describes the color
                      4
                      5   correction workflow of Figure 6 as the following:
                      6
                                       The color correction workflow 600 involves a content
                      7                creation side 680 and a content consumer side 690. A RCG
                      8                display 682 is used on the content creation side 680. In
                                       addition, a CG2 display 684 shall be used on the content
                      9                creation side 580 for proof viewing the content meant for
                     10                consumer RCG displays. A RCG display 692 and a CG2
                                       display 694 are used on the content consumer side 690.
                     11
                     12                In an embodiment, the color correction will result in a
                                       master for CG2 displays (such as CG2 display 694), and a
                     13                master for RCG displays (such as RCG display 692). In an
                                       embodiment, the master for the RCG displays would be a
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                                       derivative of the master for CG2 displays. The approach of
                     15                FIG. 6 provides a controlled color difference between a
                     16                consumer CG2 display and a RCG display 590 as the
                                       distinctive feature. The quality of the color accuracy is
                     17                subject to the CG2 specifications used for color correction
                     18                matching those used in the field, or the display in the field
                                       being calibrated to the specification used for color
                     19                correction.
                     20
                                       The picture source content may be stored, for example, in a
                     21                picture source content store 620. The color corrected picture
                     22                content for RCG displays, i.e., the master for RCG displays,
                                       may be stored, for example, in a color corrected picture
                     23                content store 645. The color corrected picture content for
                     24                CG2 displays, i.e., the master for CG2 displays, may be
                                       stored, for example, in a color corrected picture content store
                     25                640.
                     26
                                       On the content creation side, a color correction module 630
                     27                generates the CG2 master. Moreover, on the content creation
                     28                side 680, the CG2 mastered content is applied to a CGM
                                       module 686 that performs a color gamut mapping to
                                                                   120
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                      1                generate the RCG master, so that the CG2 mastered content
                                       is color corrected for display on the RCG display 682.
                      2
                      3                On the content consumer side 690, the RCG mastered
                                       content is provided directly to the RCG display 692 without
                      4
                                       the need for a color gamut mapping, and the CG2 mastered
                      5                content is provided directly to the CG2 display 694 without
                                       the need for a color gamut mapping.
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                      7   Ex. D.1 at 9:32-67.
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                          Ex. D.1 at Figure 7.
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                                537.    Figure 7 (reproduced above) is “a high-level diagram showing the
                     21
                     22   exemplary workflow for color correction to obtain a master for CG2 displays and
                     23
                          metadata for RCG displays.” Ex. D.1 at 10:13-16. The ’268 Patent describes the color
                     24
                          correction workflow of Figure 7 as the following:
                     25
                     26                The color correction workflow 700 involves a content
                     27                creation side 780 and a content consumer side 790. A RCG
                                       display 782, using CG2 simulation via a CGM module 786,
                     28                is used on the content creation side 780. Alternatively or in
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                      1              addition, a CG2 display may be used on the content creation
                                     side 780. A RCG display 792 and a CG2 display 794 are
                      2
                                     used on the content consumer side 790.
                      3
                                     In the embodiment, the use of the present principles
                      4
                                     provides a substantial color match between the content
                      5              displayed on the RCG display 792 and the CG2 display 794
                                     on the content consumer side 790. As noted above, the
                      6
                                     embodiment involves the use of a master, i.e., one version of
                      7              mastered content, for (use by) CG2 displays and metadata
                      8              710 for (use by) RCG displays.

                      9              The metadata 710 describes a transformation of picture
                     10              source content into color corrected picture content. The
                                     picture source content relates to colors for CG2 displays and
                     11              the color corrected picture content relates to colors for RCG
                     12              displays. Thus, the metadata 710 may describe, for example,
                                     the difference between the colors for a CG2 display and a
                     13              RCG display.
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                                     The picture source content may be stored, for example, in a
                     15              picture source content store 720. The color corrected picture
                     16              content may be stored, for example, in a color corrected
                                     picture content store 740. The metadata 710 may be stored,
                     17              for example, in a metadata store 717.
                     18
                                     A color correction module 730 generates the CG2 master
                     19              and the metadata for RCG displays.
                     20
                                     On the content creation side 780, the CG2 mastered content
                     21              and the metadata for the RCG displays is applied to a CGM
                     22              module 786 that performs a color gamut mapping so that the
                                     CG2 mastered content is color corrected for display on the
                     23              RCG display 782.
                     24
                                     On the content consumer side 790, the CG2 mastered
                     25              content and the metadata 710 for the RCG displays is
                     26              applied to a CGM module 796 that performs a color gamut
                                     mapping so that the CG2 mastered content is color corrected
                     27              for display on the RCG display 792.
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                      1                Moreover, on the content consumer side 790, the CG2
                                       mastered content is provided directly to the CG2 display 794
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                                       without the use or need of the metadata 510 or a color gamut
                      3                mapping.
                      4   Ex. D.1 at 10:17-58.
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                     17   Ex. D.1 at Figure 8.
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                                538.    Figure 8 (reproduced above) is “a high-level diagram showing the
                     19
                          exemplary workflow for color correction to obtain a master for CG2 displays and one
                     20
                     21   master for RCG displays.” Ex. D.1 at 10:13-16. The ’268 Patent describes the color
                     22
                          correction workflow of Figure 8 as the following:
                     23
                                       The color correction workflow 800 involves a content
                     24
                                       creation side 880 and a content consumer side 890. A RCG
                     25                display 882 is used on the content creation side 880. A RCG
                                       display 892 and a CG2 display 894 are used on the content
                     26
                                       consumer side 890.
                     27
                                       In an embodiment, the color correction will result in a
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                                       master for CG2 displays (such as CG2 display 894), and a
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                      1                master for RCG displays (such as RCG display 892). In an
                                       embodiment, the master for the RCG displays would be a
                      2
                                       derivative of the master for CG2 displays. The approach of
                      3                FIG. 8 provides a match between a consumer CG2 display
                                       and a RCG display. The quality of the match is subject to the
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                                       CG2 specifications used for color correction matching those
                      5                used in the field, or the display in the field being calibrated
                                       to the specification used for color correction.
                      6
                      7                The picture source content may be stored, for example, in a
                      8                picture source content store 820. The color corrected picture
                                       content for RCG displays, i.e., the master for RCG displays,
                      9                may be stored, for example, in a color corrected picture
                     10                content store 845. The color corrected picture content for
                                       CG2 displays, i.e., the master for CG2 displays, may be
                     11                stored, for example, in a color corrected picture content store
                     12                840.

                     13                On the content creation side, a color correction module 830
                                       generates the CG2 master. Moreover, on the content creation
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                                       side 880, the CG2 mastered content is applied to a CGM
                     15                module 886 that performs a color gamut mapping to
                     16                generate the RCG master, so that the CG2 mastered content
                                       is color corrected for display on the RCG display 882.
                     17
                     18                On the content consumer side 890, the RCG mastered
                                       content is provided directly to the RCG display 892 without
                     19                the need for a color gamut mapping, and the CG2 mastered
                     20                content is provided directly to the CG2 display 894 without
                                       the need for a color gamut mapping.
                     21
                          Ex. D.1 at 10:63-11:29.
                     22
                     23         539.    “In some circumstances, the color correction process may be a bit

                     24   cumbersome since the colors are being modified with a non-linear mapping between
                     25
                          the color correction and the reference display.” Ex. D.1 at 10:4-8, 11:33-37. “Some
                     26
                     27   colors may not change as initially expected by the colorist.” Ex. D.1 at 10:8-9, 11:37-

                     28   38. “However, there will be no colors in the master that cannot be displayed by a
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                      1   display with CG2, nor will there be a color that cannot be displayed by a RCG
                      2
                          display.” Ex. D.1 at 10:9-12, 11:38-41. “This is a real benefit of this approach.” Ex.
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                          D.1 at 10:12, 11:41. “On the content consumer side, circuitry will be provided that
                      4
                      5   connects the signal source with a CG2 display. This circuitry can be implemented in
                      6
                          hardware and/or in software, and provides the signal transform to generate the CG2
                      7
                      8   version needed out of the picture for RCG displays.” Ex. D.1 at 11:42-46.

                      9         540.    The ’268 Patent discloses that “the block diagrams presented herein
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                          represent conceptual views of illustrative circuitry.” Ex. D.1 at 6:25-28. The ’268
                     11
                     12   Patent states that “functions of the various elements shown in the figures may be

                     13   provided through the use of dedicated hardware as well as hardware capable of
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                          executing software in association with appropriate software.” Ex. D.1 at 6:34-37; see
                     15
                     16   also Ex. D.1 at 11:53-12:2. “The present principles correct differences in colors

                     17   between different target displays.” Ex. D.1 at 8:27-29.
                     18
                                541.    These advances are also reflected in the claims of the ’268 Patent. See,
                     19
                     20   e.g., Ex. D.1 at Claims 1-11. Accordingly, the claims of the ’268 Patent recite one or

                     21   more inventive concepts rooted in computerized technology and overcome technical
                     22
                          problems in that field. A person of ordinary skill in the art reading the ’268 Patent and
                     23
                     24   its claims would understand that the Patent’s disclosure and claims are drawn to

                     25   solving specific, technical problems arising in video transmission of improved
                     26
                          dynamic color range systems/methods and provide for advancements in the field that
                     27
                     28   were not routine, well-understood or conventional. Accordingly, the claims of the

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                      1   ’268 Patent recite a combination of elements sufficient to ensure that the claims in
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                          practice amount to significantly more than a patent claiming an abstract concept. A
                      3
                          person of ordinary skill in the art would understand that the ordered combination of
                      4
                      5   claim elements is inventive. Further, the claimed improvements over prior art dynamic
                      6
                          range improvement systems are concrete and improve the capabilities of existing
                      7
                      8   video color scheme translation systems/methods.

                      9         542.     A person of ordinary skill in the art reviewing the specification of the
                     10
                          ’268 Patent would understand that the inventor had possession of the claimed subject
                     11
                     12   matter and would know how to practice the claimed invention without undue

                     13   experimentation.
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                                                       The ’268 Patent Allegations
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                     16         543.     The Accused Instrumentalities practice one or more claims of the ’268

                     17   Patent by making, using, selling and/or offering to sell the Accused Instrumentalities
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                          in this District and elsewhere in the United States, and/or importing the Accused
                     19
                     20   Instrumentalities into this District and elsewhere in the United States.

                     21         544.     InterDigital provides the following explanation of infringement with
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                          regard to an exemplary claim compared to exemplary functionality. InterDigital
                     23
                     24   reserves the right to present additional or alternative explanations of infringement for

                     25   the claim and functionalities identified below and for other claims and functionalities
                     26
                          of the services.
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                      1         545.     As illustrated in Exhibit D.2, Defendants infringe at least one method
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                          claim of the ’268 Patent, including at least Claims 1-11, by encoding the Accused
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                          Instrumentalities’ content.
                      4
                      5         546.     Defendants took the above actions intending to infringe and/or cause
                      6
                          infringing acts by others.
                      7
                      8         547.     Accordingly, Defendants have directly infringed at least one method

                      9   claim of the ’268 Patent, including Claims 1-11.
                     10
                                548.     Defendants’ acts of infringement have caused damage to InterDigital.
                     11
                     12   InterDigital is entitled to recover from Defendants the damages sustained by

                     13   InterDigital as a result of their wrongful acts in an amount subject to proof at trial.
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                                   COUNT 5: INFRINGEMENT OF U.S. PATENT NO. 8,085,297
                     15
                     16         549.     InterDigital incorporates the allegations of all of the foregoing

                     17   paragraphs as if fully restated herein.
                     18
                                550.     U.S. Patent No. 8,085,297 (“the ’297 Patent”) entitled “Method for
                     19
                     20   Modifying a User Interface of a Consumer Electronic Apparatus, Corresponding

                     21   Apparatus, Signal and Data Carrier,” was issued on December 27, 2011, and names
                     22
                          Harald Schiller as the inventor. The ’297 Patent is attached as Exhibit E.1.
                     23
                     24         551.     InterDigital CE Patent Holdings, SAS owns all rights, title, and interest

                     25   in the ’297 Patent, and holds all substantial rights pertinent to this suit, including the
                     26
                          right to sue and recover for all past, current, and future infringement.
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                      1         552.    The ’297 Patent is valid and enforceable and directed to patentable
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                          subject matter.
                      3
                                                            The ’297 Patent
                      4
                      5         553.    “In general terms a user interface (UI) includes all aspects of an
                      6
                          apparatus or a program, which are used for an interaction with a user.” Ex. E.1 at
                      7
                      8   1:15-17. “This includes commands and mechanisms, which the user utilizes to control

                      9   the operation of the apparatus or program and to input data but also an output by the
                     10
                          apparatus or program, which can be seen or heard or otherwise perceived by the user.”
                     11
                     12   Ex. E.1 at 1:17-21. “Especially for consumer electronic apparatuses and computer

                     13   systems a wide range of user interfaces has been developed and implemented.” Ex.
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                          E.1 at 1:22-24.
                     15
                     16         554.    The application that became the ’297 patent was filed in 2002. At that

                     17   time, “[a] very simple and today in many areas outdated user interface requires the
                     18
                          user to type textual commands by using a keyboard and produces a single stream of
                     19
                     20   text as output.” Ex. E.1 at 1:24-27. “More comfortable are graphical user interfaces,

                     21   which use for the output displayed windows, pictures or icons and for the input and
                     22
                          control a cursor moved over the display using ‘up’- and ‘down’-keys or a pointing
                     23
                     24   device such as a mouse, a trackball or a touch-pad.” Ex. E.1 at 1:27-31. “Even more

                     25   sophisticated is a voice-controlled user interface based on speech recognition.” Ex.
                     26
                          E.1 at 1:31-33. “However, a drawback of these user interfaces is that they are defined
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                     28
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                      1   and fixed once the respective apparatus has left the factory which means that no
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                          extensions or corrections are possible.” Ex. E.1 at 1:33-36.
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                     14   Ex. E.1 at Figure 1.
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                     15         555.    The ’297 Patent “disclose[s] a method for modifying a user interface of
                     16
                          a consumer electronic apparatus, which can be used for example to update a given
                     17
                     18   basic UI functionality or to temporarily implement isolated, dedicated UI sub-
                     19   domains.” Ex. E.1 at 1:39-43. Figure 1 (reproduced above) “illustrates a block
                     20
                          diagram of an embodiment of the present invention.” Ex. E.1 at 2:8-9. “A received
                     21
                     22   signal consisting of main data and embedded side information is supplied to an
                     23   extractor 1.” Ex. E.1 at 2:9-10. “After separation of the side information from the
                     24
                          main data the main data are forwarded to suited processing means 2, e.g. an MPEG-2
                     25
                     26   decoder, and are finally played-back using a display 3 and/or one or more
                     27   loudspeakers 4.” Ex. E.1 at 2:21-25.
                     28
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                      1         556.     “A user interface unit 5 controls the interaction between the user and
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                          the apparatus, e.g. the display of a graphical UI and the input of commands by the user
                      3
                          using a mouse-controlled cursor.” Ex. E.1 at 2:26-29. “The user interface unit 5
                      4
                      5   comprises user command input means 6 for receiving the user inputs, a processing
                      6
                          unit 7 for handling the commands and mechanisms of the UI and a first buffer 8 for
                      7
                      8   the permanent storage of parameters for UI parts, which shall be kept unaltered.” Ex.

                      9   E.1 at 2:29-33.
                     10
                                557.     “Furthermore, a second buffer 9, a modification unit 10 and a control
                     11
                     12   unit 11 are implemented for the purpose of modifying the UI according to the

                     13   invention.” Ex. E.1 at 2:33-36. “The second buffer 9 receives from the extractor 1 the
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                          side information comprising side information components for controlling the user
                     15
                     16   interface and validity information defining the validity start and/or end time of said

                     17   side information components, which both are stored in the buffer 9.” Ex. E.1 at 2:36-
                     18
                          41. “The side information components and validity information are fed to the
                     19
                     20   modification unit 10, which processes these data and modifies the UI when the start

                     21   time of the respective side information component is signalized by the control unit 11,
                     22
                          possibly together with the processing unit 7.” Ex. E.1 at 2:41-45. “When the end time
                     23
                     24   of the side information component is reached, this is also signalised by the control unit

                     25   11 and the modification is reversed.” Ex. E.1 at 2:45-48. “In a further embodiment the
                     26
                          side information is written into the first buffer 8 and kept there for the duration of the
                     27
                     28   UI modification instead of writing the side information into the second buffer 9.” Ex.

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                      1   E.1 at 2:49-52. “In this way the costs for the additional buffer 9 can be saved.” Ex. E.1
                      2
                          at 2:52-53.
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                                558.     “The side information can be used to modify the visual appearance of
                      4
                      5   the UI, e.g. to insert additional buttons with a new functionality or to create new
                      6
                          subdirectories with additional commands.” Ex. E.1 at 2:57-60. “In case of voice
                      7
                      8   control, the additional user commands are new keywords to be recognized by the

                      9   speech recognition algorithm, which may be stored as pieces of PCM waveform or in
                     10
                          a time-parameter domain.” Ex. E.1 at 2:60-63. “Also, for a user interface including
                     11
                     12   voice synthesis the side information can be used to alter the parameter sets for the

                     13   voice synthesis, e.g. to add new speech keywords or to change the sound of the
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                          voice.” Ex. E.1 at 2:63-67.
                     15
                     16         559.     “The side information can be received together with AV data,

                     17   especially embedded into AV data, from a broadcasting station.” Ex. E.1 at 3:1-3.
                     18
                          “However, the AV data and the side information can also be supplied by a data
                     19
                     20   carrier, e.g. an optical storage disc like a DVD disc.” Ex. E.1 at 3:3-5. “Furthermore,

                     21   the side information can also be received on a separate input channel, e.g. a telephone
                     22
                          line.” Ex. E.1 at 3:5-6.
                     23
                     24         560.     “The main data may be AV data or pure video or audio data, either in

                     25   analog or digital form, e.g. compressed according to the MPEG-2 standard.” Ex. E.1
                     26
                          at 2:11-13. “In the case of an analog TV signal the side information can be received
                     27
                     28   embedded in the vertical blanking interval and can be separated by a suited data slicer,

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                      1   which may also be used for the separation of other VBI data like teletext, VPS or
                      2
                          closed caption.” Ex. E.1 at 2:13-17. “For a digital TV signal the side information may
                      3
                          be embedded in a corresponding data channel, e.g. in not used user-data and can be
                      4
                      5   separated by a suited demultiplexer.” Ex. E.1 at 2:17-20.
                      6
                                561.    These advances are also reflected in the claims of the ’297 Patent. See,
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                      8   e.g., Ex. E.1 at Claims 1-12. Accordingly, the claims of the ’297 Patent recite one or

                      9   more inventive concepts rooted in computerized technology and overcome technical
                     10
                          problems in that field. These inventive concepts, set forth in the claims of the ’297
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                     12   Patent are directed to concrete, technological solutions to problems arising in the field

                     13   rather than an abstract idea, law of nature, or natural phenomenon. More specifically,
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                          a person of ordinary skill in the art reading the ’297 Patent and its claims would
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                     16   understand that the Patent’s disclosure and claims are drawn to solving specific,

                     17   technical problems arising in video transmission graphical user interface
                     18
                          systems/methods and provide for advancements in the field that were not routine,
                     19
                     20   well-understood or conventional. Accordingly, the claims of the ’297 Patent recite a

                     21   combination of elements sufficient to ensure that the claims in practice amount to
                     22
                          significantly more than a patent claiming an abstract concept. A person of ordinary
                     23
                     24   skill in the art would understand that the ordered combination of claim elements is

                     25   inventive. The claims of the ’297 Patent require detailed steps that are rooted in
                     26
                          computer processes that cannot be performed merely by mental processes. Further, the
                     27
                     28   claimed improvements over prior art video transmission graphical user interface

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                      1   systems are concrete and improve the capabilities of existing video transmission
                      2
                          graphical user interface systems/methods.
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                                562.     A person of ordinary skill in the art reviewing the specification of the
                      4
                      5   ’297 Patent would understand that the inventor had possession of the claimed subject
                      6
                          matter and would know how to practice the claimed invention without undue
                      7
                      8   experimentation.

                      9                                 The ’297 Patent Allegations
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                                563.     The Accused Instrumentalities practice one or more claims of the ’297
                     11
                     12   Patent by making, using, selling and/or offering to sell the Accused Instrumentalities

                     13   in this District and elsewhere in the United States, and/or importing the Accused
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                          Instrumentalities into this District and elsewhere in the United States.
                     15
                     16         564.     InterDigital provides the following explanation of infringement with

                     17   regard to an exemplary claim compared to exemplary functionality. InterDigital
                     18
                          reserves the right to present additional or alternative explanations of infringement for
                     19
                     20   the claim and functionalities identified below and for other claims and functionalities

                     21   of the services.
                     22
                                565.     As illustrated in Exhibit E.2, Defendants infringe at least one method
                     23
                     24   claim of the ’297 Patent, including at least Claims 1-12, by encoding the Accused

                     25   Instrumentalities’ content.
                     26
                                566.     Defendants took the above actions intending to infringe and/or cause
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                     28   infringing acts by others.

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                      1         567.      Accordingly, Defendants have directly infringed at least one method
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                          claim of the ’297 Patent, including at least Claims 1-12.
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                                568.      Defendants’ acts of infringement have caused damage to InterDigital.
                      4
                      5   InterDigital is entitled to recover from Defendants the damages sustained by
                      6
                          InterDigital as a result of their wrongful acts in an amount subject to proof at trial.
                      7
                      8                                       JURY DEMAND

                      9         Plaintiffs hereby demand a trial by jury on all issues so triable.
                     10
                                                           PRAYER FOR RELIEF
                     11
                     12         WHEREFORE, Plaintiffs InterDigital, Inc., InterDigital VC Holdings, Inc.,

                     13   InterDigital Madison Patent Holdings, SAS, and InterDigital CE Patent Holdings,
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                          SAS ask this Court for an order granting the following relief:
                     15
                     16         A.        A judgment in favor of Plaintiffs that Defendants have infringed, either

                     17   literally and/or under the doctrine of equivalents, the ’301, ’610, ’818, ’268, and ’297
                     18
                          Patents;
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                     20         B.        A judgment and order finding that Defendants’ infringement has been

                     21   willful;
                     22
                                C.        A permanent injunction prohibiting Defendants from further acts of
                     23
                     24   infringement;

                     25         D.        A judgment and order requiring Defendants to pay Plaintiffs their
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                          damages, costs, expenses, and any enhanced damages to which Plaintiffs are entitled
                     27
                     28   for Defendants’ infringement;

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                      1         E.      A judgment and order requiring Defendants to provide an accounting
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                          and to pay supplemental damages to Plaintiffs, including without limitation, pre-
                      3
                          judgment and post-judgment interest;
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                      5         F.      A judgment and order finding that this is an exceptional case within the
                      6
                          meaning of 35 U.S.C. § 285 and awarding Plaintiffs their reasonable attorneys’ fees
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                      8   against Defendants; and

                      9         G.      Any and all other relief as the Court may deem appropriate and just
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                          under the circumstances.
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